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·1· · · ·A· · In November of 2012.
·2· · · ·Q· · And you were reelected in 2022; is that correct?
·3· · · ·A· · Yes.
·4· · · ·Q· · And so is that six sessions?
·5· · · ·A· · Yes, starting the sixth session.
·6· · · ·Q· · And I see here it says, for the 87th Legislature, you
·7· were on the Criminal Jurisprudence Committee and the Public
·8· Health Community.· Is that inaccurate?
·9· · · ·A· · For which year?
10· · · ·Q· · So if you look on the website where it has Committees
11· on the second column --
12· · · ·A· · Oh, okay.· Yes, that is correct.· But this -- I see
13· -- already see something that my office didn't update on the
14· back.
15· · · ·Q· · And so you were the chair of the Criminal
16· Jurisprudence Committee during the 87th Legislature; is that
17· right?
18· · · ·A· · That it correct.
19· · · ·Q· · And you are a Democrat; is that correct?
20· · · ·A· · Yes.
21· · · ·Q· · And the majority of the Texas House is Republican; is
22· that correct?
23· · · ·A· · Yes.
24· · · ·Q· · And who decides who is chair of a committee in the
25· Texas House?




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·1· · · ·A· · The speaker.
·2· · · ·Q· · And who was the speaker who appointed you?
·3· · · ·A· · Speaker Dade Phelan.· Oh, well -- in the 87th?
·4· · · ·Q· · Yes.
·5· · · ·A· · Oh, yeah.· Speaker Dade Phelan.
·6· · · ·Q· · And is Speaker Dade Phelan a Republican?
·7· · · ·A· · Yes.
·8· · · ·Q· · And so a Republican speaker appointed you as chair of
·9· the Criminal Jurisprudence Committee; is that correct?
10· · · ·A· · Yes.
11· · · ·Q· · And a Republican speaker appointed you chair of the
12· Criminal Jurisprudence Committee despite the fact that you are
13· a member of the minority party; is that correct?
14· · · ·A· · That's the second time, yes, I was appointed chair by
15· a Republican.
16· · · ·Q· · And when was the previous time that you were
17· appointed chair by a Republican?
18· · · ·A· · The 86th.
19· · · ·Q· · And was that the same committee?
20· · · ·A· · Yes.
21· · · ·Q· · And so you were appointed to the Criminal just (ph)
22· -- sorry -- Criminal Jurisprudence Committee as chair two
23· consecutive sessions by a Republican speaker; is that correct?
24· · · ·A· · Yes, but they were different speakers.
25· · · ·Q· · Were you on any select committee or any other --




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·1· · · ·Q· · Are there any other caucuses that you're a member of?
·2· · · ·A· · Yes.
·3· · · ·Q· · And what caucuses?
·4· · · ·A· · The Women's Health Caucus; it's -- it's the Broadband
·5· Technology Caucus, Gio Capriglione is the chair of that
·6· committee; and -- let's see -- the House Democratic Caucus; the
·7· LGBTQ Caucus -- oh, I don't know if that's a caucus, LSG.                 I
·8· don't know if that's a caucus.· I'm trying to remember the
·9· other ones.· I don't remember.· There might be more.
10· · · ·Q· · And is there an area of legislation that you focus
11· your efforts in terms of the bills that you file?
12· · · ·A· · I don't say that I -- I do that.· There may be areas
13· that -- where, like, there's more bills, but I try to focus on
14· -- my legislation on what the community asks.
15· · · ·Q· · Did you file any bills in the 87th Legislature that
16· pertained to elections?
17· · · ·A· · I don't remember.
18· · · ·Q· · Okay.· And we can put this one aside.
19· · · ·A· · Okay.
20· · · ·Q· · Do you know who the election administrator is in
21· Tarrant County?
22· · · ·A· · Yes.
23· · · ·Q· · And what's his name?
24· · · ·A· · Heidi Gilder Garcia.
25· · · ·Q· · Heider Garcia.




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·1· · · ·A· · Heidi -- yeah.
·2· · · ·Q· · And have you ever spoken with Mr. Garcia with respect
·3· to elections in Tarrant County?
·4· · · ·A· · I don't think so.
·5· · · ·Q· · And have you spoken to any of the individuals within
·6· his staff about elections in Tarrant County?
·7· · · ·A· · I -- I did not, but I've had my office call to get
·8· clarifications on things.
·9· · · ·Q· · And what were those calls about?
10· · · ·A· · Like, how do they process the mail-in ballots.                  I
11· know I've referred people to his office.· They've called the
12· state office with questions.
13· · · ·Q· · And when your office was contacting Mr. Garcia's
14· office about mail-in ballots, what were they -- when was this
15· occurring?
16· · · ·A· · It was after -- so it was -- because you said before
17· the 2022 election; is that right?
18· · · ·Q· · That's correct.
19· · · ·A· · So there was a 20 -- there was an election, I think
20· it was, where the legislation -- and that's SB 1 --
21· · · ·Q· · Uh-huh.
22· · · ·A· · -- was effected.· Was that -- what year was that?
23· 20 --
24· · · ·Q· · -- 22.
25· · · ·A· · It was 2022, then no.· Then I'm talking about 2022,




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·1· · · ·A· · Not him directly.
·2· · · ·Q· · His office?
·3· · · ·A· · They spoke with him -- well, it was about procedure,
·4· yes.
·5· · · ·Q· · And so was this a communication that your office
·6· frequently has with Mr. Garcia's office?
·7· · · ·A· · No.· I instructed them to call to get an update on
·8· when the procedure was going to come out.
·9· · · ·Q· · And outside of the conversations that your staff had
10· regarding mail-in ballots --
11· · · ·A· · It was more than mail-in ballot [sic].· It was just
12· procedure period because I think that it was a lot of confusion
13· about how they were going to process them because the secretary
14· of state hadn't given the final direction at that point.· So I
15· wasn't sure who to call and I was directed to call the
16· secretary of state.
17· · · ·Q· · So are you referencing the implementation of SB 1?
18· · · ·A· · Yes.
19· · · ·Q· · And so when you're talking about the conversations
20· your staff had, that would have been over multiple topics
21· related to the implementation of SB 1 including mail-in
22· ballots?
23· · · ·A· · Yes.
24· · · ·Q· · And once the secretary of state had issued its
25· advisories, did your office continue to contact Mr. Garcia's




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·1· office?
·2· · · ·A· · No, because we were in contact with the secretary of
·3· state's office.· And I was.· I spoke with them.
·4· · · ·Q· · And did your office contact Mr. Garcia prior to the
·5· implementation of SB 1?
·6· · · ·A· · I don't know.
·7· · · ·Q· · Okay.· And so you cannot recall whether your office
·8· would have contacted Mr. Garcia prior to the implementation of
·9· SB 1.· Is that fair to say?
10· · · ·A· · That's right.· It could -- they could have.· I don't
11· remember.
12· · · ·Q· · Do you know if they contacted Mr. Garcia's office
13· regarding anything relating to the 2020 election?
14· · · ·A· · You know what?· I did call, because I don't know if
15· it was the secretary of state's office or his office, but there
16· was a problem with the -- a machine at a location.· They said
17· that the location was closed down and so we reached out and
18· they said that they were already on it.· And the location
19· wasn't even in my district.· It was on the north side of
20· Fort Worth.
21· · · ·Q· · And so outside of that communication regarding the
22· polling location, did you have any other conversations with
23· Mr. Garcia or his staff related to the 2020 elections?
24· · · · · · · · ·MR. BLEDSOE:· Objection to form.
25· BY THE WITNESS (resuming):




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·1· · · ·A· · It's possible.· I mean, if I can sit here and think
·2· about it, I can probably...
·3· · · ·Q· · Well, in the event you do think of a conversation,
·4· would you please just let me know?
·5· · · ·A· · Okay.
·6· · · ·Q· · So in March of 2020, you would agree that the state
·7· of Texas along with the rest of the country got hit by the
·8· COVID-19 pandemic.
·9· · · ·A· · Yes.
10· · · ·Q· · And would you agree that that introduced unique
11· challenges on conducting elections during the pandemic?
12· · · ·A· · Yes.
13· · · ·Q· · And are you aware that numerous election
14· administrators and county clerks introduced new procedures in
15· order to better accommodate voters during the pandemic?
16· · · · · · · · ·MR. BLEDSOE:· Objection to form.
17· BY THE WITNESS (resuming):
18· · · ·A· · I read about that, yes.
19· · · ·Q· · And are you aware that many of these new procedures
20· had not yet been -- had not been -- let me rephrase that
21· question.· Are you aware that many of the procedures introduced
22· to accommodate voters during the COVID-19 pandemic had not been
23· done in Texas before?
24· · · · · · · · ·MR. BLEDSOE:· Objection to form --
25· BY THE WITNESS (resuming):




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·1· · · ·A· · Are you asking --
·2· · · · · · · · ·MR. BLEDSOE:· -- and calls for speculation.
·3· BY THE WITNESS (resuming):
·4· · · ·A· · -- me now or then?· Because --
·5· · · ·Q· · Then.
·6· · · ·A· · No, because I was only focused on Tarrant County at
·7· the time, and so we didn't implement any different -- I don't
·8· remember doing anything different in Tarrant County.
·9· · · ·Q· · Okay.· And so your focus during the 2020 election
10· would have been Tarrant County.
11· · · ·A· · It was more focused on Tarrant County and what was
12· happening there, but I had read about other counties, but
13· making sure that people in Tarrant County -- the voters in
14· Tarrant County had access.
15· · · ·Q· · Through your readings, were you aware that Harris
16· County had introduced a number of, I'll say, new procedures and
17· practices during the 2020 election?
18· · · · · · · · ·MR. BLEDSOE:· Objection to form.
19· BY THE WITNESS (resuming):
20· · · ·A· · Then?
21· · · ·Q· · Yes.
22· · · ·A· · I read about it, yes.
23· · · ·Q· · So I want to talk a little bit about that just to
24· sort of see what you were aware of at the time.
25· · · ·A· · Sure.




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·1· · · ·Q· · Do you have Exhibit 3 in front of you?
·2· · · ·A· · Yes.
·3· · · ·Q· · And do you see on the top where it has the heading,
·4· The State of Texas, Ruth R. Hughs, Secretary of State?
·5· · · ·A· · Yes.
·6· · · ·Q· · And do you see that it has -- it's dated
·7· August 27th, 2020?
·8· · · ·A· · Yes, I see that.
·9· · · ·Q· · And that it's addressed to Chris Hollins in -- the
10· Harris County Clerk?
11· · · ·A· · I see that, yes.
12· · · ·Q· · Did you have any conversations with Chris Hollins
13· during the 2020 election season?
14· · · ·A· · No, I've never had any -- I don't know him.
15· · · ·Q· · And so I want to quickly ask:· Would you agree that
16· this is a letter from the Secretary of State Ruth Hughs to
17· Chris Hollins that was dated on August 27th, 2020?
18· · · ·A· · It appears to be from her office, but it's -- you
19· have it signed by somebody else.
20· · · ·Q· · Oh, that's a good point.· Do you see on the back it's
21· signed by Keith Ingram, Director of Elections?
22· · · ·A· · Yes, I see that.
23· · · ·Q· · And are you familiar with Keith Ingram?
24· · · ·A· · No, I'm not.
25· · · ·Q· · Would you agree with my representation that this is a




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·1· letter from Keith Ingram, the Director of Elections of the
·2· Secretary of State's office, addressed to Chris Hollins, Harris
·3· County Clerk, and dated August 27th, 2020?
·4· · · · · · · · ·MR. BLEDSOE:· Object to form.
·5· BY THE WITNESS (resuming):
·6· · · ·A· · I've never seen this letter, so I would take you at
·7· your word.
·8· · · ·Q· · And so let's look at the first paragraph.· It reads:
·9· It has come to our office's attention that Harris County
10· intends to send application to vote by mail to every registered
11· voter in the county.· Such action would be contrary to our
12· office's guidance on this issue and abuse of voters' rights
13· under the Texas Election Code, Section 31.005.· Did I read that
14· correctly?
15· · · ·A· · That's what it says, yes.
16· · · ·Q· · And then it continues:· As you know, the Texas
17· Election Code requires that voters have a qualifying reason to
18· vote by mail.· They must be 65 years or older, disabled, out of
19· the country while voting is occurring or confined in jail but
20· otherwise eligible to vote.· It is not possible that every
21· voter in Harris County will satisfy one or more of these
22· requirements.· Did I read that correctly?
23· · · ·A· · No.· You said country, but I think it says county.
24· · · ·Q· · Oh, my mistake.
25· · · ·A· · Okay.· Other than that, I -- it -- that's what it




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·1· says.
·2· · · ·Q· · And then it continues on the third paragraph:· By
·3· sending applications to all voters, including many who do not
·4· qualify for voting by mail, your office may cause voters to
·5· provide false information on the form.· Did I read that
·6· correctly?
·7· · · ·A· · That's what it says.
·8· · · ·Q· · Were you aware that Harris County attempted to send
·9· unsolicited vote-by-mail applications to every voter in
10· Harris County?
11· · · ·A· · Not on --
12· · · · · · · · ·MR. BLEDSOE:· Object to form --
13· BY THE WITNESS (resuming):
14· · · ·A· · -- August --
15· · · · · · · · ·MR. BLEDSOE:· -- mischaracterizes --
16· BY THE WITNESS (resuming):
17· · · ·A· · -- 27th, 2020.
18· · · ·Q· · Were you aware -- did you become aware after the
19· fact?
20· · · · · · · · ·MR. BLEDSOE:· Objection to form --
21· BY THE WITNESS (resuming):
22· · · ·A· · When I read the news -- I mean it was in the news.
23· But I -- I read that they -- well, no.· Hmm.· You said send
24· every voter an application?· No, I did not know that.
25· · · ·Q· · Okay.




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·1· · · ·A· · It was something else I knew, that I read.
·2· · · ·Q· · And -- and what did you read?· Just so I --
·3· · · ·A· · That they had drive-thru voting --
·4· · · ·Q· · Okay.
·5· · · ·A· · -- and 24-hour voting.· That -- that's what I was
·6· really familiar with when I watched the media and read the
·7· news.
·8· · · ·Q· · Okay.· So you were not aware that the Harris County
·9· Clerk had an attempt to send unsolicited vote-by-mail
10· applications to voters in Harris County?
11· · · · · · · · ·MR. BLEDSOE:· Objection to form --
12· BY THE WITNESS (resuming):
13· · · ·A· · It may have been included in the news.· I -- it just
14· didn't catch my eye.
15· · · · · · · · ·COURT REPORTER:· One thing:· You know, allow
16· your attorney to object first and then begin your answer.
17· · · · · · · · ·MR. BLEDSOE:· Thank you.
18· · · · · · · · ·THE WITNESS:· Thank you.· Sorry.
19· · · · · · · · ·COURT REPORTER:· If you can repeat your answer.
20· Okay.· Thank you.
21· · · · · · · · ·MS. HUNKER:· I'm sorry.· I didn't hear --
22· · · · · · · · ·COURT REPORTER:· Would you repeat?
23· · · · · · · · ·THE WITNESS:· Oh, well, I forgot.· What was I --
24· BY MS. HUNKER (resuming):
25· · · ·Q· · So you were not aware that Chris Hollins, the Harris




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·1· County Clerk, had attempted to send unsolicited vote-by-mail
·2· applications to every voter in Harris County during the 2020
·3· election?
·4· · · · · · · · ·MR. BLEDSOE:· Objection to form, asked and
·5· answered.
·6· BY THE WITNESS (resuming):
·7· · · ·A· · I was not aware of -- that that was -- if it was
·8· included in the media, it didn't catch my eye.
·9· · · ·Q· · And so you were not aware that the secretary of
10· state's office, specifically Keith Ingram, had sent a letter
11· advising Mr. Hollins that his actions would be an abuse of
12· voters' rights.
13· · · · · · · · ·MR. BLEDSOE:· Objection to form.
14· BY THE WITNESS (resuming):
15· · · ·A· · Not on August 27th, 2020.
16· · · ·Q· · And were you aware at any other point, not focusing
17· specifically on the date of August 27th, 2020?
18· · · ·A· · I think during the hearings, I may have heard some
19· testimony about that.
20· · · ·Q· · Okay.
21· · · ·A· · And I'm talking about the HB 6 hearings.
22· · · ·Q· · Okay.· And so it was discussed during the HB 6
23· hearings that Chris Hollins had attempted to send unsolicited
24· vote-by-mail applications to all voters in Harris County?
25· · · · · · · · ·MR. BLEDSOE:· Objection to form,




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·1· mischaracterizes the testimony.
·2· BY THE WITNESS (resuming):
·3· · · ·A· · I -- I don't think that was exactly the way it was
·4· put -- the way it happened.· It was -- there was testimony
·5· about the process and this -- the bill prohibited it.
·6· · · ·Q· · Okay.
·7· · · ·A· · Explicitly prohibited it.
·8· · · ·Q· · Okay.· And so the topic of unsolicited vote-by-mail
·9· applications came up during the HB 6 discussions.· Is that fair
10· to say?
11· · · ·A· · I would say during the hearings.
12· · · ·Q· · During the hearings.
13· · · ·A· · Yes, because that was a provision in the bill.· My
14· understanding -- it said that.
15· · · ·Q· · Were you aware that the secretary of state's office
16· sent a letter to Chris Hollins stating -- let me rephrase the
17· question.· Were you aware that the secretary of state's office
18· advised Harris County that sending unsolicited vote-by-mail
19· applications to voters would confuse voters about their ability
20· to vote by mail?
21· · · · · · · · ·MR. BLEDSOE:· Objection to form, calls for
22· speculation.
23· BY THE WITNESS (resuming):
24· · · ·A· · Not on August 27th, 2020.
25· · · ·Q· · And what about any other date after August 27th,




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·1· 2020?
·2· · · · · · · · ·MR. BLEDSOE:· Objection to form, calls for
·3· speculation.
·4· BY THE WITNESS (resuming):
·5· · · ·A· · All I was aware is that there was the vote-by-mail
·6· applications being mailed out and then there was a letter being
·7· sent -- that was sent out to tell them to stop, I guess.· Is
·8· that what this is?· (Reviewing.)· Yeah, it says, You must
·9· immediately halt.
10· · · ·Q· · And that would have come up in testimony during the
11· HB 6?
12· · · ·A· · It was during the proceedings, yes.
13· · · ·Q· · And did you learn about this controversy any other
14· time -- or read about this controversy any other time outside
15· of the testimony for HB 6?
16· · · · · · · · ·MR. BLEDSOE:· Objection, form.
17· BY THE WITNESS (resuming):
18· · · ·A· · It may not have been directly with this particular
19· provision, but I knew that there was a dispute with Harris
20· County's procedure.
21· · · ·Q· · Okay.· Then let's put that aside.
22· · · ·A· · (Complies with request.)
23· · · ·Q· · Do you have the exhibit in front of you?
24· · · ·A· · Exhibit 4?
25· · · ·Q· · Yes.




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·1· · · ·A· · Yes.
·2· · · ·Q· · Okay.· And so you see on the top that it is stamped,
·3· District Clerk, Harris County, on August 31st, 2020?
·4· · · ·A· · I see that, yes.
·5· · · ·Q· · Okay.· And do you see that it has the case caption,
·6· In the State of Texas v. Chris Hollins, in his official
·7· capacity as Harris County Clerk?
·8· · · ·A· · Yes.
·9· · · ·Q· · And then do you see the title that says Plaintiff's
10· Original Verified Petition and Application for Temporary
11· Restraining Order, Temporary Injunction and Permanent
12· Injunction?
13· · · ·A· · Yes.
14· · · ·Q· · Okay.· And let's look at the first paragraph.· It
15· says:· The State of Texas, by and through Ken Paxton, the
16· Attorney General of Texas, files this original verified
17· petition and application for temporary restraining order,
18· temporary injunction and permanent injunction against defendant
19· Chris Hollins, in his official capacity as Harris County Clerk.
20· Did I read that correctly?
21· · · ·A· · Yes.
22· · · ·Q· · And then it continues:· The State seeks an injunction
23· against Hollins to prevent him from sending over 2 million
24· applications for mail ballots to every registered voter in
25· Harris County irrespective of whether any given voter requested




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·1· an application or even qualifies to vote by mail.· Did I read
·2· that correctly?
·3· · · ·A· · Yes.
·4· · · ·Q· · And then the paragraph concludes:· Hollins' actions
·5· will create confusion, facilitate fraud and is an illegal ultra
·6· vires act because it exceeds his statutory authority.· Did I
·7· read that correctly?
·8· · · ·A· · I -- I don't know how to pronounce the word variz
·9· (ph), virus (ph), so I assume you did.
10· · · ·Q· · And so then, if you turn to the end of the document,
11· you'll see that it is signed by Charles K. Eldred, Special
12· Litigation Division of the Attorney General of Texas.· Did I
13· read that correctly?
14· · · ·A· · Yes.
15· · · ·Q· · Okay.· And so were you aware -- well, let me take a
16· step back.· Would you agree that based on this document the
17· Attorney General of Texas files a verified petition,
18· application for a temporary restraining order, temporary
19· injunction and permanent injunction, to stop Chris Hollins from
20· sending 2 million applications for mail ballots to every
21· registered voter in Harris County?
22· · · · · · · · ·MR. BLEDSOE:· Objection to form, calls for
23· speculation.
24· BY THE WITNESS (resuming):
25· · · ·A· · I'm not sure exactly what this -- because, I mean,




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·1· that's in the caption, but I haven't -- this is my first time
·2· seeing it, so I don't know what it does.
·3· · · ·Q· · Would you agree that it says:· The State seeks an
·4· injunction against Hollins to prevent him from sending over 2
·5· million applications for mail ballots to every registered voter
·6· in Harris County, irrespective of whether any given voter
·7· requested an application or even qualifies to vote by mail?
·8· · · ·A· · That's what it says, yes.
·9· · · ·Q· · Okay.· Did you know that the State sought an
10· injunction against Chris Hollins to prevent him from sending
11· over 2 million applications for mail ballots to every
12· registered voter in Harris County, irrespective of whether any
13· given voter requested an application or even qualifies to vote
14· by mail?
15· · · · · · · · ·MR. BLEDSOE:· Object to form.
16· BY THE WITNESS (resuming):
17· · · ·A· · I -- I heard about this in the news, but I don't know
18· if that was the exact reason.
19· · · ·Q· · Okay.· So you heard that the secretary -- sorry --
20· that the State sought an injunction against the action?· Is
21· that fair to say?
22· · · · · · · · ·MR. BLEDSOE:· Objection to form.
23· BY THE WITNESS (resuming):
24· · · ·A· · Well, I heard that the State filed a lawsuit.
25· · · ·Q· · Okay.· So you're aware that the State filed a lawsuit




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·1· against Chris Hollins about the unsolicited applications to
·2· vote by mail.
·3· · · · · · · · ·MR. BLEDSOE:· Objection to form,
·4· mischaracterizes the testimony.
·5· BY THE WITNESS (resuming):
·6· · · ·A· · Well, the State of Texas, by and through Ken Paxton,
·7· the Attorney General of Texas, files this original verified
·8· petition -- I'm familiar with what you just told me.
·9· · · ·Q· · Okay.· So you're familiar that the State of Texas,
10· through Ken Paxton, the Attorney General, had filed a lawsuit
11· against Chris Hollins about the unsolicited vote-by-mail
12· applications in Harris County?
13· · · ·A· · No --
14· · · · · · · · ·MR. BLEDSOE:· Object to form.
15· · · · · · · · ·THE WITNESS:· Okay.· Sorry.
16· BY THE WITNESS (resuming):
17· · · ·A· · No, not -- no.· I -- I was aware that there was a
18· lawsuit filed with the process and procedures in Harris County.
19· · · ·Q· · Okay.· So you're aware of the lawsuit related to
20· unsolicited vote-by-mail applications.· Is it fair to say,
21· then, you were not aware of who sought -- who initiated the
22· lawsuit?
23· · · ·A· · Well, I would think --
24· · · · · · · · ·MR. BLEDSOE:· Objection to form.
25· BY THE WITNESS (resuming):




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·1· · · ·A· · I would think it would be Ken Paxton because he does
·2· file the suits on behalf of the State of Texas.
·3· · · ·Q· · Okay.· So I'm a little confused by your answer.
·4· · · ·A· · Okay.
·5· · · ·Q· · So were you aware that the State of Texas initiated a
·6· lawsuit about the unsolicited vote-by-mail applications?
·7· · · ·A· · Not on August 31st, 2020.
·8· · · ·Q· · Okay.· When did you become aware?
·9· · · ·A· · I guess when the news media hit it.· They got ahold
10· of it and they started reporting it.
11· · · ·Q· · Okay.· So sometime after August 31st, 2020 --
12· · · ·A· · Yes.
13· · · ·Q· · -- you became aware that the State initiated a
14· lawsuit against Chris Hollins about the unsolicited
15· vote-by-mail applications.
16· · · · · · · · ·MR. BLEDSOE:· Objection to form.
17· BY THE WITNESS (resuming):
18· · · ·A· · Actually, I didn't even know it was against
19· Chris Hollins.· I just thought it was Harris County.
20· · · ·Q· · So after August 31st, 2020, you became aware that the
21· State initiated a lawsuit about the unsolicited vote-by-mail
22· applications.
23· · · · · · · · ·MR. BLEDSOE:· Objection to form.
24· BY THE WITNESS (resuming):
25· · · ·A· · You know, I read that it was about all of the things,




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·1· about 24-hour voting and drive-thru voting.· I thought it was
·2· about all of that.
·3· · · ·Q· · Okay.
·4· · · ·A· · That was my understanding at the time.
·5· · · ·Q· · So was your understanding at the time then that the
·6· State was responding to multiple actions from Harris County?
·7· · · ·A· · They had --
·8· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·9· BY THE WITNESS (resuming):
10· · · ·A· · They disagreed with the processes that were
11· implemented by Harris County.
12· · · ·Q· · Okay.· And let's put that aside.
13· · · ·A· · (Complies with request.)
14· · · ·Q· · And do you have Exhibit 5 in front of you?
15· · · ·A· · Yes.
16· · · ·Q· · And do you see the caption that says, In the Supreme
17· Court of Texas?
18· · · ·A· · Yes.
19· · · ·Q· · And then it has the additional caption:· The State of
20· Texas, Petitioner v. Chris Hollins, in his official capacity as
21· Harris County Clerk, Respondent.· Did I read that correctly?
22· · · ·A· · Yes.
23· · · ·Q· · And then it has the title:· On Petition for Review
24· from the Court of Appeals for the 14th District of Texas.· Did
25· I read that [sic]?




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·1· · · ·A· · Yes.
·2· · · ·Q· · And then it states that this was argued
·3· September 30th, 2020; is that right?
·4· · · ·A· · That's what it says, yes.
·5· · · ·Q· · And let's look at the first paragraph.· It starts
·6· with:· Voting by mail in Texas is limited by statute to certain
·7· groups.· To obtain a mail-in ballot, a registered voter must
·8· assert eligibility on an application form that meets statutory
·9· requirements.· Election officials must make a form application
10· produced by the secretary of state available to voters.· Did I
11· read that correctly?
12· · · ·A· · That's what it says.
13· · · ·Q· · It continues:· The Harris County Clerk proposes to
14· mail unsolicited ballot applications to all registered voters
15· under 65 of age, only a fraction of whom are eligible to vote
16· by mail.· Because no other election official in Texas is doing
17· or has ever done what the clerk proposes, his plan threatens to
18· undermine the statutorily required uniform operation of
19· election laws across the state.· Did I read that correctly?
20· · · ·A· · That's what it says.
21· · · ·Q· · Okay.· Now let's turn the page and let's look at the
22· last paragraph just before it says Roman Numeral 1.· Do you see
23· that?· It starts with, We conclude.
24· · · ·A· · Yes.
25· · · ·Q· · Okay.· It reads:· We conclude that the election code




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·1· does not authorize the mailing proposed by the Harris County
·2· Clerk.· Did I read that correctly?
·3· · · ·A· · Yes.
·4· · · ·Q· · (Reading.)· Accordingly, we grant the State's
·5· petition for review, reverse the Court of Appeals judgment and
·6· remand the case to trial to issue a temporary injunction
·7· prohibiting Harris County Clerk from mass-mailing unsolicited
·8· ballot applications to voters.· Did I read that correctly?
·9· · · ·A· · To the trial court.
10· · · ·Q· · Okay.· Let me reread that, then.
11· · · ·A· · Okay.
12· · · ·Q· · Accordingly, we grant the State's petition for
13· review, reverse the Court of Appeals judgment and remand the
14· case to the trial court to issue a temporary injunction
15· prohibiting the Harris County Clerk from mass-mailing
16· unsolicited ballot applications to voters.· Did I read that
17· correctly?
18· · · ·A· · That's what it says, yes.
19· · · ·Q· · Okay.· And so here the Court states that they
20· concluded that the election code does not authorize the mailing
21· proposed by Harris County Clerk; correct?
22· · · · · · · · ·MR. BLEDSOE:· Objection to form.
23· BY THE WITNESS (resuming):
24· · · ·A· · It says what it says.· I mean, if that's your
25· interpretation.




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·1· · · ·Q· · And what is your interpretation, ma'am?
·2· · · ·A· · We conclude --
·3· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·4· · · · · · · · ·THE WITNESS:· Oh.
·5· BY THE WITNESS (resuming):
·6· · · ·A· · We conclude that the election code does not authorize
·7· the mailing proposed by the Harris County Clerk.· Accordingly,
·8· we grant the State's petition for review, reverse the Court of
·9· Appeals judgment and remand the case to the trial court to
10· issue a temporary injunction prohibiting the Harris County
11· Clerk from mass-mailing unsolicited ballot applications to
12· voters.
13· · · ·Q· · And is that what --
14· · · ·A· · I mean, that's what it says.· I mean, you skipped a
15· lot.· There's probably stuff in there -- in the middle.
16· · · ·Q· · Okay.· And are you aware that the Texas Supreme Court
17· had issued an opinion stating that it determined that the
18· election code does not authorize the mailing proposed by the
19· Harris County Clerk?
20· · · · · · · · ·MR. BLEDSOE:· Objection to form.
21· BY THE WITNESS (resuming):
22· · · ·A· · I read -- I heard about it in the news at some
23· point --
24· · · ·Q· · Okay.
25· · · ·A· · -- but not at the time of this release.




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·1· · · ·Q· · So you said you had read about it in the news
·2· sometime afterwards.· Is that fair to say?
·3· · · ·A· · Yes.· And -- and whenever this came out, the news
·4· started, you know, reporting about it, and I do remember
·5· vaguely hearing about it.
·6· · · ·Q· · Okay.· And was this raised at all during the
·7· discussions about Senate Bill 1?
·8· · · ·A· · Senate Bill 1?· Is that during the second special
·9· session?
10· · · ·Q· · That's correct.
11· · · ·A· · I was not there.
12· · · ·Q· · Okay.· And what about HB 6?
13· · · ·A· · The Supreme Court?
14· · · ·Q· · Well, yeah, that's correct, the Supreme Court
15· opinion.· Do you know -- do you recall if that got raised
16· during the discussions?
17· · · ·A· · I feel like at some point there was a mention of
18· this, that the Supreme Court -- I think there were multiple
19· cases.· I -- I don't remember.· There were multiple cases going
20· on and it was going back and forth.· Maybe that's what this
21· Court of Appeals thing is -- what they're talking about here.
22· · · ·Q· · Okay.
23· · · ·A· · And at one point, they would -- it was in favor of
24· Harris County, then it wasn't, so I think that's how that went.
25· · · ·Q· · Okay.· So you -- you think during discussions of HB




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·1· 6, there were discussions about the -- I guess the litigation
·2· involving the unsolicited vote-by-mail applications.· Is that
·3· fair to say?
·4· · · ·A· · In the discussions, yeah.· Maybe not necessarily in
·5· testimony, but in the discussions.
·6· · · ·Q· · And let's go to the Page 14.
·7· · · ·A· · (Complies with request.)
·8· · · ·Q· · The last paragraph starts with:· We hold that the
·9· election code does not authorize an early-voting clerk to send
10· an application to vote by mail to a voter who has not requested
11· one, and that a clerk's doing so results in irreparable injury
12· to the State.· Did I read that correctly?
13· · · ·A· · Yes, you did.
14· · · ·Q· · Now, you had mentioned discussions regarding HB 6 and
15· that this may have come up.· Do you remember the context in
16· which this opinion would have come up?
17· · · · · · · · ·MR. BLEDSOE:· Objection to form.
18· BY THE WITNESS (resuming):
19· · · ·A· · I -- I don't remember.· It could have been during the
20· hearing, like somebody was testifying; it could have been,
21· like, during a conference committee discussion -- I was on the
22· conference committee for HB 6 -- well, it was SB 7.· My bad.
23· I'm sorry.
24· · · ·Q· · And so is it fair to say you can't recall the
25· specific context, but that you believe that the Supreme Court's




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·1· opinion regarding unsolicited vote-by-mail applications were
·2· raised in discussions over HB 6?
·3· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·4· BY THE WITNESS (resuming):
·5· · · ·A· · Oh.· Well, again, when I'm talking about that, I'm --
·6· I'm referring to everything.· I don't know.· Was there a
·7· separate Supreme Court decision on the vote by mail -- I mean
·8· the 24-hour voting and drive-thru voting?· That's what -- I'm
·9· lumping it all together.· I'm sorry.
10· · · ·Q· · No, that's all right.· So you don't recall if this
11· specific issue was raised in the discussions.· Is that fair to
12· say, then?
13· · · ·A· · Well, to me, they're all a part of the process that
14· Harris County implemented and that was all in dispute, but if
15· -- if you're asking me to separate this particular issue, I
16· can't say that I remember that --
17· · · ·Q· · Okay.
18· · · ·A· · -- specifically.
19· · · · · · · · ·MS. HUNKER:· Then let's put this aside.· And I
20· think it would be fair to take our first break since we're
21· about an hour in.
22· · · · · · · · ·THE WITNESS:· Oh, is that it?· It's only been an
23· hour?
24· · · · · · · · ·VIDEOGRAPHER:· Going off the record at 3:01 p.m.
25· · · · · · · · ·(A recess was taken.)




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·1· · · · · · · · ·VIDEOGRAPHER:· We are back on the record at
·2· 3:23 p.m.
·3· BY MS. HUNKER (resuming):
·4· · · ·Q· · Representative, did you have a good break?
·5· · · ·A· · Yes.
·6· · · ·Q· · So I want to talk a little bit more about the
·7· unsolicited vote-by-mail applications in Harris County.· Only a
·8· few more questions and then we'll move on to a new topic.· Did
·9· you speak to any individual from the Harris County Clerk's
10· office about the unsolicited vote-by-mail applications?
11· · · ·A· · When?
12· · · ·Q· · At any time between 2020 and present day.
13· · · · · · · · ·MR. BLEDSOE:· Objection to form.
14· BY THE WITNESS (resuming):
15· · · ·A· · I know that I saw -- well, no.· I guess the county
16· judge -- is she in the election -- Harris County election
17· office?· Is she part of it?· I saw her at the hearing.
18· · · ·Q· · Okay.· And so did you talk to the Harris County judge
19· about the unsolicited vote-by-mail applications?
20· · · ·A· · No.
21· · · ·Q· · Okay.· And did you talk to any other Harris County
22· official regarding unsolicited vote-by-mail applications?
23· · · ·A· · No.
24· · · ·Q· · Starting in 2020 and workings towards the present,
25· have you ever researched logistics of sending unsolicited




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·1· vote-by-mail applications?
·2· · · ·A· · No.· What do you mean by logistics, though?· Can you
·3· clarify that?
·4· · · ·Q· · Sure.· So looking at the elections office, the
·5· different steps that the elections office would have to take in
·6· order to actually send out the applications to vote by mail,
·7· such as printing paper, securing paper supply, designing it,
·8· including instructions -- basically all of the -- the -- the
·9· nitty-gritty in actually conducting the operation.
10· · · ·A· · You said prior to 2020?
11· · · ·Q· · No, from 2020 to present.
12· · · ·A· · I did have an issue with -- like, what do you mean
13· printing, like, who decides where the signatures go on the
14· inside, outside envelope --
15· · · ·Q· · Okay.
16· · · ·A· · -- stuff like that.· I -- like, I talked about
17· logistics for that being inconvenient and it's a bit much.
18· · · ·Q· · And did you ever speak about logistics of
19· vote-by-mail applications?
20· · · ·A· · Applications.· I did with -- this is where I --
21· remember where I was telling you that I had a conversation with
22· the secretary of state because I -- we -- my office reached out
23· to Heidi [sic] Garcia to see when the process was going to be
24· finalized, and it hadn't been because it needed to come from
25· the secretary of state, and at that point is when I reached out




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·1· to the secretary of state's office and I spoke with somebody in
·2· government relations to find out what the process was going to
·3· be because we literally were up on the deadline and the
·4· training needed to be done for those who were going to process
·5· it and hadn't, so I did try to figure out what was going on
·6· with that.
·7· · · ·Q· · And that was [sic] respect to implementation of SB 1;
·8· correct?
·9· · · ·A· · Of that voting provision -- vote-by-mail provision.
10· · · ·Q· · Now, I'm talking in this case about the logistics of
11· sending out unsolicited vote-by-mail applications.
12· · · ·A· · So, see, when you're saying that, I didn't know that
13· there was separation.· I didn't really -- when I was learning
14· about Harris County, it literally was about the process of
15· them, you know, doing vote by -- drive-thru voting and
16· 24-hour voting, and if this was something that was included,
17· then it wasn't the main thing that I noticed, because the
18· drive-by and 24-hour voting offered the -- it -- it -- it did
19· provide an avenue to increase voter participation based on the
20· numbers that we saw, so it wasn't on this particular provision.
21· · · ·Q· · Okay.· So you didn't look at any logistics relating
22· to this particular topic, the unsolicited vote-by-mail
23· applications.
24· · · ·A· · No.
25· · · ·Q· · And do you know if Tarrant County elections office




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·1· considered doing the same, sending out unsolicited vote-by-mail
·2· applications?
·3· · · ·A· · I do not know.
·4· · · ·Q· · Okay.· And do you know if they did send out
·5· unsolicited vote-by-mail applications?
·6· · · ·A· · I do not know.
·7· · · ·Q· · Okay.· And so I want to turn our attention to drive-
·8· thru voting in Harris County.
·9· · · · · · · · ·MS. HUNKER:· Can I see the one I sent --
10· · · · · · · · ·THE WITNESS:· (Complies with request.)
11· BY MS. HUNKER (resuming):
12· · · ·Q· · Okay.· And so do you have Exhibit 6 in front of you?
13· · · ·A· · Yes.
14· · · ·Q· · And do you see on the top where it says,
15· Isabel Longoria, Elections Administrator?
16· · · ·A· · Yes, it says that.
17· · · ·Q· · Yes.· And then do you see where it says, Next
18· Election, March 1st, 2022, Primarily Election; Early Voting,
19· February 14th to February 25th?
20· · · ·A· · Yes.
21· · · ·Q· · And if we look at the back page, you'll see it says,
22· Voters at Harris Votes.com.
23· · · ·A· · I see that at the top, yes.
24· · · ·Q· · Okay.· And if we turn to the page just before that,
25· you'll see, Election Division, contact us.




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·1· · · ·A· · Election Division, contact us, yes.
·2· · · ·Q· · I'm going to represent to you that this is a printout
·3· of the Harris County Elections Administrator website.· Do you
·4· have any reason to doubt my representation?
·5· · · ·A· · When -- when was this captured?
·6· · · ·Q· · This would have been captured in -- give me a second
·7· -- February 2022.
·8· · · ·A· · February 2022.· Okay.
·9· · · ·Q· · And do you have any reason to doubt my representation
10· that this is a printout of the Harris County Elections [sic]
11· Administrator website?
12· · · ·A· · No.· I just met you, but I take it that you wouldn't
13· defraud me (ph).
14· · · ·Q· · And so if you look at the second page where it says,
15· Purpose, we're going to look at the second sentence.
16· · · ·A· · Okay.
17· · · ·Q· · And it says:· Harris County is the first jurisdiction
18· in Texas history to create this new method of voting at scale
19· that allows any registered voter to cast their ballot without
20· leaving the comfort of their vehicle.· Did I read that
21· correctly?
22· · · ·A· · Yes.
23· · · ·Q· · And were you aware that Harris County offered
24· drive-thru voting during the 2020 election?
25· · · ·A· · You mean on February 2022, yes.




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·1· · · ·Q· · No --
·2· · · ·A· · Oh.
·3· · · ·Q· · Sorry.· Let me restate the question.· Were you aware
·4· that Harris County introduced drive-thru voting?· Just
·5· generally.
·6· · · ·A· · You know, I heard about multiple counties.· Like,
·7· there was one in North Texas that did it, too, and so I don't
·8· know who did it first, but this is what it says here in what
·9· you just read to me that they did it first, but again, with the
10· news reports, they said, you know, Harris County -- and I feel
11· like it was either Dallas County and there was another county
12· that did drive-thru voting.
13· · · ·Q· · And so when did you first hear about Harris County
14· conducting drive-thru voting?
15· · · ·A· · I don't know the date.
16· · · ·Q· · Do you know roughly?
17· · · ·A· · It was --
18· · · · · · · · ·MR. BLEDSOE:· Objection to form.
19· BY THE WITNESS (resuming):
20· · · ·A· · It was during the election for the general election,
21· I guess, for 2020.· I guess during the election process or
22· period.
23· · · ·Q· · And so you're aware that Harris County offered
24· drive-thru voting in 2020; is that correct?
25· · · · · · · · ·MR. BLEDSOE:· Objection to form.




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·1· BY THE WITNESS (resuming):
·2· · · ·A· · Based on what I read in the news and heard in the
·3· news, yes --
·4· · · ·Q· · And --
·5· · · ·A· · -- in 2020.
·6· · · ·Q· · -- you don't have any firsthand knowledge of the
·7· drive-thru voting program in Harris County; is that correct?
·8· · · ·A· · Firsthand knowledge?
·9· · · ·Q· · Yes.
10· · · ·A· · You mean -- like, what I read, yes.
11· · · ·Q· · So let me -- let me rephrase it, then.· Everything
12· you know about drive-thru voting in Harris County, is that
13· something you've read?
14· · · ·A· · Yes.
15· · · ·Q· · And you said that you were under the impression that
16· other counties also had drive-thru voting during 2020.
17· · · ·A· · Yes.
18· · · ·Q· · Do you recall which counties?
19· · · ·A· · It's either Dallas County -- I don't know.· I feel
20· like it was another county.· At least one other.
21· · · ·Q· · Okay.· And did you also learn that through the news?
22· · · ·A· · Uh-huh, yes.
23· · · ·Q· · And did you ever talk to Harris County about the
24· drive-thru voting program that they offered?
25· · · ·A· · No.· I'm in Tarrant County, so no.




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·1· · · ·Q· · And did you ever look at the cost of drive-thru
·2· voting on a county?
·3· · · ·A· · I wouldn't -- I wouldn't do that.· I mean, that
·4· wasn't -- any county or Tarrant County?
·5· · · ·Q· · Well, right now I'm talking about did you look into
·6· the cost generally.
·7· · · ·A· · When?
·8· · · ·Q· · About drive-thru voting at any point since 2020.
·9· · · ·A· · I think since 2020 -- I'm trying to think if there
10· was any testimony about that at the hearing, about the cost.                 I
11· don't recall.
12· · · ·Q· · And did you ever research logistics of how drive-thru
13· voting operates?
14· · · ·A· · Other than it's 24 hours?
15· · · ·Q· · Yeah.
16· · · ·A· · That's about as much as I know.· Is that --
17· basically, I -- this is what I remember about this:· 24-hour
18· voting and it was drive-thru voting, and that it had -- this is
19· what I remember:· Harris County had the highest voter turnout
20· because of the various ways that they offered the ability to
21· vote, and then when you had Ruth Hughs with the secretary of
22· state's office come back out and say it was secure -- the
23· election was secure, to me, that -- that's what I know about it
24· -- remember about it --
25· · · ·Q· · Okay.




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·1· · · ·A· · -- in terms of the process and the logistic.
·2· · · ·Q· · And so did you look at how counties had to go about
·3· staffing drive-thru voting locations?
·4· · · ·A· · No, I did not.
·5· · · ·Q· · And did you look at any of the security procedures or
·6· safeguards that were put in place?
·7· · · ·A· · I took the secretary of state -- they said that it
·8· was secure, meaning that the 2020 general election was secure,
·9· so, I mean, I guess from that, I could conclude that there was
10· no problems with it.
11· · · ·Q· · So did you look to see what safeguards Harris County
12· put into place?
13· · · ·A· · Not at the time, no.
14· · · ·Q· · And have you since?
15· · · ·A· · No.
16· · · ·Q· · And were you aware of any discrepancies in the
17· reconciliation forms or vote totals in Harris County related to
18· drive-thru voting?
19· · · ·A· · I was not.· I have not seen them.
20· · · ·Q· · And did you know -- did you talk to Tarrant County's
21· elections office about whether they were going to introduce
22· drive-thru voting?
23· · · ·A· · No, I don't recall.
24· · · ·Q· · And do you know if they were considering introducing
25· drive-thru voting?




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·1· · · ·A· · I do not know.
·2· · · ·Q· · Did they offer drive-thru voting in 2020?
·3· · · ·A· · I don't think so.· Well, I mean, other than -- what
·4· do you mean, drive-thru?· Like --
·5· · · ·Q· · So let me specify.· I know that there's something
·6· called curbside voting --
·7· · · ·A· · Yes.
·8· · · ·Q· · -- and then there is something that was slightly
·9· different offered by Harris County, which they called
10· drive-thru voting.
11· · · ·A· · Yes.
12· · · ·Q· · And would you agree that curbside voting is when an
13· individual either with a physical disability or is unable for
14· health or a medical reason to access the polling location, they
15· can pull up to the voting site and vote in their car curbside?
16· · · ·A· · I -- well, I mean, curbside voting is for people who
17· are unable to go into -- for any reason.· I don't know -- if
18· they're unable to go inside.
19· · · ·Q· · Okay.· You'd agree with me, though, that curbside
20· voting is for an individual who can't go inside the polling
21· place.
22· · · ·A· · Who's unable to go inside, yes.
23· · · ·Q· · And that drive-thru voting in Harris County expanded
24· that to include any voter, not just individuals who were unable
25· to access the polling location.




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·1· · · ·Q· · Okay.· And when I talk about Tarrant County
·2· drive-thru voting, do you understand that I am not talking
·3· about curbside voting?
·4· · · ·A· · Now I do.
·5· · · ·Q· · Okay.· And so I'm going to just ask the questions
·6· again for clarification.· Are you aware if Tarrant County
·7· attempted to introduce drive-thru voting?
·8· · · ·A· · I am not aware.
·9· · · ·Q· · And do you know the reason why Tarrant County -- let
10· me take a step back.· To your knowledge, Tarrant County did not
11· offer drive-thru voting in 2020; is that correct?
12· · · ·A· · That -- my understanding, that's correct, I don't
13· think they did.
14· · · ·Q· · And is it your understanding Tarrant County did not
15· offer drive-thru voting in 2021?
16· · · ·A· · 2021?
17· · · ·Q· · Yes.
18· · · ·A· · The election in 2021?
19· · · ·Q· · Any of the elections that occurred in 2021.
20· · · ·A· · I don't think so.
21· · · ·Q· · And do you know why Tarrant County decided not to
22· have drive-thru voting?
23· · · ·A· · No.· I'm not in those discussions.
24· · · ·Q· · All right.· I'm going to introduce our next exhibit.
25· Do you have Exhibit 7 in front of you?




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·1· · · ·A· · Yes.
·2· · · ·Q· · Okay.· And do you see on top where it has the
·3· letterhead, Attorney General of Texas, Ken Paxton?
·4· · · ·A· · Yes.
·5· · · ·Q· · And do you see that it's dated October 16th, 2020?
·6· · · ·A· · Yes.
·7· · · ·Q· · And addressed to, Dear Texas election officials?
·8· · · ·A· · Yes.
·9· · · ·Q· · And if you turn the page, you'll see that it's signed
10· by Ken Paxton; is that correct?
11· · · ·A· · Yes.
12· · · ·Q· · Okay.· And October 2020 is before SB 1 was enacted;
13· is that correct?
14· · · ·A· · Yes.
15· · · ·Q· · And October 16th, 2020, is before HB 6 and SB 7 were
16· considered; is that correct?
17· · · ·A· · Yes.
18· · · ·Q· · And so let's read the first sentence:· Some political
19· subdivisions throughout Texas have expanded their use of
20· curbside voting this election season to offer expansive
21· drive-thru voting to all registered voter -- voters.· This
22· letter serves as a notice and reminder that the election code
23· provides curbside voting as an option only to those who meet
24· certain narrow set of criteria.· Curbside voting is not, as
25· some have asserted contrary to Texas law, an option for any and




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·1· all voters who simply wish to vote from the comfort of their
·2· cars when they are physically able to enter the polling place.
·3· Did I read that correctly?
·4· · · · · · · · ·MR. BLEDSOE:· Objection, form.
·5· BY THE WITNESS (resuming):
·6· · · ·A· · That's what it says.
·7· · · ·Q· · And the next paragraph reads:· Texas Election Code
·8· provides that -- in quotation marks -- each polling place shall
·9· be located inside a building -- end quotation marks -- Texas
10· Election Code Section 43.031(b).· Did I read that correctly?
11· · · · · · MR. BLEDOSOE:· Objection, form.
12· BY THE WITNESS (resuming):
13· · · ·A· · That's what it says.
14· · · ·Q· · And then it continues:· The code makes no provision
15· for polling places located outdoors, in parking lots or in
16· parking structures.· More specifically, the code makes no
17· provision for drive-thru voting centers at which any voter may
18· cast a ballot from his or her vehicle regarding -- regardless
19· of physical condition.· Did I read that correctly?
20· · · · · · · · ·MR. BLEDSOE:· Objection to form.
21· BY THE WITNESS (resuming):
22· · · ·A· · That's what it says.
23· · · ·Q· · Yeah.· And so the Texas Attorney General sent this
24· letter to election officials in October 2020; correct?
25· · · · · · · · ·MR. BLEDSOE:· Objection to form.




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·1· Exhibit 5 -- and I was thinking that they're connected.
·2· · · ·Q· · Okay.· And so were you aware that the Texas Attorney
·3· General's Office sent a notice advising that he [sic] thought
·4· that drive-thru voting was against the Texas Election Code?
·5· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·6· BY THE WITNESS (resuming):
·7· · · ·A· · I see it now, but -- what you're showing me now.
·8· · · ·Q· · And you were -- but you were not aware of it
·9· beforehand.
10· · · · · · · · ·MR. BLEDSOE:· Objection, form.
11· BY THE WITNESS (resuming):
12· · · ·A· · I know the -- the media made some references about
13· the lawsuit against Harris County and then other -- I guess
14· that they won at that point and then they lost -- they come
15· back and lost, so I don't know if this letter was, you know --
16· · · ·Q· · Discussed.
17· · · ·A· · -- in the media.
18· · · ·Q· · And so let's look at Exhibit 8.· Would you agree,
19· though, then that drive-thru voting was controversial in 2020?
20· · · ·A· · There was a dispute as to the use of it in 2020.
21· · · ·Q· · And I want you to take a look at this particular
22· exhibit, Exhibit 8.· Do you have that in front of you?
23· · · ·A· · Yes.
24· · · ·Q· · Okay.· On the top it says, In the Supreme Court of
25· Texas; is that correct?




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·1· · · ·Q· · That's all right.· It continues:· As such, I would
·2· grant relator's motion to stay to ensure compliance with the
·3· code and to give this Court the opportunity to consider whether
·4· the novel drive-thru voting measure qualifies as a polling
·5· place under Section 64.009(a) or where it is a grave departure
·6· from the express language of the statute.· Did I read that
·7· correctly?
·8· · · ·A· · That's what it says, yes.
·9· · · ·Q· · Okay.· And let's jump to the last paragraph where it
10· starts with Hollins.· (Reading.)· Hollins stretches the text of
11· the code beyond historical and commonsense understanding.· Did
12· I read that sentence correctly?
13· · · ·A· · That's what it says.· I read that.
14· · · ·Q· · (Reading.)· The Texas Election Code states that
15· polling locations may be located in any stationary structure,
16· including a movable structure -- and then it cites Election
17· Code 85.062(b).· Did I read that correctly?
18· · · ·A· · Well, it says Id., and let me see what it's -- if
19· that's the election code.· (Reviewing.)· Yeah, the previous one
20· was the election code.· Okay.· Yes, that's what it says.
21· · · ·Q· · Okay.· And it continues:· Hollins argues that these
22· tents satisfy the requirements of a moveable structure, but
23· that interpretation goes beyond the plain language of the
24· statute and cannot be harmonized with other demands of the
25· code.· Did I read that correctly?




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·1· · · ·A· · That's what I read there.
·2· · · ·Q· · Were you aware of this opinion from Justice Devine at
·3· any time between 2020 and the present day?
·4· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·5· BY THE WITNESS (resuming):
·6· · · ·A· · I have not seen this, no.
·7· · · ·Q· · And you had mentioned that you were aware of
·8· litigation over the drive-thru voting.· Is this the specific
·9· case that you were referring to?
10· · · · · · · · ·MR. BLEDSOE:· Objection to form.
11· BY THE WITNESS (resuming):
12· · · ·A· · Oh, this -- oh, this is a different case.· No, I -- I
13· don't know.· I just -- this is what I remember:· That there was
14· a dispute as to whether that was authorized under the statute,
15· and what we found out is that when they did do the drive-thru
16· voting and the 24-hour voting, we had -- Harris County had the
17· highest rate of voter participation since like 2017 and more
18· people of color were able to vote.
19· · · ·Q· · Okay.· And let's just look at the last page.· Do you
20· see the date October 22nd, 2020?
21· · · ·A· · Opinion -- yes.
22· · · ·Q· · Okay.· And would you agree with me that that is only
23· a few weeks before election day in 2020?
24· · · ·A· · October 22nd, 2020 --
25· · · ·Q· · Yes.




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·1· · · ·A· · -- was a few weeks -- yes, but this is not signed,
·2· what you gave me.
·3· · · ·Q· · Yes.
·4· · · ·A· · Okay.· Is this an official opinion?
·5· · · ·Q· · It is.· It's one from their website.
·6· · · ·A· · Oh, okay.
·7· · · ·Q· · I do not know why it is not --
·8· · · ·A· · Oh, okay.· It's not even, like, postmarked.· I guess
·9· it wouldn't be post -- I don't know.· Does it have a filing on
10· it?· (Reviewing.)
11· · · ·Q· · And so you have a lawsuit that is still being
12· considered about the legality of drive-thru voting in the weeks
13· leading up to election day in 2020; is that correct?
14· · · · · · · · ·MR. BLEDSOE:· Objection to form.
15· BY THE WITNESS (resuming):
16· · · ·A· · Sorry.· I was reading.· Can you repeat the question?
17· · · ·Q· · Sure.· And so we have ongoing litigation regarding
18· the legality of drive-thru voting within a few weeks of
19· election.· Do you agree with that?
20· · · · · · · · ·MR. BLEDSOE:· Objection to form.
21· BY THE WITNESS (resuming):
22· · · ·A· · I don't know if this is -- I don't know about that.
23· What do you -- you mean ongoing litigation about the validity
24· of --
25· · · ·Q· · Okay.· Would you agree with me that this opinion




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·1· referenced a -- the legal question of whether drive-thru
·2· voting --
·3· · · ·A· · But this is a dissenting opinion.
·4· · · ·Q· · Yes.· I'm just asking about whether or not this
·5· opinion referenced was in relation to that question.
·6· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·7· BY THE WITNESS (resuming):
·8· · · ·A· · If you could give me fuller -- because I don't know
·9· what this is dissenting to.· Like, what was the major opinion
10· in the case?· It -- because each judge had the ability to draft
11· their own dissent; right?
12· · · ·Q· · Yes.
13· · · ·A· · And so this, to me, would be this person's opinion in
14· the case, so what was the actual case?
15· · · ·Q· · Okay.
16· · · ·A· · But that's what I -- because I don't know.· Maybe
17· they picked up one sign -- one thing in the case and they wrote
18· about -- you know, wrote about it.· I don't know.· If I could
19· see the case.· I don't know what this case was about.
20· · · ·Q· · And let's look at the next one.
21· · · · · · · · ·MS. HUNKER:· Are we on Exhibit 9?
22· · · · · · · · ·COURT REPORTER:· Yes.
23· BY MS. HUNKER (resuming):
24· · · ·Q· · And if you notice -- do you have Exhibit 9 in front
25· of you?




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·1· · · ·A· · Yes.
·2· · · ·Q· · And if you notice, this says, In the United States
·3· District Court for the Southern District of Texas, Houston
·4· Division.
·5· · · ·A· · Yes.
·6· · · ·Q· · Did I read that correctly?
·7· · · ·A· · Yes.
·8· · · ·Q· · And so this is a federal case, whereas the one I was
·9· referencing before was a state case; correct?
10· · · ·A· · Yeah, they -- they are -- the one -- Exhibit 8 is a
11· state case and Exhibit 9 is a federal case, yeah.
12· · · ·Q· · And if we see, it says, Steven Hotesay (ph) Hotze --
13· · · ·A· · Yes.
14· · · ·Q· · -- versus Chris Hollins; is that correct?
15· · · ·A· · He's one of the plaintiffs, yes.
16· · · ·Q· · And then if we see -- it says -- stamped, Entered
17· November 2nd, 2020; is that correct?
18· · · ·A· · Yes, I see that.
19· · · ·Q· · Okay.
20· · · ·A· · It was filed on November 2nd, 2020.
21· · · ·Q· · And so let's turn -- actually, let's put that aside.
22· · · ·A· · Okay.
23· · · ·Q· · Now, you had also mentioned 24-hour voting with
24· respect to Harris County earlier in our discussion; is that
25· correct?




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·1· · · ·A· · Yes.
·2· · · ·Q· · And so you're aware that Harris County offered
·3· 24-hour voting at some point during the November 2020 general
·4· election.
·5· · · ·A· · Yes, and I think another county did, too, in the
·6· North Texas area.· I feel like I -- I remember hearing about
·7· that.
·8· · · ·Q· · Okay.· And the information you have from the 24-hour
·9· voting, did that also come from reading news articles?
10· · · ·A· · Yes.· They said that it had offered additional
11· opportunities for individuals to vote, and again, the
12· conclusion, more people of color were able to participate in
13· that election.· Tarrant -- Harris County had the highest voter
14· participation since 2017.· I believe that was the year that
15· they talked about.
16· · · ·Q· · And did you -- when you were talking about voters of
17· color participating using 24-hour voting, where did you receive
18· that information from?
19· · · ·A· · It was -- I guess it was the reports that they had,
20· the data that they collected that people of color were able to
21· participate because of the nontraditional hours.· You know,
22· some people work at night, some people have, you know -- some
23· people like to vote at night.· I don't know.
24· · · ·Q· · And did you review those reports?
25· · · ·A· · Yes, we did see the statistics, and it was during the




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·1· were broken down like that.
·2· · · ·Q· · So I'm going to introduce to you Exhibit 10.· Do you
·3· have that exhibit in front of you?
·4· · · ·A· · Yes.
·5· · · ·Q· · Okay.· Have you seen this document before?
·6· · · ·A· · No.
·7· · · ·Q· · Okay.· And you see on top it says November 3rd, 2020,
·8· General and Special Elections Early-Voting Schedule.
·9· · · ·A· · I see that.
10· · · ·Q· · And you see on the bottom where it says Harris
11· County.
12· · · ·A· · Yes.
13· · · ·Q· · And then do you see where it has the logo of the
14· county clerk in the dead center of the page?
15· · · ·A· · Yes.
16· · · ·Q· · It's small.
17· · · ·A· · Yes.· It says, County Clerk, Harris County, Texas,
18· 1836.
19· · · ·Q· · And it does also mention Chris Hollins, Harris County
20· Clerk; correct?
21· · · ·A· · His name is there, yes.
22· · · ·Q· · And it says that this is a general and special
23· elections early-voting schedule; is that right?
24· · · ·A· · Where?
25· · · ·Q· · On top.· If you look after it says November 3rd,




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·1· · · ·A· · Okay.
·2· · · ·Q· · I'm asking very specifically:· Were you aware that
·3· 24-hour voting was only available at seven polling locations?
·4· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·5· BY THE WITNESS (resuming):
·6· · · ·A· · I think that the news may have said that they have it
·7· available at certain locations.
·8· · · ·Q· · Okay.· And were you aware that 24-hour voting was
·9· only available one night --
10· · · · · · · · ·MR. BLEDSOE:· Objection to form.
11· BY MS. HUNKER (resuming):
12· · · ·Q· · -- on October 29th?
13· · · · · · · · ·MR. BLEDSOE:· Objection to form.
14· BY THE WITNESS (resuming):
15· · · ·A· · I am now.
16· · · ·Q· · Okay.· And let's look at how many polling locations
17· they had during the early-voting schedule.· If we turn the
18· page, we see it goes to 112 locations; is that correct?
19· · · ·A· · Yes.
20· · · ·Q· · And so, out of 112 locations, only seven locations
21· offered 24-hour voting; is that correct?
22· · · ·A· · Well, it says --
23· · · · · · · · ·MR. BLEDSOE:· Objection to form.
24· BY THE WITNESS (resuming):
25· · · ·A· · Well, it says, October 29th, 24-hour voting at seven




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·1· locations.
·2· · · ·Q· · Now, you had mentioned that you thought there was one
·3· other county that offered 24-hour voting.
·4· · · ·A· · They -- I feel like I read about -- I heard of
·5· something like that.
·6· · · ·Q· · And --
·7· · · ·A· · I don't know which one it was, though.
·8· · · ·Q· · Do you recall where in Texas it would have been
·9· located?
10· · · ·A· · I feel like it was in the North Texas area, but
11· apparently it stopped, you know, when the lawsuit -- you showed
12· me the Supreme Court or something.· Oh, no, that was not about
13· that.· That was about something else; right?
14· · · ·Q· · That was about drive-thru voting.
15· · · ·A· · Sorry.· To me, again, they were all the same.· There
16· was a separate suit, though -- right? -- about -- no?
17· · · ·Q· · Not that I am aware of.
18· · · ·A· · Oh.
19· · · ·Q· · That’s not to say it --
20· · · · · · · · ·MR. BLEDSOE:· Objection to form.
21· BY THE WITNESS (resuming):
22· · · ·A· · Oh, okay.· I thought that that was the whole thing
23· with the lawsuit, to be honest.· I -- I didn't know it was
24· something different.
25· · · ·Q· · And where did you hear about this second location?




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·1· · · ·A· · In the news.
·2· · · ·Q· · In the news?· And did anybody testify during the
·3· hearings about the second location?
·4· · · ·A· · No, but I feel like somebody was -- was doing it.
·5· Maybe they were doing -- yeah, I don't know.
·6· · · ·Q· · And the numbers you received at the -- the hearing
·7· that you referenced, did that indicate how many individuals
·8· utilized 24-hour voting?
·9· · · ·A· · I don't recall.
10· · · ·Q· · And did you talk to any voters about whether they
11· would be unable to vote had they not had 24-hour voting?
12· · · ·A· · In Harris County --
13· · · ·Q· · Yeah.
14· · · ·A· · -- no.
15· · · ·Q· · And did you look at any of the logistics that it took
16· Harris County to put on 24-hour voting?
17· · · ·A· · No.
18· · · ·Q· · And did you look at the cost of putting on 24-hour
19· voting?
20· · · · · · · · ·MR. BLEDSOE:· Objection to form.
21· BY THE WITNESS (resuming):
22· · · ·A· · No.· I had no reason to.· I mean -- no.· You mean
23· before they did it?· Like --
24· · · ·Q· · Just the cost that Harris County expended to put
25· together --




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·1· · · ·A· · No, I did not.
·2· · · ·Q· · -- 24-hour voting.
·3· · · ·A· · No.
·4· · · ·Q· · And do you know any of the safeguards that Harris
·5· County implemented with respect to 24-hour voting?
·6· · · ·A· · Do I know of any?
·7· · · ·Q· · Yeah.
·8· · · ·A· · Other than what the secretary of state said, that the
·9· election was secure.
10· · · ·Q· · So you don't know what precautions or safeguards
11· Harris County took.
12· · · ·A· · They were good enough.· I mean, the secretary of
13· state said that they were secure.
14· · · ·Q· · And so would you take smooth and secure as being that
15· there were no controversies during the election?
16· · · ·A· · I didn't say smooth and secure.· I just said secure.
17· · · ·Q· · Secure.· Okay.
18· · · ·A· · But you're right.· I think that the secretary of
19· state's office did say smooth and secure.· I think that was the
20· exact phrase.
21· · · ·Q· · And so did you take that expression to mean that
22· there were no controversies regarding the 2020 election?
23· · · ·A· · There was no -- I took that to mean that the process
24· did not lead to any type of irregularities that warranted an
25· investigation into that whole thing or to call into question




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·1· the election, rather.
·2· · · ·Q· · Okay.· So you took it as there were no irregularities
·3· that would call the result of the election into question.· Is
·4· that fair?
·5· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·6· BY THE WITNESS (resuming):
·7· · · ·A· · Pretty much.· I mean, there wasn't anything because,
·8· literally, we got reassured by the secretary of state's office
·9· that the election -- the general election for 2020 was exactly
10· what you said, smooth and secure.· So, to me, that meant that
11· the outcome was accurate.
12· · · ·Q· · And do you know if every legislature [sic]
13· interpreted that statement the same way?
14· · · ·A· · I don't know how -- I can only tell you what I know.
15· · · ·Q· · And did you follow up at all with the secretary of
16· state's office about what they meant by smooth and secure?
17· · · ·A· · I'm trying to think if we -- I mean, I'm sure that
18· there were statements that were put out, but did I personally
19· call?· No, I did not.
20· · · ·Q· · Or have any communications with the secretary of
21· state's office with respect to that particular saying.
22· · · ·A· · I'm trying to think if the secretary of state had a
23· representative during the conference committee discussions.                I
24· know the attorney general -- they had a representative there,
25· and I -- I just can't remember if there was somebody during the




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·1· discussions for the conference committee, because I'm sure
·2· that's where it would have came up.· So I -- I can't -- I don't
·3· remember.
·4· · · ·Q· · And do you know if Tarrant County considered
·5· implementing 24-hour voting?
·6· · · ·A· · I do not.
·7· · · ·Q· · And to your knowledge, did Tarrant County offer
·8· 24-hour voting during the 2020 election?
·9· · · ·A· · I do not recall them doing that, no.
10· · · ·Q· · Do you recall them offering 24-hour voting in any
11· other election following the November 2020 election?
12· · · ·A· · After the 2020, no, I do not.
13· · · ·Q· · And do you know why Tarrant County chose not to offer
14· 24-hour voting?
15· · · ·A· · No, I do not.
16· · · ·Q· · You can put that aside.
17· · · ·A· · (Complies with request.)
18· · · ·Q· · Were you aware that there was a dispute over the
19· number of in-person mail -- sorry -- in-person ballot-by-mail
20· delivery locations?
21· · · ·A· · No.
22· · · ·Q· · Were you aware that Harris County attempted to
23· offer --
24· · · ·A· · And you're talking about Harris County, though.
25· · · ·Q· · Yes.




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·1· · · ·A· · Okay.· No, I wasn't.
·2· · · ·Q· · Were you aware if Harris County offered multiple
·3· in-person delivery locations?
·4· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·5· BY THE WITNESS (resuming):
·6· · · ·A· · No, I was not.
·7· · · ·Q· · And are you aware of any of the legal disputes
·8· surrounding in person -- multiple in-person delivery locations?
·9· · · · · · · · ·MR. BLEDSOE:· Object to form.
10· BY THE WITNESS (resuming):
11· · · ·A· · What do you mean by delivery locations?· What are you
12· talking about?
13· · · ·Q· · When I'm referring to in-person delivery locations, I
14· am referring to an individual who received a mail-in ballot and
15· instead of sending the ballot back by mail is instead
16· delivering it in person.
17· · · ·A· · To who?
18· · · ·Q· · The county clerk or elections administrator,
19· depending on the county -- the early-voting clerk.
20· · · ·A· · Okay.
21· · · ·Q· · Are you familiar with that process generally?
22· · · ·A· · I think it changed through SB 1.
23· · · ·Q· · Were you familiar with the process prior to SB 1?
24· · · ·A· · I didn't use it, so I didn't -- I probably wasn't as
25· familiar as somebody who had to do it.




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·1· · · ·Q· · And did you look at the cost that a county would have
·2· to expend in order to offer multiple in-person delivery
·3· locations?
·4· · · ·A· · I do not know the cost.
·5· · · ·Q· · And did you look at the safeguards that would be
·6· needed to offer in-person delivery locations?
·7· · · ·A· · Again, when you're talking about safeguards, the
·8· secretary of state said it was safe, so whatever thing that
·9· they implemented was sufficient.
10· · · ·Q· · Okay.· So your thought is any safeguards that were in
11· place were sufficient; is that correct?
12· · · ·A· · Well, based on the representation from the secretary
13· of state's office, that the election was, as you said, smooth
14· and secure.
15· · · ·Q· · Do you have any personal knowledge of whether those
16· safeguards were sufficient?
17· · · ·A· · I don't -- no, I did not look into that, no.
18· · · ·Q· · And do you have any personal knowledge on whether the
19· safeguards were sufficient for drive-thru voting in Harris
20· County?
21· · · ·A· · Only the fact that the -- the person who was in
22· charge of elections in the state of Texas said that the general
23· election for 2020 was smooth and secure.
24· · · ·Q· · So outside of that representation, do you have any
25· personal knowledge on whether the safeguards in Harris County




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·1· provided for in -- for drive-thru voting was sufficient?
·2· · · ·A· · I do not.
·3· · · ·Q· · And do you have personal knowledge of whether the
·4· safeguards that Harris County implemented for 24-hour voting
·5· were -- were sufficient?
·6· · · ·A· · I would -- same answer is that I had the
·7· representation from the head person, the leader of elections in
·8· the state of Texas, the secretary of state's office, who said
·9· that the general election for 2020 was smooth and secure, which
10· leads me to believe that the -- whatever they put in place was
11· sufficient.
12· · · ·Q· · Okay.· And outside of that representation, do you
13· have any personal knowledge of whether the safeguards
14· implemented by Harris County for 24-hour voting were
15· sufficient?
16· · · ·A· · No.
17· · · ·Q· · Okay.· So you had talked a little bit about voter
18· turnout in Harris County in 2020, and so what is your
19· understanding of voter turnout in Harris County in 2020?
20· · · · · · · · ·MR. BLEDSOE:· Objection to form.
21· BY THE WITNESS (resuming):
22· · · ·A· · Can you be more specific?
23· · · ·Q· · Sure.· When you were considering HB 6 and SB 7, you
24· had mentioned that Harris County gave you the information
25· regarding their voter turnout; is that correct?




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·1· delivery locations; is that correct?
·2· · · ·A· · I don't believe -- I don't know that they did.
·3· · · ·Q· · And so Tarrant County did not, at the very least,
·4· engage in drive-thru voting and 24-hour voting and still had a
·5· higher voter turnout than Harris County; correct?
·6· · · ·A· · But they --
·7· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·8· BY THE WITNESS (resuming):
·9· · · ·A· · But they always do.· If you look at the trend,
10· Tarrant County has a higher voter turnout than Harris County.
11· It's a regular trend.
12· · · ·Q· · Okay.
13· · · ·A· · Go back to 20 -- even if you look at 2018, 2018,
14· Harris County had 52 percent, Tarrant County had 57 percent.
15· Again -- that's in 2018, and Tarrant County --
16· · · ·Q· · But let's --
17· · · ·A· · And then if you look at 2016, Tarrant County had 61
18· percent and Harris County had 58 percent, and then 37 percent
19· for 2014 for Tarrant and then 32 percent.· So, I mean, it seems
20· like Tarrant County has a higher voter participation.
21· · · ·Q· · So then let's look at the increase between them,
22· between 2016 and 2020.
23· · · ·A· · For who?
24· · · ·Q· · Both Tarrant County and Harris County.
25· · · ·A· · Okay.· The increase?




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·1· County, though?
·2· · · ·A· · Well, I think they -- Tarrant County, they have a
·3· higher -- traditionally have a higher voter turnout, so it's
·4· more likely that their voters are going to come out.
·5· · · ·Q· · And so you don't think that the presidential election
·6· and candidates would have had an effect on Harris County
·7· turnout?
·8· · · ·A· · I live in -- I -- I focus on Tarrant, so I don't know
·9· what was going on.
10· · · ·Q· · So you don't know the motivations for the voters of
11· why there was an increase in Harris County; is that correct?
12· · · ·A· · So what -- the difference between what happened in
13· Harris County in 2018 and 2020 is that they had additional ways
14· to vote.
15· · · ·Q· · And so you thought that there was an increase in
16· voter turnout.· Would you agree there was an increase in voter
17· turnout in Tarrant County?
18· · · ·A· · Yes, there was an increase from the previous general
19· election.
20· · · ·Q· · And you've identified multiple factors that led to
21· that increase; correct?
22· · · ·A· · Well, it was mostly registering new voters, yeah, and
23· I mean it could be just anything.
24· · · ·Q· · Uh-huh.· And so couldn't those factors also play a
25· role in Harris County --




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·1· · · · · · · · ·MR. BLEDSOE:· Object to the form.
·2· BY MS. HUNKER (resuming):
·3· · · ·Q· · -- registration increasing?
·4· · · ·A· · I guess anything's possible, but I think that the
·5· more reasonable reason is because they had more ways to vote.
·6· · · ·Q· · And did you look at any of the surrounding counties
·7· in -- near Harris County on their voter increase -- on their
·8· voter -- I'm sorry.· Let me -- let me rephrase the question.
·9· Have you looked at any of the adjacent counties to
10· Harris County on their percent turnout?
11· · · ·A· · Can you tell me the adjacent counties to
12· Harris County?
13· · · ·Q· · So Fort Bend County would be an example.
14· · · ·A· · No, I did not look at Fort Bend County.
15· · · ·Q· · Galveston County?
16· · · ·A· · No, I have not looked at Galveston County.
17· · · ·Q· · Montgomery County?
18· · · ·A· · No, I've not looked at Montgomery County.
19· · · ·Q· · Have you looked at the voter registration turnout for
20· -- sorry -- let me rephrase that.· Have you looked at the voter
21· turnout percentage rates in other minority-majority counties?
22· · · ·A· · What are they?· I don't know.· What are the other
23· minority -- what'd you say?· Majority --
24· · · ·Q· · Minority-majority counties.
25· · · ·A· · What is that?· Tell me what you mean by that.




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·1· · · ·Q· · That more voters than not are -- identify as a
·2· minority.
·3· · · ·A· · More voters identify -- I don't -- how many of those
·4· are there in Texas?· How many counties have majority-minority
·5· votes?
·6· · · ·Q· · I couldn't tell you the exact number but a
·7· significant number.
·8· · · ·A· · That have minority --
·9· · · ·Q· · -- majority counties.· So have you looked at any
10· other counties that are minority majority to see their increase
11· -- sorry -- their voter turnout generally?
12· · · ·A· · I'm trying to think if I looked at Dallas.· I don't
13· know.· I can't remember.
14· · · ·Q· · Have you looked at any other county turnout other
15· than Harris County and Tarrant County?
16· · · ·A· · Based -- I mean, just from the data that we got
17· during the proceeding -- we got data from the proceeding of the
18· HB 6 --
19· · · ·Q· · Yeah, but --
20· · · ·A· · -- and SB 7.
21· · · ·Q· · -- even outside of that, have you yourself looked at
22· voter -- voting turnout in 2020 in any other minority-majority
23· county?
24· · · ·A· · Maybe in the redistricting process.· I mean, that's
25· important to consider when you're looking at the redistricting.




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·1· Probably.
·2· · · ·Q· · And what about now in the consideration of HB 6 and
·3· SB 7?· Did you look at the voter turnout rates of other
·4· counties besides Tarrant or Harris?
·5· · · ·A· · I feel like there was some stuff that was provided.
·6· I just don't know, like, off the top of my head.· I feel like
·7· we got data.· Even the secretary of state -- I feel like the
·8· secretary of state [sic] office came and brought data.
·9· · · ·Q· · But you didn't compare other counties' voter turnout
10· to Harris County, did you?
11· · · ·A· · I'm sure we looked at it.· I mean, literally, it was
12· a -- it was an exhibit.· I feel like they had exhibits that
13· they brought us that were provided to -- to members.
14· · · ·Q· · But you can't recall whether you compared --
15· · · ·A· · I mean, if it was on there, I looked at it.· I don't
16· think I, like, said -- I don't know if you're asking, like, a
17· statistical data, like, interpretation.
18· · · ·Q· · So what I'm trying to get at is:· Did you look at the
19· increase in voter turnout from other counties and compare that
20· to Harris County?
21· · · ·A· · Comparing it to Harris County?· But I do remember --
22· because remember -- remember I said I read that they said
23· Harris County had the highest voter turnout since 2017.
24· · · ·Q· · Uh-huh.· Did you look to see whether other counties
25· also had the highest turnout since 2017?




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·1· have the exhibit in front of you?
·2· · · ·A· · Yes, Exhibit 13.
·3· · · ·Q· · Now, you're familiar with Texas Legislative Online.
·4· · · ·A· · Yes.
·5· · · ·Q· · And can -- and that website includes legislative
·6· history about the different bills being proposed by the Texas
·7· legislature; is that correct?
·8· · · ·A· · Like, if you go to the bill, then you can click on
·9· the bill and it'll tell you about the bill.
10· · · ·Q· · Yes?
11· · · ·A· · Yes.
12· · · ·Q· · And so if you look here, this says Bill SB 7,
13· Legislative Session, 87-R; is that correct?
14· · · ·A· · Yes, that's what it says.
15· · · ·Q· · And it says the author, Hughes.
16· · · ·A· · Yes.
17· · · ·Q· · Okay.· And senator -- and Hughes is a senator;
18· correct?
19· · · ·A· · Yes, Brian Hughes.
20· · · ·Q· · Okay.· And then this talks about the number of
21· amendments; is that correct?
22· · · ·A· · Yes.
23· · · ·Q· · And this lists the amendments that were considered
24· for Senate Bill 7; is that correct?
25· · · ·A· · I guess it combines the House and the Senate.                   I




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·1· wasn't in the Senate side, so there's one that says S-2, so I'm
·2· assuming that those are amendments that were done in the
·3· Senate, which I was not there.
·4· · · ·Q· · So if you look on the bottom of the page, you'll see
·5· where it says H-2.
·6· · · ·A· · Yes.
·7· · · ·Q· · Okay.· And so would you agree with me this is a list
·8· of amendments, both the Senate and House, for Senate Bill 7?
·9· · · ·A· · I'm trying to -- what does the H-2 mean?· Hang on.
10· It says number of -- reading, second reading -- or House second
11· reading, I guess, is what that means.· Yes, I -- I would -- I
12· don't know.· I guess so.· I mean...
13· · · ·Q· · Okay.· Did you propose an amendment to SB 7?
14· · · ·A· · I feel like I had an amendment.· Sometimes you don't
15· file them right away, you hold on to them, because if somebody
16· has another amendment, you don't file it or there's a strategy.
17· So I feel like I had some amendments, but I don't see mine on
18· here.
19· · · ·Q· · So to your recollection, you had amendments but you
20· did not file those amendments.
21· · · ·A· · I feel like I had some, yes, but I don't see any on
22· this list.
23· · · ·Q· · And so you did not file any amendments for SB 7; is
24· that correct?
25· · · ·A· · If this -- yeah, if this is for everything that was




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·1· into the machine, there's a chance that the poll watcher could
·2· see it.
·3· · · ·Q· · And have you visited a polling site in Tarrant County
·4· since SB 1 was enacted?
·5· · · ·A· · I -- I voted, yes.
·6· · · ·Q· · Outside of voting, did you visit polling sites?
·7· · · ·A· · Outside of voting?· I mean, I wouldn't go inside of
·8· them, but I -- I did stand outside to advocate for my election.
·9· · · ·Q· · And -- and did you see where poll watchers were
10· stationed at the polling place that you attended?
11· · · ·A· · Did I see where they were stationed?· You know, I --
12· my -- because I -- there was an election in March and I feel
13· like I voted at a smaller location, and then the one that I
14· voted in the general was a larger location, so I did see poll
15· watchers at both of them.
16· · · ·Q· · Okay.· And in those cases, were they standing close
17· enough to where they could see a voter put in -- the ballot
18· into the machine?
19· · · ·A· · I would say yes for the first one.· It's on
20· Miller Avenue.· It's at the sub courthouse.· It's -- the room
21· is so small.· I mean, literally, it might cut off -- it's
22· small.· I would say that they could.
23· · · ·Q· · And was the poll watcher just sitting down?
24· · · ·A· · This is what was kind of -- so they had -- like, the
25· way it was set up, they had a bunch of poll -- what are those




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·1· things called? -- the machines set up and they were all
·2· together literally.· I mean, I can't help but to look at your
·3· paper if I'm this close to you.
·4· · · ·Q· · Did you vote at that site prior to SB 1?
·5· · · ·A· · Yes, I think I have been inside of that site before.
·6· · · ·Q· · And was there a poll watcher when you were voting in
·7· those cases?
·8· · · ·A· · Probably.
·9· · · ·Q· · Do you know if they were sitting in a similar --
10· · · ·A· · Yes.· That's what I'm -- I'm used to seeing them sit
11· down in a corner, because I used to be an election judge, and
12· back in the day that's what we did.· You had to sit in the
13· corner and then you can observe the activities, but you weren't
14· allowed to, like, get up and walk around.
15· · · ·Q· · And so the poll watcher at the site when you voted
16· after SB 1 was implemented --
17· · · ·A· · Oh, yes, that's what I was going to tell you.· So you
18· see how you're sit -- you're sitting like right here for me?                 I
19· felt like the poll watcher was right here and then the voting
20· was going on right there, and the -- this place is so small
21· that we're crammed in there at that particular site.
22· · · ·Q· · The poll watcher was sitting at the same location as
23· they were sitting prior to SB 1; is that correct?
24· · · ·A· · No.· Because prior to SB 1, they had them by the door
25· on the opposite side of where the -- where the machines were.




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·1· So this time they were inside where the machines are; before,
·2· they were on the outside of the machines, and I felt like they
·3· were sitting down, now that I think about it.· Because when you
·4· come into this one -- this is -- and this is why it's such a
·5· small space -- you've got to go see this one.· I mean,
·6· literally, they cram in like eight machines into this very
·7· small space, and I -- I felt like -- I know because it -- I
·8· know the person.· They're sitting right there when you walk in,
·9· and you're like, Hey, you know -- you know them.· You're like,
10· Hey, and they're sitting right there.
11· · · ·Q· · And do you know -- and you don't know why the poll
12· watcher changed spots where he was sitting; is that correct?
13· · · ·A· · They weren't the same type of poll -- they weren't
14· the same poll watchers this last time.
15· · · ·Q· · The location where the poll watchers were sitting, do
16· you know why that location had changed?
17· · · ·A· · No.· Like, what do you mean the location?
18· · · ·Q· · So you had said where they were sitting was
19· different --
20· · · ·A· · It was different people.· Like, it -- it -- the poll
21· watchers, you know, they're not allowed to talk to you, but a
22· lot of the times you know the person, who it is.· This time it
23· was not even somebody that was from that community.· I didn't
24· -- I don't remember seeing that person, like, who it was.
25· · · ·Q· · So I think I may be not being clear.· You had




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·1· mentioned that when you recently voted at this polling site,
·2· the poll watcher was sitting in one place and then you had said
·3· the other time, you were --
·4· · · ·A· · Before SB 1.
·5· · · ·Q· · -- before SB 1, the poll watcher was sitting at a
·6· different location.
·7· · · ·A· · But they were different poll watcher -- okay.· So,
·8· then, the --
·9· · · ·Q· · My question --
10· · · ·A· · The poll watcher was black -- a black person in this
11· predominantly black neighborhood, was sitting at the door, and
12· then this time we see a Caucasian poll watcher sitting in the
13· inside.
14· · · ·Q· · And you didn't speak to this poll watcher; correct?
15· · · ·A· · No.
16· · · ·Q· · So you don't know whether that poll watcher is a
17· resident of the community; is that correct?
18· · · ·A· · No, I don't.
19· · · ·Q· · Did you assume that the poll watcher was not a member
20· of the community based on that person's skin color?
21· · · ·A· · I made no assumptions of who they were.· I just know
22· that I had not seen a -- a Caucasian poll watcher in that area
23· the last time I voted there.
24· · · ·Q· · My question, again, is a little different.· I am
25· asking:· You don't know the reason why the poll watcher was




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·1· sitting in a difference spot than the poll watcher in the
·2· previous election.
·3· · · ·A· · Well, I would take it that SB 1 allowed them to sit
·4· wherever they wanted because of the election activity.
·5· · · ·Q· · Do you have any personal knowledge of why that -- if
·6· that actually was the result -- reason for the change?
·7· · · ·A· · I don't know, no.
·8· · · ·Q· · And so let's look at Page 81, HJ-007821.· And so
·9· let's look at Line 19 where it says Representative Collier.
10· · · ·A· · Uh-huh, yes.
11· · · ·Q· · (Reading.)· Sure.· So will this bill permit a
12· presiding judge to remove a watcher who causes physical harm to
13· a voter?· Chairman Cain reads [sic]:· I guess, since that would
14· be a violation of the code.· Otherwise, they really should call
15· the police so that person could be arrested.· Did I read that
16· correctly?
17· · · ·A· · That's what it says.
18· · · ·Q· · And then you responded:· Well, I mean, would the
19· presiding judge be able to have that poll watcher removed?
20· Chairman Cain responds:· Yeah.· They're 100 percent able to
21· call the police and have these people removed, and I'm sure
22· they can ask them to step outside, yes.· Did I read that
23· correctly?
24· · · ·A· · That's what it says.
25· · · ·Q· · Okay.




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·1· · · ·A· · Okay.
·2· · · ·Q· · -- So does this bill prohibit poll watchers from
·3· videotaping voters inside the polling places?· Chairman Cain
·4· says:· It does not, but current law does.· And you respond:
·5· I'm sorry?· Representative Cain [sic] says:· Current law does,
·6· so it's already illegal under current law.· And you ask:· Okay.
·7· So this bill would not change that?· Chairman Cain says:
·8· That's correct.· Did I read that correctly?
·9· · · ·A· · That's what it says, yes.
10· · · ·Q· · Okay.· Were you concerned about poll watchers being
11· able to record at the polling sites?
12· · · ·A· · I was concerned about a lot of things.· I wanted to
13· get clarity because whenever -- you know, as a legislator,
14· we're writing the law, we're changing the law, and so even if
15· the law says one thing now, we can change it, and so that's
16· what I was concerned about.· So as a legislator, I am just
17· trying to get an understanding because there was so many
18· differences of this bill, reiterations and errors -- you know,
19· remember the quotation mark? -- and so I just wanted to make
20· sure that if there was something that was in there that they
21· didn't intend to that we address it and get it removed at this
22· time.· Also, there were things in there that they claimed they
23· didn't have the intention of doing and it wasn't removed or
24· things that were not in there that they meant to put in there,
25· so I think it's important.· And that's what this floor process




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·1· · · ·A· · What I just said, what it reads right there.
·2· · · ·Q· · Okay.· And when was Operation Eagle Eye?
·3· · · ·A· · It says -- I don't know if I put that in there.
·4· Maybe in the '80s or '90s.· I don't know.· I mean, they still
·5· do it today.· They still have people that come out -- I know
·6· they still have concerns.· I think that there was an
·7· organization that reported some irregularities with poll
·8· watchers from that previous election, that people were
·9· concerned about -- that if you give them more freedom, then
10· there could be an increase -- increased intimidation of -- of
11· potential voters.
12· · · ·Q· · And so when you're talking about Operation Eagle Eye,
13· that was in reference to a program or something that occurred
14· in the '80s or '90s, you said?
15· · · ·A· · I don't remember the exact date, but I recall that it
16· still -- the concept still happens, and it was -- it was
17· actually, like, sanctioned.· Like, it was reported by the
18· Republican National Committee.
19· · · ·Q· · So let me specifically ask:· When you say Operation
20· Eagle Eye, you're not referencing any specific operation that
21· occurred in 2020; is that correct?
22· · · ·A· · I don't know if it was called Operation Eagle Eye,
23· but I -- I know that there were efforts to increase, you know,
24· watchers -- in 2020?· You're talking about 2020?
25· · · ·Q· · Yes, 2020.




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·1· · · ·A· · I'm sorry.· This is before this happened.· I don't
·2· know if it was called Operation Eagle Eye, but I would -- I
·3· would defer to the advocates.· They know -- they have a better
·4· understanding and data on that, but at the time that I asked
·5· this question, there was recent reports of this same type of
·6· behavior, but I just don't know the name of the -- but there
·7· were advocates that did that.
·8· · · ·Q· · Okay.
·9· · · ·A· · I don't know if it was called Operation Eagle Eye,
10· but it was similar to that tactic.
11· · · ·Q· · And which advocates are you referring to?
12· · · ·A· · There was one in particular -- I know the NAACP, they
13· do a lot of research on -- in -- in voter protection.· What was
14· the name of that group?· I don't know.· Maybe I'll get to it in
15· here.· Maybe we'll keep reading.
16· · · ·Q· · Are you aware of any specific incident in Texas over
17· the last five years where a poll watcher was acting --
18· intimidated or threatened voters?
19· · · ·A· · Yes.· I know that there's reports of it, and it was
20· recent, and that's why I brought this up.
21· · · ·Q· · And where were those instances?· Where did they --
22· where would they -- where were they?
23· · · ·A· · I don't know if it was in Harris County or Waller
24· County.· I -- I just don't remember exactly where, but they
25· were in Texas.




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·1· · · ·Q· · Okay.
·2· · · ·A· · It wasn't outside of Texas.· They were in Texas.
·3· · · ·Q· · And do you have any personal knowledge about these
·4· incidences?
·5· · · ·A· · Other than what I was -- what -- the information that
·6· advocates shared with me and what I read in the newspapers?
·7· · · ·Q· · Yes.
·8· · · ·A· · That's it.
·9· · · ·Q· · Okay.· So the information you have regarding alleged
10· instances of voter intimidation/harassment by poll watchers
11· came from either newspapers or advocates?
12· · · ·A· · From journalists, yes, who were supposed to
13· investigate these things, yeah.
14· · · ·Q· · And you had mentioned that there is still efforts at
15· organizing poll watchers.· Did I -- am I recalling your
16· testimony correctly?
17· · · ·A· · I don't think I said -- what do you mean organizing
18· poll watchers?
19· · · ·Q· · Oh, you had mentioned something about how efforts at
20· securing -- of having poll watchers go to sites.
21· · · ·A· · I don't remember saying it like that.
22· · · ·Q· · Okay.· Are you aware of any efforts to organize poll
23· watchers?
24· · · ·A· · Organize?· Like, how do you mean organize?
25· · · ·Q· · So you had raised Operation Eagle Eye and you had




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·1· mentioned that this continues to this day.
·2· · · ·A· · Yes.
·3· · · ·Q· · And so that's what I'm trying to get at.· Are you --
·4· · · ·A· · The tactic of intimidation.
·5· · · ·Q· · Yes.· Are you aware of any specific attempts at
·6· organizing such an operation like --
·7· · · ·A· · I thought that's --
·8· · · ·Q· · -- Operation Eagle Eye even if it's not called that?
·9· · · ·A· · I thought that's what we just had the discussion
10· about.· That's what I was -- the whole discussion we just had
11· was what --
12· · · ·Q· · So that was specific incidents.· I'm now asking if
13· you're aware of any efforts to organize that type of activity.
14· · · ·A· · I don't think they would include me in those
15· discussions, so, no, I'm not.
16· · · ·Q· · Okay.· When you were talking with advocates or
17· reading newspapers, did any of those sources of information
18· indicate that there was some sort of organized effort at, you
19· know, channeling poll watchers to intimidate or harass voters
20· in Texas?
21· · · ·A· · There was an organized effort?
22· · · ·Q· · Yes.
23· · · ·A· · I -- I don't recall.
24· · · ·Q· · Okay.· Let's look at Page 101.
25· · · ·A· · (Complies with request.)· Okay.




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·1· · · ·Q· · Okay.
·2· · · ·A· · But I don't know what this is in reference to.
·3· · · ·Q· · Is it your understanding that the attorney general's
·4· office did not provide evidence of voter fraud during the --
·5· during the committee?
·6· · · · · · · · ·MR. BLEDSOE:· Objection to form,
·7· mischaracterizes statement.
·8· BY THE WITNESS (resuming):
·9· · · ·A· · Did they provide you with evidence of widespread
10· voter fraud in Texas --
11· · · ·Q· · Uh-huh.
12· · · ·A· · -- and the answer provided by Representative Gonzalez
13· was no.
14· · · ·Q· · Okay.· And then you ask:· Did they provide you with
15· evidence of issues with fraud and limited integrity?· Did I
16· read that correctly?
17· · · ·A· · That's what that says.
18· · · ·Q· · Okay.· Representative Gonzales --
19· · · ·A· · Well, finish the question.
20· · · ·Q· · Okay.· (Reading.)· Like, did they show you where --
21· or did they provide information about where the purity of the
22· ballot box is in question?· Did I read that correctly?
23· · · ·A· · Yes, and that purity in the ballot box is in
24· reference to the Page 1 on your document -- or page -- where
25· Cain -- Chairman Cain talked about that on Page 3 --




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·1· · · ·Q· · Yes.
·2· · · ·A· · -- preserve the purity of the --
·3· · · ·Q· · My question's --
·4· · · ·A· · -- the ballot box.
·5· · · ·Q· · -- pretty specific:· Did I read that correctly?
·6· · · ·A· · Yes.
·7· · · ·Q· · And then you ask:· Did they provide you with any
·8· information about those that they are currently investigating?
·9· That starts on Line 23.
10· · · ·A· · Yes, I see that.
11· · · ·Q· · And she responded:· They did.· They were -- well,
12· they personally didn't at first when we requested it at our
13· organizational meeting.· They had just given us a blanket
14· number.· I believe it was like 500 and something, seemingly
15· making it look like they were investigating 500 individual
16· cases, but in reality it was offenses, and that the reason that
17· that number had spiked so much was because it was -- there were
18· individual people that were getting charged with all of these
19· offenses; right?· Some that were overlapping like conspiracy
20· and things of that nature, and so it was very misleading to the
21· members on the committee because it made it sound like they
22· were investigating that many people, when, in reality, if I'm
23· recalling correctly, those -- all of those offenses broke up
24· into about five or six people.· Did I read that correctly?
25· · · ·A· · Pretty much, yes.




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·1· · · ·Q· · Were you at the committee hearing where the attorney
·2· general's office was providing this information to the
·3· committee?
·4· · · ·A· · I think so.
·5· · · ·Q· · And is that your recollection?
·6· · · ·A· · I did see a document where they had a lot of
·7· offenses, and based on -- once you start reviewing it and
·8· breaking it down, they were, like, a limited number of people.
·9· So it wasn't like it was 500 people.· It was a limited number.
10· And I -- I believe it was like five or six or seven or -- it --
11· it wasn't like it was 500 people that they were investigating;
12· it was 500 offenses with one person being charged with multiple
13· offenses.
14· · · ·Q· · And do you know how many votes those individual
15· offenses affected?
16· · · ·A· · How many votes?
17· · · ·Q· · Yes.
18· · · ·A· · I don't know.· Were they all -- I mean, this is just
19· investigating.· They -- they didn't -- they weren't done.
20· · · ·Q· · Okay.· And so you don't know how many votes would
21· have been affected by the individuals that the attorney
22· generals were investigating.
23· · · ·A· · It was an investigation, so -- I mean, it wasn't
24· complete.
25· · · ·Q· · But you didn't get any understanding of how many




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·1· votes were affected by the conversation the attorney general's
·2· office representative had during this meeting with committee --
·3· · · · · · · · ·MR. BLEDSOE:· Object to the form.
·4· BY MS. HUNKER (resuming):
·5· · · ·Q· · -- members; is that correct?
·6· · · ·A· · I don't think the attorney general's office discussed
·7· this publicly, an active investigation.· And that attorney
·8· (ph), you know, they're not going to tell us that.
·9· · · ·Q· · And let's look at Page 106.
10· · · ·A· · Okay.
11· · · ·Q· · Okay.· You say on Line 4:· And do poll watchers take
12· an oath now to be a poll watcher?· Representative Gonzalez
13· says:· No.· Did I read that correctly?
14· · · ·A· · Yes, you did.
15· · · ·Q· · Okay.· And you then say:· Okay.· Are poll watchers
16· trained?· And you respond -- and -- sorry -- Representative
17· Gonzalez responds:· No.· Is that correct?
18· · · ·A· · That's what it says, yes.
19· · · ·Q· · And then you say:· They're not trained, but the
20· presiding judge is trained.· Representative Gonzalez responds:
21· I believe so, yes.
22· · · ·A· · That's what she said --
23· · · ·Q· · Did I read that --
24· · · ·A· · -- yes.
25· · · ·Q· · Okay.· Did you at all advocate for poll watchers




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·1· being required to take an oath during the discussion of HB 6 or
·2· SB 7?
·3· · · ·A· · I don't know if I -- I advocated for an oath, but
·4· training definitely, and then also for reciprocal penalties.                 I
·5· mean, if they can -- if they can make false claims, then why
·6· can't the person that they made false claims against?· So we
·7· were trying to get some reciprocity.· It didn't make it into
·8· the bill.
·9· · · ·Q· · Okay.
10· · · ·A· · But I believe the oath -- I think that the oath -- it
11· seemed like that's something they offered up later on, in -- in
12· terms of the person who did the bill or the -- during the
13· process.
14· · · ·Q· · So you did not advocate for poll watchers to have to
15· take an oath, but you did advocate for poll watchers to have
16· training; is that correct?
17· · · ·A· · Well --
18· · · · · · · · ·MR. BLEDSOE:· Object to form.
19· BY THE WITNESS (resuming):
20· · · ·A· · -- I wasn't the only one involved, so somebody else
21· on the Democratic side could have been advocating for it.· But
22· I don't remember.· I can't -- I may have.· I don't remember.                 I
23· mean, there was a lot of stuff that I was advocating for,
24· again, with the criminal penalties, reducing the criminal
25· penalties against -- because they were doing enhanced penalties




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·1· · · ·Q· · Okay.
·2· · · ·A· · They had trouble for the primary and the general
·3· after SB 1 was implemented.
·4· · · ·Q· · Okay.· And what evidence do you have that it was
·5· because of SB 1 that caused --
·6· · · ·A· · Well, we didn't have these increased criminal
·7· penalties and we didn't have freedom to move around.
·8· · · ·Q· · So is it simply the correlation of the changes in law
·9· with the decrease?
10· · · ·A· · I don't know.· I -- you know what?· I feel like even
11· the party chair, Allison Campolo, made a reference to the --
12· the difficulty.· I don't remember exactly the wording of it,
13· but it led me to believe that it was because of all of these
14· additional new provisions that people didn't have time to come
15· -- become comfortable with.
16· · · ·Q· · But you didn't talk to any volunteer --
17· · · ·A· · Oh, yes.· So when I go to the neighborhood meetings,
18· I talk to seniors in -- in the neighborhood, you know,
19· associations, and they -- I had one lady tell me she wasn't
20· going to volunteer anymore.· She said, Y'all ain't gon' get me.
21· · · ·Q· · Are you aware of Tarrant County having to close any
22· polling locations in response to the changes?
23· · · ·A· · I don't know exactly the number, but I do remember
24· Allison Campolo, who is the Democratic Party chair, mentioning
25· that it was going to be difficult to staff every location, and




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·1· it was down to the wire.
·2· · · ·Q· · And so you're not aware of Tarrant County having to
·3· close any polling locations in response to these poll watcher
·4· provisions following SB 1.
·5· · · ·A· · Not off the top of my head.
·6· · · ·Q· · And so did you look at any studies that tracked the
·7· number of individuals who were willing to volunteer post-SB 1
·8· compared to pre-SB 1?
·9· · · ·A· · I don't know if there's been any studies.
10· · · ·Q· · So you haven't looked at any studies.· Is that fair
11· to say?
12· · · ·A· · Are there studies?
13· · · ·Q· · Well, have you looked at any?
14· · · ·A· · I don't know if there's any studies to look at.
15· · · ·Q· · And have you looked at any other counties besides
16· Tarrant County on whether there was any decrease in the number
17· of volunteers at polling locations during election post-SB 1?
18· · · ·A· · No.
19· · · ·Q· · Let's quickly turn to Page 109.
20· · · ·A· · Okay.
21· · · ·Q· · Line 10, please.
22· · · ·A· · All right.
23· · · ·Q· · And it says, Representative Collier:· So do you
24· believe that this bill if passed would have the impact of
25· increasing arrests for individuals?· Representative Gonzalez:




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·1· Absolutely.
·2· · · ·A· · So I asked the question, Representative Collier, and
·3· then Representative Gonzalez responded.· Yes, that's what it
·4· says.
·5· · · ·Q· · Okay.· Are you aware if there was any increase in the
·6· number of arrests following the passage of SB 1?
·7· · · ·A· · Am I aware?
·8· · · ·Q· · Yes.
·9· · · ·A· · I haven't looked for any.
10· · · ·Q· · So you haven't looked to see whether or not the
11· changes passed in SB 1 regarding poll watchers increased the
12· number of arrests.· Is that fair to say?
13· · · ·A· · I -- I don't know if there -- if there is evidence of
14· that.
15· · · ·Q· · And we can put this document aside.
16· · · ·A· · Okay.
17· · · ·Q· · So I'm going to introduce our next exhibit.· And so
18· this, you see on top, says House Journal, 87th Legislature,
19· Regular Session; is that correct?
20· · · ·A· · House Journal, 87th -- yes.
21· · · ·Q· · And then it says, Wednesday, May 19th, 2021.
22· · · ·A· · 51st day, Wednesday, May 19th, 2021.· Yes.
23· · · ·Q· · Okay.· And if we turn the page over to where it says
24· SB 7 --
25· · · ·A· · (Complies with request.)




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·1· version.· And at that setting, it was like 10 at night, they
·2· called us back in, but Turner was there -- meaning Chris Turner
·3· -- Bucy was there, I feel like -- well, no, Bucy may not have
·4· been at that one but Moody was there and I was there, Jetton
·5· was there, somebody from the OAG's office was there, Jay Dyer
·6· was there.· I'm trying to think.· Who else was there?· Cain.
·7· And I remember there was something in the bill that Cain wanted
·8· and it didn't make it in and he was very upset.
·9· · · ·Q· · Okay.· I want to move now on to Senate Bill 1.
10· · · ·A· · Senate Bill 1, which one is that one?
11· · · ·Q· · That's the one that was enacted, and it should be 16.
12· · · ·A· · Okay.· And I was not there.
13· · · ·Q· · Yes.
14· · · ·A· · My mother died and I was not -- during that session,
15· I was not there.
16· · · ·Q· · Because that's actually what I was going to clarify,
17· because you had mentioned a few times that you were not
18· participating in Senate Bill 1 during the special session, and
19· I'm very sorry to hear about your mother's loss.· I know from
20· personal experience that losing a parent is grievous and
21· demoralizing.· But I wanted to ask you:· Were you involved at
22· any point at the -- were you absent the entire second special
23· session?
24· · · ·A· · Yes.
25· · · ·Q· · Okay.· And so you did not participate in any of the




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·1· -- or attend any of the committee hearings; is that correct?
·2· · · ·A· · That is correct.
·3· · · ·Q· · Okay.· And you didn't attend any of the floor
·4· meetings; is that correct?
·5· · · ·A· · That is correct.
·6· · · ·Q· · And so you're not aware of -- let me -- let me take
·7· that back.· Did you offer any amendments to Senate Bill 1 or
·8· proposals to Senate Bill 1 even though you were not during --
·9· there during the special session?
10· · · ·A· · No, I did not.
11· · · ·Q· · And did you communicate any post amendments or
12· proposals to other Texas Democrat Caucus members?
13· · · ·A· · No, because I was literally the only one handling my
14· mother's arrangements, so no.
15· · · ·Q· · And did you look at any of the testimony that came
16· from Senate Bill 1 after the fact?
17· · · ·A· · No.
18· · · ·Q· · And did you read any of the floor debate at any time
19· after Senate Bill 1 was enacted?
20· · · ·A· · No.
21· · · ·Q· · Okay.· And so you didn't look at any of the data that
22· was presented to the legislature for Senate Bill 1 in the
23· second special session; is that correct?
24· · · ·A· · I did -- no, I did not, yeah, that's correct.
25· · · ·Q· · And did you look at the procedure that was followed




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·1· during the passage of Senate Bill 1?
·2· · · ·A· · No.
·3· · · ·Q· · And do you know the -- did you speak to any of your
·4· colleagues about Senate Bill 1 while it was being considered?
·5· · · ·A· · I don't think so.· What date was it being considered?
·6· I don't remember.
·7· · · ·Q· · It would have been during the second special session.
·8· · · ·A· · I don't think so.
·9· · · ·Q· · And you don't know the intent of any of the
10· individuals who voted in favor of Senate Bill 1; is that
11· correct?
12· · · · · · · · ·MR. BLEDSOE:· Objection to form.
13· BY THE WITNESS (resuming):
14· · · ·A· · I do not, no.· I don't even know who voted for it or
15· against it.
16· · · · · · · · ·MS. HUNKER:· Representative Collier, we've going
17· -- been going about an hour and 15 minutes.· Did you want to
18· take a break or did you want to continue?
19· · · · · · · · ·THE WITNESS:· I'm fine.
20· · · · · · · · ·MS. HUNKER:· Okay.· We'll continue.
21· · · · · · · · ·COURT REPORTER:· I would like to take a break.
22· · · · · · · · ·THE WITNESS:· Okay.
23· · · · · · · · ·COURT REPORTER:· I need to change this also.
24· · · · · · · · ·THE WITNESS:· Do you have to say we'll go off?
25· · · · · · · · ·VIDEOGRAPHER:· Going off the record at 6:02 p.m.




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·1· · · · · · · · ·(A recess is taken.)
·2· · · · · · · · ·VIDEOGRAPHER:· We are back on the record at
·3· 6:22 p.m.
·4· BY MS. HUNKER (resuming):
·5· · · ·Q· · Representative Collier, so after the conference
·6· committee for Senate Bill 7 came back, that bill never passed
·7· the House; correct, the conference committee version?
·8· · · ·A· · The conference committee version never passed the
·9· House, that's correct.
10· · · ·Q· · Okay.· And I believe that Texas Democrats broke
11· quorum in part to ensure that that particular bill would not go
12· through; is that correct?
13· · · · · · · · ·MR. BLEDSOE:· Objection to form,
14· mischaracterizes the testimony.
15· BY MS. HUNKER (resuming):
16· · · ·Q· · Let me rephrase the question:· Did the Texas
17· Democrats break quorum during the regular 87th Legislature?
18· · · ·A· · There were some, not all of the Democrats.
19· · · ·Q· · Some Democrats.
20· · · ·A· · Well, the majority of them, but not all of the
21· Democrats.
22· · · ·Q· · Okay.· A majority of Democrats broke quorum at the
23· end of the 87th Regular Session; is that correct?
24· · · ·A· · They used a procedural rule that's in the House rules
25· that requires a certain number of members to be on the floor to




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·1· conduct business, and that's what they -- the Democrats,
·2· including myself as part of that --
·3· · · ·Q· · Okay.
·4· · · ·A· · -- used to stall the implementation of the provisions
·5· of SB 7.
·6· · · ·Q· · And you said you were a part of that quorum break.
·7· · · ·A· · I did leave the legislature, the House, by the way,
·8· the floor.
·9· · · ·Q· · And so the Governor convened a special session
10· following the close of regular session; is that correct?
11· · · ·A· · There was --
12· · · ·Q· · Was there a special session?
13· · · ·A· · There was a special session.
14· · · ·Q· · Okay.· And a large portion of Democrats broke quorum
15· for the first special session; is that correct?
16· · · ·A· · Yes, they did a quorum break.
17· · · ·Q· · And you were a part of that quorum break.
18· · · ·A· · I was.
19· · · ·Q· · And during that quorum break, Democrats went to
20· Washington DC; is that correct?
21· · · ·A· · A certain number of the House Democrats did.
22· · · ·Q· · And were you among them?
23· · · ·A· · Yes.
24· · · ·Q· · And the Democrats returned -- do you know when the
25· Democrats returned or when quorum, I should say, was




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·1· reconvened?
·2· · · ·A· · I don't.· I think that it was when Chair Coleman and
·3· -- you mean for the second special session?
·4· · · ·Q· · Yes.
·5· · · ·A· · Or the first special -- I'm sorry.
·6· · · ·Q· · Well, do you remember -- when did you come back to
·7· Texas?
·8· · · ·A· · I came back -- oh, to Texas?
·9· · · ·Q· · Or when did you decide to report?
10· · · ·A· · For the third.· After I did my mom's funeral, I came
11· back to the session.
12· · · ·Q· · Okay.
13· · · ·A· · The third special session.
14· · · ·Q· · And do you know when quorum was reached?
15· · · ·A· · You mean for the first special session?
16· · · ·Q· · Or second or for the first.
17· · · ·A· · Oh, okay.· So, no, the first -- you're right.· The
18· first special session ran out.
19· · · ·Q· · Right.
20· · · ·A· · Yes.· It's a 30-day time period and it ran out.                  I
21· don't remember -- I do remember that it was -- when a -- a few
22· Democrats did return, I think it was three.
23· · · ·Q· · And were you part of the discussions between
24· Democrats and Republicans to get the Democrats to come back to
25· Texas and meet quorum?




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·1· · · ·A· · I -- no, because I didn't even know there was a
·2· discussion.
·3· · · ·Q· · Okay.· And so I want to introduce our next exhibit.
·4· · · · · · · · ·COURT REPORTER:· 18.
·5· BY MS. HUNKER (resuming):
·6· · · ·Q· · -- Exhibit Number 18.· Do you have Exhibit 18 in
·7· front of you?
·8· · · ·A· · Yes.
·9· · · ·Q· · And do you recognize this exhibit?
10· · · ·A· · No.
11· · · ·Q· · Okay.· Do you see where it says For Immediate
12· Release, August 23rd, 2021?
13· · · ·A· · Yes.
14· · · ·Q· · And then it says Texas House Democrats Correct House
15· GOP Members' Misrepresentation of Special Session Quorum
16· Cautioning:· A Quorum is Not Perpetual.· Did I read that title
17· correctly?
18· · · ·A· · Yes.· Members -- okay.· Texas House Democrats Correct
19· House GOP Members' Misrepresentation of Special Session Quorum
20· Cautioning:· A Quorum is Not Perpetual.· Okay.
21· · · ·Q· · Okay.· And so it starts with:· Last Thursday, Texas
22· voters witnessed a gleeful GOP celebrate and misrepresent the
23· existence of a constitutional quorum on the House floor.· This
24· staged quorum production was not only premeditated but also
25· premature.· We remind our colleagues that there is no such




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·1· thing as a perpetual quorum.· Did I read that correctly?
·2· · · ·A· · Yes, I see that.
·3· · · ·Q· · Okay.· It continues:· Specifically, there must always
·4· be a minimum of 100 members present on the House floor to
·5· establish the quorum necessary to vote on every single piece of
·6· legislation.· There is no indication or commitment from any
·7· Texas House Democrat that this will occur.· Did I read that
·8· correctly?
·9· · · ·A· · (Reading.)· There's no indication or commitment from
10· any Texas House Democrat that this will occur.
11· · · ·Q· · Okay.· And so if you see -- did I read that
12· correctly?
13· · · ·A· · No.· You said that, That will occur.
14· · · ·Q· · Okay.· Well, how about you read that particular --
15· from specifically to occur.
16· · · ·A· · (Complies with request.)· Okay.· I've read it.
17· · · ·Q· · Okay.· Can you read it out loud?
18· · · ·A· · Oh, okay.· (Reading.)· There is no indication or
19· commitment from any Texas House Democrat that this will occur.
20· · · ·Q· · Okay.
21· · · ·A· · Okay.· That's what it says.
22· · · ·Q· · And so if we look to the next paragraph --
23· · · ·A· · Uh-huh.
24· · · ·Q· · -- it has a list of Texas State Representatives.
25· · · ·A· · Right.




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·1· · · ·Q· · Do you see that?
·2· · · ·A· · Yes.
·3· · · ·Q· · And do you see your name, Nicole Collier?
·4· · · ·A· · I do.
·5· · · ·Q· · Okay.· Did you sign on to this press release?
·6· · · ·A· · I would -- I guess so, if my name's there.· I don't
·7· remember, but I would think I did.
·8· · · ·Q· · And did you agree with the statement that there is no
·9· such thing as a perpetual quorum?
10· · · ·A· · A perpetual quorum?· I -- I don't think you can have
11· a -- I mean, if you adjourn, then you have to have a -- that
12· means you ended the day.· You need to have a new quorum for the
13· next day.· Now, there have been times where they recessed and
14· the quorum is still in place from the recess, like we did for
15· the inauguration for the Governor this last time.· We recessed
16· on the House floor and then we walked outside and did a joint
17· session with the Senate for the inauguration of the Lieutenant
18· Governor.· So that was a recess, but it wasn't a perpetual --
19· it's not like you can go from day to day once you adjourn, so I
20· don't think that that's -- yeah, I agree with that.
21· · · ·Q· · So the date August 23rd, 2021, that was during the
22· second special session; is that correct?
23· · · ·A· · I don't remember the dates of it.
24· · · ·Q· · Okay.· You'd agree it was after the first special
25· session, would [sic] you?




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·1· · · ·A· · Can you tell me the dates of the special sessions?
·2· · · ·Q· · (Reviewing.)· Was it understood among House Democrats
·3· that they will -- that they would break quorum -- that there
·4· was a possibility that they would break quorum again during the
·5· second special session, to your knowledge?
·6· · · ·A· · That they would break quorum again?
·7· · · ·Q· · Yes.
·8· · · ·A· · I don't think so.· I don't know.· I can't say.
·9· · · ·Q· · Okay.· Did Texas House Democrats threaten to break
10· quorum at any point to your knowledge during the second special
11· session?
12· · · ·A· · I wasn't there, no.· I don't know.
13· · · ·Q· · So according to the Texas Reference Library --
14· · · ·A· · Uh-huh.
15· · · ·Q· · -- the first special session was from July 6th --
16· sorry -- July 8th, 2021, to August 6th, 2021 --
17· · · ·A· · Oh, wait.· You said July 6th?
18· · · ·Q· · July 8th.
19· · · ·A· · Oh, July 8th till August --
20· · · ·Q· · August 6th.
21· · · ·A· · Okay.
22· · · ·Q· · -- and the second special session was August 7th
23· through September 2nd.
24· · · ·A· · So, then, yes, this -- August 23rd is -- is the
25· second special.




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·1· · · ·Q· · Okay.· And so during the second special session,
·2· members of the Texas Democratic Caucus issued a press release
·3· stating that there is no indication or commitment from any
·4· Texas House Democrat that a -- that this will occur in
·5· reference to a quorum, as you said.
·6· · · · · · · · ·MR. BLEDSOE:· Object to the form --
·7· BY THE WITNESS (resuming):
·8· · · ·A· · I --
·9· · · · · · · · ·MR. BLEDSOE:· -- mischaracterizes the evidence.
10· BY THE WITNESS (resuming):
11· · · ·A· · Yes, I see that.· There was certain members of the
12· Democratic caucus, not all of them.
13· · · ·Q· · We can put that aside.
14· · · ·A· · Okay.
15· · · ·Q· · Okay.· So you had mentioned that you went to
16· Washington DC in the summer of 2021; is that correct?
17· · · ·A· · Summer of -- yes.
18· · · ·Q· · And during that time, you testified before Congress;
19· is that right?
20· · · ·A· · Yes.
21· · · ·Q· · And so I'm going to introduce Exhibit Number 19.· And
22· do you see the top where it says 117th Congress, Congress of
23· the United States House of Representatives?
24· · · ·A· · Yes.
25· · · ·Q· · And it's the committee on oversight reform; correct?




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·1· · · ·A· · Yes, I see that.
·2· · · ·Q· · And do you see that this is an announcement regarding
·3· a subcommittee hearing?
·4· · · ·A· · It's a memorandum.· I don't know if it's --
·5· · · ·Q· · Okay.· So it's a memorandum dated July 26th, 2021; is
·6· that correct?
·7· · · ·A· · It's a -- yes.
·8· · · ·Q· · And then it says:· To members of subcommittee on
·9· civil rights and civil liberties from subcommittee staff.· Did
10· I read that [sic]?
11· · · ·A· · Yes.
12· · · ·Q· · And then it says Hearing, the topic being on
13· Democracy in Danger, the Assault on Voting Rights in Texas.
14· Did I read that correctly?
15· · · ·A· · Yes.
16· · · ·Q· · And this hearing was held on Thursday, July 29th,
17· 2021, at 10 a.m.; is that correct?
18· · · ·A· · I think so.· I hadn't seen this document.
19· · · ·Q· · And so if we turn the page on Page 2, a list of
20· witnesses including the Honorable Severino (ph) Thompson, the
21· Honorable Nicole Collier, the Honorable Diego Bernal and
22· Nina Perales; is that correct?
23· · · ·A· · Yes, that's Senfronia Thompson.
24· · · ·Q· · Thank you.· And who asked you to testify during the
25· hearing?




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·1· · · ·A· · I don't know who asked me.· I was just told that my
·2· name was submitted and -- I don't know who asked me to testify.
·3· · · ·Q· · Okay.· And we can put that away.
·4· · · ·A· · (Complies with request.)
·5· · · ·Q· · And so we're going to look at Exhibit Number 20.
·6· · · ·A· · Okay.
·7· · · ·Q· · Do you have Exhibit 20 in front of you?
·8· · · ·A· · Yes.
·9· · · ·Q· · And do you recognize this particular exhibit?
10· · · ·A· · Oh, did they type this up?· Was this my testimony?
11· · · ·Q· · If you notice, this is your written testimony.
12· · · ·A· · Oh, okay.· All right.
13· · · ·Q· · Well, do you recognize this as your written
14· testimony?
15· · · ·A· · I don't remember it, but I'm glad somebody wrote it
16· down because I -- I had, like, notecards that I lost.· Who --
17· was this in the record?
18· · · ·Q· · (Affirmative response.)
19· · · ·A· · Oh, okay.
20· · · ·Q· · And so since -- and can you please take just a quick
21· read through and then I'm going to ask if this is a accurate
22· recollection of your opening remarks or testimony.
23· · · ·A· · Okay.· Let's see here.· (Reviewing.)
24· · · · · · · · ·MR. BLEDSOE:· Now, you didn't say that -- she
25· didn't -- she said she doesn't recall that maybe she did this.




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·1· Is this a transcript -- do you think this is a transcription of
·2· your verbal testimony?· Do you know?
·3· · · · · · · · ·THE WITNESS:· I don't think it is, because --
·4· · · · · · · · ·MS. HUNKER:· So I have a transcript of her
·5· verbal testimony.· This tends to be the written testimony
·6· that's submitted to the committee or sometimes the opening
·7· statement that is recorded.
·8· · · · · · · · ·THE WITNESS:· So I -- it's hard --
·9· · · · · · · · ·MR. BLEDSOE:· Okay.· But you don't remember it;
10· right?
11· BY MS. HUNKER (resuming):
12· · · ·Q· · So I will say:· Do you recall submitting written
13· testimony to the committee?
14· · · ·A· · No, but, I mean, somebody could have done it for us,
15· you know, submitted this actual -- I don't know if this is a
16· transcript or if somebody submitted this.
17· · · ·Q· · Okay.· So you don't recall submitting this particular
18· document to the committee before Congress; is that correct?
19· · · ·A· · No, but you have staff and they help you -- make you
20· look better, and so, literally, I have a team of people that
21· help me and I don't do everything, so I can't say that I did
22· this.· No, I did not.
23· · · ·Q· · Okay.
24· · · ·A· · But I'm reading it now.· You want me to read it.
25· · · ·Q· · Well --




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·1· · · ·A· · It doesn't sound like -- I mean, you see how I'm
·2· talking to you?· This is how I testify, too, so if there was a
·3· script, I probably went off and -- so...
·4· · · ·Q· · My impression was that this was a written testimony
·5· you submitted; however, if you do not recall it, I'm going to
·6· put it aside and we'll work on your verbal testimony.
·7· · · ·A· · It might be better than my verbal testimony, so I
·8· don't know.· I could read it.· Do you want me to finish reading
·9· it?
10· · · ·Q· · You can, but I'm just going to ask:· You don't recall
11· if your staff submitted this particular written testimony on
12· your behalf?
13· · · ·A· · I mean, if it's there, somebody submitted it for me.
14· If it was not my staff, it was somebody.
15· · · ·Q· · Okay.· So somebody submitted this written testimony
16· on your behalf, but you don't recall doing so; is that correct?
17· You yourself.
18· · · ·A· · No, I did not.
19· · · ·Q· · Okay.· And you don't know if it was your staff who
20· submitted this testimony on your behalf; is that correct?
21· · · ·A· · I don't know.
22· · · ·Q· · Okay.· Then we're going to put this document aside.
23· · · ·A· · Oh, okay.
24· · · ·Q· · (Provides exhibit.)· And we're going to introduce --
25· · · ·A· · Oh.




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·1· · · ·Q· · -- Exhibit 2021 -- or Exhibit 21.
·2· · · ·A· · Okay.
·3· · · · · · · · ·MR. BLEDSOE:· Did your memory get jogged?
·4· · · · · · · · ·MS. HUNKER:· Yeah.
·5· · · · · · · · ·THE WITNESS:· Yeah, I just read --
·6· · · · · · · · ·MR. BLEDSOE:· (Crosstalk.)
·7· · · · · · · · ·THE WITNESS:· -- some part down here.· This is
·8· something that I did say.· I do remember saying these things.
·9· I don't ever say these things.· (Reading.)· Suppression can
10· also happen in subtle ways, like when your polling location
11· continues to change or the hours the polls are open vary, long
12· lines or harsh criminal penalties for people who make simple
13· mistakes.· All of that disrupts the voting process and makes it
14· less likely for people to participate.
15· · · ·Q· · Okay.
16· · · ·A· · Voting does not have to be hard, but it should be
17· fair and free.· Communities should be able to freely elect the
18· candidate of their choice -- I did say that.
19· · · ·Q· · Okay.· You did say that.
20· · · ·A· · Yes.
21· · · ·Q· · Okay.· So you don't recall submitting this specific
22· written testimony, but you do recall making these statements.
23· Is that fair to say?
24· · · ·A· · Well, I just looked at that section.· Do you want me
25· to go back?




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·1· · · ·Q· · No, that's okay.· We'll focus on that section.
·2· · · ·A· · Okay.
·3· · · ·Q· · All right.· Well, you mentioned in this section that
·4· you recalled -- statement will focus on that section?
·5· · · ·A· · Oh, wait.· Did you see this, this data here?· It
·6· says:· In the November 2020 general election, Texas [sic] saw
·7· the largest voter turnout in Texas since 1992 with 66.8 percent
·8· of eligible voters casting their ballot, including the highest
·9· turnout in 10 years of Black, Brown and Asian eligible voters.
10· · · ·Q· · So my first question to you would have been where you
11· got the statistics from.
12· · · ·A· · Probably advocates, people who do -- know elections
13· better than me.
14· · · ·Q· · Okay.
15· · · ·A· · But I'm the kind of person -- I like -- I like to see
16· it, too, so I'm sure they --
17· · · ·Q· · So you don't recall what the source was of that
18· specific statistics [sic].
19· · · ·A· · It was an expert.· I don't -- I won't repeat anything
20· unless it's somebody that I can look at and see.
21· · · ·Q· · And that would have been the number statewide; is
22· that correct?
23· · · ·A· · It's -- it's exactly what it says:· Texas saw the
24· largest voter turnout in -- and, look, it even says in November
25· 2020 election -- general election, Texas saw the largest voter




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·1· turnout in Texas.· I mean, where else would it -- sorry.· I'm
·2· just...
·3· · · ·Q· · And so the line that starts with however --
·4· · · ·A· · However.· Okay.
·5· · · ·Q· · You say:· However, suppression can also happen in
·6· subtle ways, like when your polling location continues to
·7· change or how the hours the polls are open vary, long lines or
·8· harsh criminal penalties for people who make simple mistake.
·9· Did I read that correctly?
10· · · ·A· · Yes.
11· · · ·Q· · Okay.· So what did you mean by, The hours the polls
12· are open vary?· How does that tie to voter suppression?
13· · · ·A· · Well, I mean, people are -- are creatures of habit,
14· and so they're used to having a polling location at a certain
15· place, I always vote downstairs at -- you know, down this hall
16· or whatever, or this location.· The polls on some days may be
17· open from 9 to 5 and sometimes it's open from 7 to 7, and so
18· that can -- you know, or on Sundays, maybe it's 12 until 5 or
19· 12 till 6, and so that could disrupt the process.· And, you
20· know, certain locations like at a university, sometimes they
21· have even less hours because of the location.
22· · · ·Q· · And so when a single county had different polling
23· hours on different days, does that, to your knowledge, confuse
24· voters?
25· · · · · · · · ·MR. BLEDSOE:· Objection, form, and --




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·1· BY THE WITNESS (resuming):
·2· · · ·A· · I don't --
·3· · · · · · · · ·MR. BLEDSOE:· -- mischaracterizes the testimony.
·4· BY THE WITNESS (resuming):
·5· · · ·A· · I said it can be so -- I mean, it could lead to that,
·6· yes.
·7· · · ·Q· · Okay.
·8· · · ·A· · In conjunction with a bunch of other stuff that
·9· you've compounded, because Texas -- I think one of the things
10· that -- I don't know if I said it in here, but Texas already
11· had the strictest voting laws at the time.· Now other states
12· have started implementing some of the same provisions.
13· · · ·Q· · And when you say Texas had the strictest voting
14· laws --
15· · · ·A· · Some of the --
16· · · ·Q· · -- is that --
17· · · ·A· · Restrictive, restrictive.
18· · · ·Q· · -- most restrictive, is that in reference to a study?
19· · · ·A· · Well, they -- it was reported widely that we already
20· had restrictive voting laws.· Like, there was a lot of
21· restrictions.
22· · · ·Q· · Do you know the metrics that were used to make that
23· determination?
24· · · ·A· · I guess the number of rules that you have.
25· · · ·Q· · Okay.




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·1· · · ·A· · Like, some states may not have as many.
·2· · · ·Q· · So I'll give you an example:· Do you know if the
·3· State of New York had early voting?
·4· · · ·A· · I wouldn't say New York is like Texas.· I would say
·5· maybe like Florida and Georgia may be more of something that
·6· you would look at as a comparable state, but I don't know.· But
·7· -- I just know what I read.
·8· · · ·Q· · Okay.· So you read that Texas had the most
·9· restrictive voting laws.
10· · · ·A· · We had some of the most restrictive.
11· · · ·Q· · Some of the most restrictive voting laws.
12· · · ·A· · Uh-huh.· Like, before, but now states are doing the
13· same thing.
14· · · ·Q· · But you haven't individually looked to compare how
15· Texas voting laws --
16· · · ·A· · Well, there was a --
17· · · ·Q· · -- compare.
18· · · ·A· · No, there was -- there was something in there.                   I
19· just don't -- can't tell you -- like, recite it right now, but
20· there were data to show that -- how Texas had some of the most
21· restrictive laws on the books.
22· · · ·Q· · Okay.· And do you remember what states it was
23· comparing it to?
24· · · ·A· · I don't, huh-uh.
25· · · ·Q· · Okay.· And do you remember what specific laws it was




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·1· referring?
·2· · · ·A· · No.
·3· · · ·Q· · Okay.
·4· · · ·A· · Not off the top of my head.
·5· · · ·Q· · And do you think it would confuse or result in voter
·6· confusion if adjacent counties had inconsistent hours?
·7· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·8· BY THE WITNESS (resuming):
·9· · · ·A· · I don't know.· I didn't say that in here.
10· · · ·Q· · Well, I'm just asking generally.
11· · · ·A· · Oh, I wouldn't know because I haven't seen the data
12· on that.
13· · · ·Q· · Okay.· And so you -- have you ever looked at whether
14· or not a county -- adjacent counties having different hours
15· resulted in voter confusion?
16· · · ·A· · Well --
17· · · · · · · · ·MR. BLEDSOE:· Objection to form, asked and
18· answered.
19· BY THE WITNESS (resuming):
20· · · ·A· · Well, Texas doesn't have open voting.· You have to
21· vote in the county that you're -- you're registered, so I don't
22· know how that would -- how that would play into Texas.
23· · · ·Q· · Okay.· Let's think of -- the city of Arlington, is
24· that entirely within Tarrant County?
25· · · ·A· · I don't know.




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·1· · · ·Q· · Are there any districts --
·2· · · ·A· · Fort Worth?· No.· You know what?· Fort Worth is not
·3· even entirely in Tarrant County.
·4· · · ·Q· · Okay.· What other counties is it in?
·5· · · ·A· · I believe that there's some, like, parts of
·6· Tarrant County -- Denton County, but there may not be people
·7· there.
·8· · · ·Q· · Have you ever asked whether Denton County and
·9· Tarrant County having different hours confuse voters who were
10· in the city of Fort Worth --
11· · · · · · · · ·MR. BLEDSOE:· Objection to form.
12· BY MS. HUNKER (resuming):
13· · · ·Q· · -- in not knowing necessarily which county they
14· should --
15· · · ·A· · I don't think there's people that -- I don't know.                 I
16· -- no, because that's not in my -- my area.
17· · · ·Q· · Do you think it would help voters to have consistent
18· hours?
19· · · · · · · · ·MR. BLEDSOE:· Objection to the form.
20· BY THE WITNESS (resuming):
21· · · ·A· · I think there's a lot of things that could help
22· voters.· I don't know if that's the only thing that could help
23· them.
24· · · ·Q· · Do you think it's one thing that would help them?
25· · · · · · · · ·MR. BLEDSOE:· Objection to form.




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·1· BY THE WITNESS (resuming):
·2· · · ·A· · I don't know.· I mean, do we have data on that?
·3· · · ·Q· · Have you looked at data on that?
·4· · · ·A· · No, so I don't know.
·5· · · ·Q· · And let's put that aside.
·6· · · ·A· · (Complies with request.)
·7· · · ·Q· · And so now I'm going to introduce Exhibit 21.
·8· · · ·A· · Okay.
·9· · · ·Q· · And do you see at the top it says Democracy in
10· Danger:· The Assault on Voting Rights in Texas?· And then it
11· has the Hearing Before Subcommittee On Civil Rights and
12· Civil Liberties.· Did I read that correctly?
13· · · ·A· · Yes.· The title, I love it.· It's just -- I didn't --
14· hadn't even seen that title.
15· · · ·Q· · And then if you see the next page, it lists the
16· Senate -- I'm sorry -- the members who were on the committee on
17· oversight reform and then the members who are on subcommittee
18· on civil rights and civil liberties; is that right?
19· · · ·A· · I -- yeah, I guess.· Is this public?· Where do I get
20· this?· I hadn't seen it.
21· · · ·Q· · You can get this from the -- Congress's website.
22· · · ·A· · It's on the -- online?
23· · · ·Q· · Yep.
24· · · ·A· · Sorry.
25· · · ·Q· · That's okay.




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·1· · · ·A· · I did not see this.
·2· · · ·Q· · And --
·3· · · ·A· · So it's -- actually a transcript from everything
·4· that's said, like what he's doing?
·5· · · ·Q· · (Affirmative response.)
·6· · · ·A· · Okay.
·7· · · ·Q· · And do you see on the next page it has the contents
·8· listed?
·9· · · ·A· · Yes.
10· · · ·Q· · And then it talks about the -- it lists the different
11· individuals -- the witnesses.
12· · · ·A· · Yes.
13· · · ·Q· · And their opening statements.
14· · · ·A· · (Reviewing.)
15· · · ·Q· · And so let's turn to Page 11.
16· · · ·A· · Okay.
17· · · ·Q· · And do you see on the bottom where it says, Statement
18· of the Honorable Nicole Collier, Texas State Representative and
19· Chair of Texas Legislative Black Caucus?
20· · · ·A· · I do.
21· · · ·Q· · And just take a quick perusal, and would you agree
22· with me that that -- that this is a transcribed version of your
23· opening statement?
24· · · ·A· · If you -- I haven't seen it, so I would take your
25· word that it is.




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·1· · · ·Q· · Okay.
·2· · · ·A· · (Reviewing.)· It is different than Exhibit 20.· I'm
·3· looking at it -- my testimony.· The transcript is.
·4· · · ·Q· · Uh-huh.· And so when you're talking in this
·5· particular testimony, you're talking about SB 7 and HB 6; is
·6· that correct?
·7· · · ·A· · I don't think the other ones had been considered at
·8· that time.
·9· · · ·Q· · Okay.· And so when you are talking about proposed
10· legislation, you're talking about HB 6 and SB 7; is that right?
11· · · ·A· · The conference committee report that -- the last --
12· latest version, yes, from the 87th Regular Session.
13· · · ·Q· · And so I want to go to Page 13 --
14· · · ·A· · Okay.
15· · · ·Q· · -- further into the paragraph where it says, Under
16· the provisions of this bill.
17· · · ·A· · (Reviewing.)· Oh, you don't have the entire testimony
18· in here.
19· · · ·Q· · I have the opening statements of the members as well
20· as any of the testimony that involved you.
21· · · ·A· · Well, I don't know because it stops right here on
22· Page --
23· · · ·Q· · Yeah, it's --
24· · · ·A· · -- 13.
25· · · ·Q· · It's the portions of the transcript that I was going




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·1· to discuss with you today.
·2· · · ·A· · But how do I know if -- am I done on Page 13?· That's
·3· all of it?
·4· · · ·Q· · Well, Page 12 is right before it.
·5· · · ·A· · I know, but is it 11, 12 and 13 that's the entirety
·6· of my testimony?
·7· · · ·Q· · No.
·8· · · ·A· · Oh, okay.
·9· · · ·Q· · There is back-and-forth between you and different
10· members of the committee.
11· · · ·A· · Oh, okay.· You didn't include that in here.
12· · · ·Q· · No.· It's also other -- I only included, as I said,
13· the sections that were relevant to today's deposition.
14· · · ·A· · Okay.· 13.
15· · · ·Q· · Okay.· And if you can read that paragraph to
16· yourself.
17· · · ·A· · (Complies with request.)· That is true.· Oh, sorry.
18· All right.· (Reading.) ... and she would not even know that her
19· ballot had been -- that's true, yes.
20· · · ·Q· · Okay.
21· · · ·A· · That was what I said.
22· · · ·Q· · Okay.· And so you expressed concern in this paragraph
23· about a voter who may not remember which number, driver's
24· license or Social Security number, that that individual put on
25· their registration form; is that correct?




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·1· · · ·A· · Right.
·2· · · ·Q· · And then your concern was that that would cause the
·3· ballot to be rejected; is that right?
·4· · · ·A· · Yes.
·5· · · ·Q· · Okay.· Were you aware that under Senate Bill 1 the
·6· voter only needs to match one number?
·7· · · ·A· · Yes, but it has to be the one that they have on file,
·8· so if I gave you one of those numbers and you don't have it on
·9· file, meaning the secretary of state, it gets rejected.
10· · · ·Q· · Okay.· And are you aware that the secretary of
11· state's office pulled numbers from DPS to get driver's license
12· and Social Security numbers?
13· · · ·A· · When?
14· · · · · · · · ·MR. BLEDSOE:· Objection, form.
15· · · · · · · · ·THE WITNESS:· Okay.
16· BY THE WITNESS (resuming):
17· · · ·A· · When?
18· · · ·Q· · Well, were you aware that the process even occurred?
19· · · ·A· · When?· At the time I testified?· When did that
20· happen?
21· · · ·Q· · No, after.
22· · · ·A· · Okay.· When did they do that?
23· · · ·Q· · Well, I'm asking you if you're aware of it.
24· · · · · · · · ·MR. BLEDSOE:· Objection, form.
25· BY MS. HUNKER (resuming):




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·1· · · ·Q· · If you're not aware of it, that's fine, but...
·2· · · ·A· · I have no idea when they did that.· I don't know.
·3· · · ·Q· · Were you aware that they engaged in that process
·4· regularly?
·5· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·6· BY THE WITNESS (resuming):
·7· · · ·A· · What process?
·8· · · ·Q· · The process of pulling driver's license numbers and
·9· Social Security numbers --
10· · · · · · · · ·MR. BLEDSOE:· Objection to form.
11· BY MS. HUNKER (resuming):
12· · · ·Q· · -- into voters' files from DPS.
13· · · · · · · · ·COURT REPORTER:· Allow the question to conclude
14· and then --
15· · · · · · · · ·MR. BLEDSOE:· I'm sorry.· I apologize.
16· · · · · · · · ·COURT REPORTER:· Okay.· Repeat the --
17· · · · · · · · ·MR. BLEDSOE:· My apologies.
18· · · · · · · · ·MS. HUNKER:· Yes.
19· · · · · · · · ·COURT REPORTER:· No problem.
20· BY MS. HUNKER (resuming):
21· · · ·Q· · Were you aware that the secretary regularly pulled
22· numbers from DPS to get driver's license numbers and Social
23· Security numbers into a voter's registration file?
24· · · · · · · · ·MR. BLEDSOE:· Objection to form.
25· BY THE WITNESS (resuming):




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·1· · · ·A· · I don't -- okay.· Into?· What do you mean?· Like,
·2· they --
·3· · · ·Q· · To --
·4· · · ·A· · -- merged them?
·5· · · ·Q· · -- add those numbers to the file.
·6· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·7· BY THE WITNESS (resuming):
·8· · · ·A· · Not at the time of this testimony, and it wasn't in
·9· the bill.
10· · · ·Q· · And you don't know if that was a pre-existing
11· practice by the Texas Secretary of State's office.
12· · · · · · · · ·MR. BLEDSOE:· Objection, form.
13· BY THE WITNESS (resuming):
14· · · ·A· · I don't think they would -- no, I -- I don't think it
15· was.· I don't know.
16· · · ·Q· · And you don't know if they engaged in that practice
17· after the implementation of Senate Bill 1; is that correct?
18· · · · · · · · ·MR. BLEDSOE:· Objection, form.
19· BY THE WITNESS (resuming):
20· · · ·A· · But what do you mean pull it into the voter file?
21· What does that mean?
22· · · ·Q· · That they are seeking files, voter registration, with
23· DPS to pull in driver's license numbers or Social Security
24· numbers so that they can add those numbers to the voter
25· registration record.




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·1· · · ·A· · But the bill read it had to match the number that you
·2· submitted when you originally voted, so even if they did pull
·3· it, if -- if it didn't match the number that you submitted when
·4· you originally registered to vote, they would have to reject
·5· it.· Now, if there was some provision that said either one that
·6· they had, but at the time it only said it had to be the number
·7· that you submitted when you originally voted, so that is not in
·8· line with the secretary -- I mean the voter -- sorry --
·9· secretary of state having both numbers because it doesn't
10· matter.· It has to be the number that they had when you
11· originally voted --
12· · · ·Q· · Okay.· So that language is in reference --
13· · · ·A· · -- registered to vote.
14· · · ·Q· · -- to Senate Bill 7; correct?
15· · · ·A· · Senate Bill 7?· Oh, yes.· I'm confusing 1 and 7.
16· · · ·Q· · Okay.· Have you looked at that particular requirement
17· in Senate Bill 1?
18· · · ·A· · I know that now it doesn't.· They fixed it.· They --
19· they did address that, yes --
20· · · ·Q· · Okay.
21· · · ·A· · -- but this is something we did bring up during the
22· discussions.· We were talking about an opportunity to cure.                I
23· think one of those amendments may have been that opportunity to
24· cure.
25· · · ·Q· · And so after you brought up this point --




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·1· · · ·A· · It wouldn't be me.· I --
·2· · · ·Q· · Okay.
·3· · · ·A· · -- didn't do everything.· Can't do everything.· It
·4· was a collective effort.
·5· · · ·Q· · Yes.· After legislators raised the point that a
·6· person may not remember which number they registered to vote,
·7· that provision was changed in Senate Bill 1; is that correct?
·8· · · ·A· · I don't know if it was changed in Senate --
·9· · · · · · · · ·MR. BLEDSOE:· Objection to form.
10· BY THE WITNESS (resuming):
11· · · ·A· · At some point it got changed where they provided an
12· opportunity to cure, and even then -- remember earlier in the
13· deposition I was telling you about what is the policy, the
14· process that the secretary of state is going to share on how to
15· address voting by mail, and it was at that point that they were
16· telling people, Put both numbers down just in case.
17· · · ·Q· · Uh-huh.
18· · · ·A· · And so, again, that was like right before the
19· election of -- I mean the implementation of -- no, that was
20· after the -- that was after the bill passed in September, you
21· know, became law, and then it was right before early voting,
22· and that's when they were telling people, Oh, just put both
23· numbers down to be safe, but there was a provision about
24· opportunity to cure added.
25· · · ·Q· · And so let's talk about opportunity to cure.




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·1· · · ·A· · Okay.
·2· · · ·Q· · Prior to Senate Bill 1, are you aware if there was
·3· any process in which a voter could cure their ballot -- mail-in
·4· ballot if there was a defect on that ballot?
·5· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·6· BY THE WITNESS (resuming):
·7· · · ·A· · I -- I believe so.· There should have been something,
·8· like, you could -- like, if -- like vote by mail?
·9· · · ·Q· · Yes.
10· · · ·A· · I don't know on vote by mail, not off the top of my
11· head.· To cure your ballot, the vote-by-mail ballot if it was
12· rejected --
13· · · ·Q· · Prior to Senate Bill 1.
14· · · ·A· · I don't.· I don't know.
15· · · ·Q· · Would it surprise you to learn that there was no cure
16· process prior to Senate Bill 1?
17· · · · · · · · ·MR. BLEDSOE:· Objection to form,
18· mischaracterizes the evidence.
19· BY THE WITNESS (resuming):
20· · · ·A· · Well, there wasn't as many requirements on it, too.
21· I mean, you give more chances to mess up when you keep putting
22· more rules on it.
23· · · ·Q· · And so you raise in your testimony the fact that
24· there would be no opportunity to cure in the event a voter
25· either put the wrong number down or the number didn't match; is




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·1· that correct?
·2· · · ·A· · Yes, because that wasn't a requirement before.
·3· · · ·Q· · And that was -- a cure process was added to the final
·4· bill when Senate Bill 1 was enacted --
·5· · · ·A· · Well, you didn't have --
·6· · · · · · · · ·MR. BLEDSOE:· Objection --
·7· BY MS. HUNKER (resuming):
·8· · · ·Q· · -- right?
·9· · · · · · · · ·MR. BLEDSOE:· I'm sorry.· Object to form.
10· BY THE WITNESS (resuming):
11· · · ·A· · I don't believe you had to put your number in so many
12· different places.
13· · · ·Q· · So my question's a little different.
14· · · ·A· · Oh, okay.
15· · · ·Q· · I'm just asking about the cure process.
16· · · ·A· · Oh, okay.· I'm sorry.
17· · · ·Q· · So you had mentioned that the cure -- an opportunity
18· to cure was added; is that correct?
19· · · ·A· · I mentioned -- say that again.
20· · · ·Q· · An opportunity to cure was added.
21· · · ·A· · Under the provisions of the bill, if she put down the
22· other number -- for this particular situation, yes, an
23· opportunity to cure for this particular situation.
24· · · ·Q· · So in Senate Bill 1, there is now an opportunity to
25· cure for that specific situation that you raised in your




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·1· congressional testimony; is that correct?
·2· · · ·A· · Yes, I believe so.
·3· · · ·Q· · Okay.· And then you also referenced that the voter
·4· may not even know that her ballot had been rejected; is that
·5· correct?
·6· · · ·A· · I don't believe there was a provision in there that
·7· said you're going to tell them that their ballot was rejected.
·8· · · ·Q· · And that, too, was corrected during Senate Bill 1; is
·9· that correct?
10· · · · · · · · ·MR. BLEDSOE:· Object to form.· I request that
11· you show her a copy of it.· You're asking her to talk about a
12· bill that she didn't vote on.· Show her the provision.
13· BY MS. HUNKER (resuming):
14· · · ·Q· · All right.· Let's turn to Senate Bill 1.
15· · · ·A· · Oh, look it that.· Here's something on Page 43.                  I
16· just opened -- like, flipped to it.· It says Opportunity to
17· Correct Defect.· Oh, no, this is something else maybe.
18· · · · · · · · ·MR. BLEDSOE:· It's on signature verification.
19· · · · · · · · ·THE WITNESS:· Oh, is it?· That is it.
20· (Reviewing.)
21· · · · · · · · ·MS. HUNKER:· Sorry.· Give me a second.
22· (Reviewing.)
23· BY MS. HUNKER (resuming):
24· · · ·Q· · All right.· I'm going to bring you that bill at the
25· next break just so we don't waste time on it.· But I am going




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·1· to have you look at Section 5.10 on Page 40.
·2· · · ·A· · (Complies with request.)· Okay.
·3· · · ·Q· · Okay.· And do you see where it says:· An online tool
·4· used under this section much, for each election, record each
·5· application for a ballot to be voted on by mail and received by
·6· the clerk?
·7· · · ·A· · All right.· Well, say that again.· 5.10?
·8· · · ·Q· · 5.10 --
·9· · · ·A· · Line?
10· · · ·Q· · -- (c), Line 12.
11· · · ·A· · Okay.· That's a new provision.
12· · · ·Q· · (Reading.)· An online tool used under this section
13· must, for each election, record:· A, each application for a
14· ballot to be voted by mail received by the clerk; and B, each
15· carrier envelope sent to a voter by the clerk.· Did I read that
16· part correctly?
17· · · ·A· · Yes, that's what it says.
18· · · ·Q· · And then two:· For each carrier envelope, record or
19· assign a serially numbered and sequentially issued barcode or
20· tracking number that is unique to each envelope; three, update
21· the applicable Internet website as soon as practicable after
22· each of the following events occurs:· Receipt by the
23· early-voting clerk of the person's application for a ballot to
24· be voted by mail, acceptance or rejection of -- by the
25· early-voting clerk of the person's application for a ballot to




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·1· be voted by mail; C, placement in the mail by the
·2· early-voting clerk of the person's official ballot; D, receipt
·3· by the early-voting clerk of the person's marked ballot; and E,
·4· acceptance or rejection of the early-voting ballot board of a
·5· person's marked ballot.· Did I read that correctly?
·6· · · ·A· · It says, By the early-voting ballot board.
·7· · · ·Q· · Outside of that one error in reciting it, did I read
·8· this correctly?
·9· · · ·A· · Yes, but did you say Section 5.10, Section 86.015(c),
10· election code as effective September 1st, 2021 --
11· · · ·Q· · 2021.
12· · · ·A· · -- is amended.· So this is all new, I guess.
13· · · ·Q· · You'd agree with me that this section was effective
14· as of September 1st, 2021.
15· · · ·A· · Yes.
16· · · ·Q· · Okay.· And that would've been after your testimony
17· before Congress; correct?
18· · · ·A· · September 1st, yes.
19· · · ·Q· · Okay.· And so after your testimony, a law came into
20· effect that has a tracking system where a voter can know
21· whether or not their vote by mail was accepted or rejected; is
22· that correct?
23· · · ·A· · There is a system, yes.
24· · · ·Q· · And then if we look at 4, which is underlined:· Allow
25· the voter to add or correct information required under




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·1· Section 84.002(a)(1)(a) or Section 86.002(g).· Do you see that?
·2· · · ·A· · Yes.
·3· · · ·Q· · And do you -- do you agree that this provision under
·4· SB 1 allows a voter to add or correct information?
·5· · · · · · · · ·MR. BLEDSOE:· Object to form, speculation.
·6· BY THE WITNESS (resuming):
·7· · · ·A· · I assume that because I don't know what those other
·8· numbers are, but I don't see in here -- in the transcript -- I
·9· do recall that there was a back-and-forth between myself and
10· Congressman Pat Fallon, and he told me at that time that they
11· were working on -- on the cure provision, but I -- I was not
12· aware of that.
13· · · ·Q· · Okay.· Now, I know you were not at the legislature
14· when SB 1 was under consideration.· When did you first read
15· SB 1?
16· · · ·A· · Entirely?
17· · · ·Q· · Yeah.
18· · · ·A· · Probably December.· I mean, I don't know if I -- I
19· know I read it before the -- and I don't know if it was the
20· entire thing.· I know I read key provisions because I did a
21· townhall on it right before the election, and that was my
22· issue.· I was trying to get the best information to my
23· constituents, and I was trying to figure what the procedure
24· was, so I said -- asked my office to call Heidi Garcia, they
25· didn't have it, so we reached out to the secretary of state and




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·1· then they were kind enough to provide information, very
·2· transparent, saying that, you know, they were still working on
·3· giving more guidance, and then they came out with something.
·4· But I reached out because I was holding a townhall and I wanted
·5· to make sure that my information was accurate and that -- you
·6· know, based on the bill.· I wanted to see how they were going
·7· to interpret it.
·8· · · ·Q· · And so after SB 1 was enacted and you wanted -- and
·9· you were having a townhall, you became familiar with the
10· provisions of SB 1; is that correct?
11· · · ·A· · Well, for the most part.· Not all of it.· I mean,
12· it's a very long bill.· 76 pages.
13· · · ·Q· · And so let's look at Page 26.
14· · · ·A· · (Complies with request.)· Okay.
15· · · ·Q· · Okay.· And looking at your -- in the last paragraph
16· where it starts with, Thank you for the question.
17· · · ·A· · Oh, oh, you -- I'm sorry.· I was on this bill.· Now
18· you were going where?
19· · · ·Q· · Looking at Page 26 of your -- of the transcript where
20· it says, Ms. Collier -- we will look at the question before,
21· which is by Ms. Kelly.
22· · · ·A· · I don't see the part where -- so there was a section
23· in here where someone questioned what I said.· Did you get the
24· complete transcript where the chairman came back and clarified
25· everything and showed that I did not mislead the committee?




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·1· · · ·Q· · Do you know what that was particularly about?
·2· · · ·A· · Well, if you go back to Page 13, and it says,
·3· Mr. Sessions, and it was about a COLA.· I said something about
·4· a COLA and he said that I gave not truthful -- this is not
·5· truthful, and then Mr. Raskin said, I'm sure that there will be
·6· a clarification if there was any misstatement, and then there
·7· -- there was a clarification.
·8· · · ·Q· · Okay.· I did not print out the clarification --
·9· · · ·A· · Well, I think that's -- I mean, literally, if you're
10· going to leave something in there like that, I'd like to have
11· the whole concept, because I don't want to leave people
12· thinking that I did not -- that I was giving a misstatement
13· there or not truthful.
14· · · ·Q· · I didn't include it because that wasn't what I was
15· looking at --
16· · · ·A· · Well, to me, it matters.
17· · · ·Q· · -- but my apologies for not including it.
18· · · ·A· · Oh, okay.
19· · · ·Q· · If you can turn, though, to Page 26.
20· · · ·A· · All right.· And so Ms. Kelly says:· Thank you,
21· Representative Thompson, Representative Collier.· You also
22· represent rapidly growing cities.· According to the census,
23· Houston, which is going to overtake Chicago if you're not
24· careful, and Dallas Metro areas had the largest population
25· gains of any metro region between 2010 and 2020.




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·1· Representative Collier, have you seen voter suppression efforts
·2· in Austin intensify in response to this population growth?· And
·3· then -- did I read that correctly?
·4· · · ·A· · That's what -- yes.
·5· · · ·Q· · Okay.
·6· · · ·A· · Rep. Collier, yeah.
·7· · · ·Q· · And you then say:· Thank you for the question.· In
·8· fact, too often we look for overt and obvious signs of
·9· suppression, but suppression can be emulated in long lines; it
10· could be creating harsher penalties for making simple mistakes.
11· So it may not look like the poll tax and the literacy test of
12· old time, but suppression can rear it's ugly head in various
13· subtle forms.· And so going back to the question about if we
14· have ballots that have multiple languages on them, the only
15· reason that we have that is because of the protections of the
16· Voting Rights Act of 1965.· Did I read that part correctly?
17· · · ·A· · Yes.
18· · · ·Q· · (Reading.)· In 1975, the State of Texas was required
19· to provide multiple languages in the ballot only because we
20· have the protections under the Voting Rights Act, which only
21· elevates and shows the need for having this type of provision
22· again.· So Texas was made to do these multiple languages, it
23· wasn't on its own, and so unless we have federal intervention,
24· we will continue to see a chipping away of our rights.· Did I
25· read that correctly?




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·1· · · ·A· · Yes.
·2· · · ·Q· · Okay.· So I wanted to go towards a line that you
·3· said, which is, It could be creating harsher penalties for
·4· making simple mistakes, and can you please tell me what you
·5· meant with that particular statement?
·6· · · ·A· · I don't remember.· It's a lot of things that the bill
·7· did that would criminalize simple mistakes.
·8· · · ·Q· · Okay.· I want to turn to SB 1, and looking at
·9· Section 9.03.
10· · · ·A· · What page is that?
11· · · ·Q· · And that's going to be starting on 72.
12· · · ·A· · Okay.
13· · · ·Q· · Yes.
14· · · ·A· · (Reviewing.)· Okay.
15· · · ·Q· · And so we see that this says -- starting on Line 8,
16· Section 64.012, Election Code, is amended.· And if we look at
17· A, it says:· A person commits offense if the person knowingly
18· or intentionally.· Did I read that correctly?
19· · · ·A· · Yes.
20· · · ·Q· · And so knowingly or intentionally are underlined;
21· correct?
22· · · ·A· · Yes.
23· · · ·Q· · And that means that language was added to the bill;
24· is that correct?
25· · · ·A· · Yes, because we discussed that --




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·1· · · ·Q· · Okay.
·2· · · ·A· · -- in the -- HB 6.
·3· · · ·Q· · And so was this a provision that you supported -- a
·4· change that you supported?
·5· · · ·A· · I think it -- it increased the -- was it mens rea or
·6· the knowledge level?· So it wasn't just, You did it recklessly,
·7· or something.· It -- it had to be knowingly and intentional.
·8· So what is that?· The standard, I guess, or -- or the -- it --
·9· it made it -- it increased it, so -- but this is SB 1.· What
10· was it in SB 7?
11· · · ·Q· · Well, I was just asking -- we're trying to compare
12· some of the concerns you have regarding SB 7.
13· · · ·A· · I know, but if you compare my testimony from this
14· date, which was before SB 1, then that's not the same at the
15· time when I was giving the statement.
16· · · ·Q· · And I recognize that.
17· · · ·A· · Oh, okay.
18· · · ·Q· · I am simply asking whether after you gave your
19· testimony the legislature added language that said, A person
20· commits an offense if the person knowingly or intentionally.
21· · · ·A· · But I think we discussed that before.· I feel like we
22· discussed that during the conference committee about that --
23· that standard, knowingly or intentionally.
24· · · ·Q· · And so that standard that you discussed in the
25· conference committee was added to Section 9.03 in SB 1; is that




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·1· correct?
·2· · · ·A· · I don't know if -- I mean, I --
·3· · · · · · · · ·MR. BLEDSOE:· Objection to form,
·4· mischaracterizes testimony.
·5· BY THE WITNESS (resuming):
·6· · · ·A· · I feel like that may have been in the -- the -- SB 7
·7· already.· The -- let's see here.· I don't know, but I know --
·8· because I know we discussed that.· Like, is it knowingly and
·9· intentionally or intentionally, knowing and intentionally or if
10· it's recklessly, negligently.
11· · · ·Q· · Would you agree that adding language that makes it --
12· the offense only applicable if a person knowingly or
13· intentionally commits the offense helps ensure that you don't
14· have somebody being convicted for a simple mistake?
15· · · · · · · · ·MR. BLEDSOE:· Objection to form; the question is
16· misleading.
17· BY THE WITNESS (resuming):
18· · · ·A· · I think that it provides -- I mean, literally, you
19· can get arrested and then explain later, so I think that it --
20· it could reduce, but it doesn't eliminate because this is
21· subjective and they have to prove that you knowingly or
22· intentionally did it.· So that's an arrest now, explain later,
23· to me.
24· · · ·Q· · Okay.· Before conviction, it increased the standard;
25· is that correct?· It increased the mens rea?




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·1· · · ·A· · For a conviction?· I mean, but it doesn't eliminate
·2· the process.· I mean literally there could be people that get
·3· caught up in that whole system and then they have to prove --
·4· or they have to -- well, I know the prosecution, they have to
·5· prove the case, but then literally it takes a lot of time to
·6· try to disprove or -- or wait for them to prove out their case.
·7· I think it doesn't eliminate the chances of because it's so
·8· subjective.· To me, it seems like you could still get arrested
·9· for that.
10· · · ·Q· · Well, do you think it reduces the chances?
11· · · ·A· · I --
12· · · · · · · · ·MR. BLEDSOE:· Objection to form.
13· BY THE WITNESS (resuming):
14· · · ·A· · I don't know if it reduces.· I think -- I don't know.
15· I'd like to think it did, but I don't -- I don't -- I can't say
16· that it will.
17· · · ·Q· · Is this a change that you think is a positive change
18· to the Texas Election Code?
19· · · · · · · · ·MR. BLEDSOE:· Objection to form.
20· BY THE WITNESS (resuming):
21· · · ·A· · It was better than -- well, because, again, we don't
22· have the votes to -- to -- to do away with it, so a lot of
23· things that Democrats do is we -- we compromise and we try to
24· enhance or improve or limit the harmful effect that bills will
25· have on the people that we represent.· And so, in my view,




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·1· increasing or heightening the standard is better than what a
·2· regular standard -- you know, a lower standard, if that makes
·3· any sense.· Lower -- you know, you don't want it to be so low,
·4· so you -- you work with what you got, and we didn't have the
·5· votes to just say, Remove it.
·6· · · ·Q· · And let's look at the next page where it has, B, an
·7· offense under this subsection.
·8· · · ·A· · Okay.
·9· · · ·Q· · And it reads:· An offense under this section is
10· classified as Class A misdemeanor.· Did I state that correctly?
11· · · ·A· · Right.
12· · · ·Q· · Okay.· And Class A misdemeanor is underlined;
13· correct?
14· · · ·A· · Yes.
15· · · ·Q· · And so that was language that was added to the
16· election code; is that correct?
17· · · ·A· · Yes.
18· · · ·Q· · And let's look at what was stricken.· (Reading.)
19· Felony of the second degree unless the person is convicted of
20· an attempt.· In that case, the offense is a state jail felony.
21· Did I read the stricken language correctly?
22· · · ·A· · Felony -- yes.
23· · · ·Q· · Okay.· So prior to Senate Bill 1, an offense under
24· this particular provision was considered a felony; is that
25· correct?




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·1· · · ·A· · Well, no, because this provision added Section 5, so
·2· it's -- we're not comparing the same ones.
·3· · · ·Q· · Okay.· To your knowledge --
·4· · · ·A· · Oh, that's what it was, they added intentionally.
·5· Okay.· Go ahead.· I'm sorry.
·6· · · ·Q· · So if we look at -- you have Section 5 -- one, two
·7· and -- one, two, three, four --
·8· · · ·A· · Section 5.· Okay.· On Page 72?
·9· · · ·Q· · Yeah.· So let's look at Number A -- let's look at
10· Letter A.
11· · · ·A· · Okay.
12· · · ·Q· · (Reading.)· So the person commits an offense if the
13· person knowingly or intentionally.· It then lists five types of
14· offenses or actions that can constitute an offense; is that
15· correct?
16· · · ·A· · Yes.
17· · · ·Q· · Okay.· The first four are not underlined; is that
18· correct?
19· · · ·A· · Well, there's one that struck something from it.
20· They struck the knowingly of the --
21· · · ·Q· · But these four provision -- these four actions that
22· could be considered offenses preexisted SB 1; is that correct?
23· · · ·A· · Yes --
24· · · ·Q· · Okay.
25· · · ·A· · -- the four of them did.




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·1· · · ·Q· · Yes, and that includes:· Votes or attempts to vote in
·2· an election which the person knows the person is not eligible
·3· to vote; two, votes or attempts to vote more than once in an
·4· election; three, votes or attempts to vote a ballot belonging
·5· to another person or by impersonating another person; four,
·6· marks or attempts to mark any portion of another person's
·7· ballot without the consent of that person or without specific
·8· direction from that person how to mark the ballot.· Did I read
·9· those four correctly?
10· · · ·A· · Yes, because you removed the word knowingly from each
11· one of them.
12· · · ·Q· · And so those four offenses preexisted Senate Bill 1;
13· correct?
14· · · ·A· · The four offenses, yes, the votes or attempts to vote
15· -- I guess they didn't have the knowingly on the votes or
16· attempts to vote, but they added the knowingly or intentionally
17· to it at the top on the first one.
18· · · ·Q· · And so then SB 1 added a fifth act that could
19· constitute an offense, and that is:· Votes or attempts to vote
20· in an election in the state after voting in another state in an
21· election in which a federal office appears on the ballot and
22· the election day for both states is the same day.
23· · · ·A· · Yeah, I don't know how that happens, but, yes, I see
24· that.
25· · · ·Q· · Okay.· And so when we look at B, where it says, An




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·1· offense under this section is a Class A misdemeanor as opposed
·2· to a felony of the second degree, it made the four preexisting
·3· offenses a misdemeanor as opposed to a felony, which it was
·4· before SB 1; is that correct?
·5· · · ·A· · I think that may have been Cain who wanted that
·6· because they increased some and then they reduced some.
·7· · · ·Q· · But the statement that, An offense under this section
·8· is a Class A misdemeanor, covers the four actions that were
·9· considered offenses prior to the existence of Senate Bill 1; is
10· that correct?
11· · · ·A· · That were felony of the second degree.· Do we still
12· have that?· Do we still have second-degree felonies in Texas?
13· I think we do.
14· · · ·Q· · I couldn't state.
15· · · ·A· · Oh.
16· · · ·Q· · I only can say --
17· · · ·A· · Well, sometimes they would --
18· · · ·Q· · -- with respect to the election.
19· · · ·A· · Well, sometimes they changed that because we no
20· longer have that offense, but, okay, a Class A misdemeanor.
21· · · ·Q· · And so you'd agree with me that this provision in
22· Senate Bill 1 changed to a Class A misdemeanor for pre-existing
23· election offenses that were listed in Section A.
24· · · · · · · · ·MR. BLEDSOE:· Objection to form --
25· BY THE WITNESS (resuming):




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·1· · · ·A· · What?· Say that --
·2· · · · · · · · ·MR. BLEDSOE:· -- mischaracterizes the
·3· testimony (ph).
·4· BY THE WITNESS (resuming):
·5· · · ·A· · For pre-existing?
·6· · · ·Q· · You stated that Provisions 1 through 4 preexisted
·7· Senate Bill 1 and were offenses under this section; correct?
·8· · · ·A· · They were already in the election code, yes.
·9· · · ·Q· · Yes.· And so where Provision B, which says, An
10· offense under this section is a Class A misdemeanor, that
11· reduced the level of -- from felony to a misdemeanor the four
12· offenses that existed in that provision of the election code
13· prior to Senate Bill 1.
14· · · ·A· · I don't know.
15· · · · · · · · ·MR. BLEDSOE:· Objection, form.
16· BY THE WITNESS (resuming):
17· · · ·A· · I don't know if it did all of that, because literally
18· I wasn't there to flesh this part out.
19· · · ·Q· · Okay.· Do you --
20· · · ·A· · But I -- I do remember, again, there were some parts
21· that Cain -- Chair Cain wanted to reduce and then there was
22· other parts where they wanted to enhance the penalties.
23· · · ·Q· · And do you know who sponsored Senate Bill 1 in the
24· House offhand?
25· · · ·A· · Oh, no, I wasn't there.· I don't know.




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·1· · · ·Q· · And you don't know if it was Senate -- if it was
·2· Representative Cain who sponsored it -- correct? -- or some
·3· other representative.
·4· · · ·A· · I don't think he did, though.
·5· · · ·Q· · You don't think he sponsored Senate Bill 1; correct?
·6· · · ·A· · No, I don't.
·7· · · ·Q· · Okay.· Do you consider reducing the offenses from a
·8· felony, the second-degree, to a Class A misdemeanor as a way of
·9· helping to ensure that a voter is not convicted of -- simply by
10· making a mistake?
11· · · · · · · · ·MR. BLEDSOE:· Objection to form.
12· BY THE WITNESS (resuming):
13· · · ·A· · Do I -- what -- what is the question?
14· · · ·Q· · That it reduces the chances of an individual being
15· caught up as a result of a simple mistake.
16· · · · · · · · ·MR. BLEDSOE:· Objection to form.
17· BY MS. HUNKER (resuming):
18· · · ·Q· · It, in this case, being a reduction from a Class 2
19· Felony to a Class A misdemeanor.
20· · · · · · · · ·MR. BLEDSOE:· Objection to the form of the
21· question.
22· BY THE WITNESS (resuming):
23· · · ·A· · I'm going to tell you what I heard your question to
24· mean -- this is what I think you asked me:· Do I believe that
25· changing the penalties from a class -- I mean from a




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·1· second-degree felony to a Class A misdemeanor provides -- it
·2· helps people from being convicted of -- of the -- one of these
·3· offenses.
·4· · · ·Q· · As a result of a simple mistake.
·5· · · ·A· · I don't -- that's not a proper question.· I -- I
·6· don't even see how that even works because, changing the
·7· penalty, I can't see how that would do that.
·8· · · ·Q· · Okay.
·9· · · ·A· · Changing the penalty?
10· · · ·Q· · Well, so you say here it could be creating harsher
11· penalties for making a simple mistake.· Would you agree that
12· this is creating lesser penalties for making a simple mistake?
13· · · ·A· · No, because you added another provision to get caught
14· up on, if that's what you're -- I mean, you've got -- now
15· you've got five.· You had four and now you have five.
16· · · ·Q· · So the four that preexisted, do you think it is
17· creating a less-harsh penalty for making a simple mistake?
18· · · · · · · · ·MR. BLEDSOE:· Objection to form.
19· BY THE WITNESS (resuming):
20· · · ·A· · Well, we're not working under those circumstances.
21· We're working under five.
22· · · ·Q· · We're working with respect to those four.
23· · · ·A· · No, that's speculation, because literally we're
24· working under five, and if you look at the totality of this,
25· there's multiple ways that somebody can have a criminal penalty




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·1· launched against them or charges filed against them in this
·2· bill.
·3· · · ·Q· · And we can put that document aside.
·4· · · ·A· · (Complies with request.)
·5· · · ·Q· · So are you aware of how poll workers are assigned?
·6· · · ·A· · Poll workers?
·7· · · ·Q· · Sorry -- poll watchers are assigned.
·8· · · ·A· · Poll watchers.· You mean before or after this bill?
·9· · · ·Q· · Is it your understanding that how poll watchers were
10· assigned change under SB 1?
11· · · ·A· · Well, I think it did.
12· · · ·Q· · Did your campaign seek to appoint poll watchers?
13· · · ·A· · No.
14· · · ·Q· · Has your campaign ever appointed a poll watcher?
15· · · · · · · · ·MR. BLEDSOE:· Objection to form.
16· BY THE WITNESS (resuming):
17· · · ·A· · I don't think so
18· · · ·Q· · (Provides exhibit.)
19· · · · · · · · ·THE WITNESS:· I think it's Exhibit 22.
20· · · · · · · · ·MR. BLEDSOE:· Yeah.
21· · · · · · · · ·THE WITNESS:· Is she on 22?
22· · · · · · · · ·COURT REPORTER:· Oh, yeah.· 22 is your next one,
23· yeah.
24· BY MS. HUNKER (resuming):
25· · · ·Q· · I'm introducing Exhibit 22.· And so do you have the




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·1· document in front of you?
·2· · · ·A· · Yes.· Exhibit 22, yes.
·3· · · ·Q· · Okay.· And have you ever visited the
·4· TexasDemocrats.org website?
·5· · · · · · · · ·MR. BLEDSOE:· Can I have a courtesy copy of it?
·6· · · · · · · · ·MS. HUNKER:· Oh, sorry.· (Provides exhibit.)
·7· BY THE WITNESS (resuming):
·8· · · ·A· · You said have I ever?
·9· · · ·Q· · Yes.
10· · · ·A· · I have, yes.
11· · · ·Q· · Okay.· And do you see on the bottom where it has the
12· URL code?
13· · · ·A· · The who?
14· · · ·Q· · URL code, the website name.
15· · · ·A· · You mean this webarchive.org, forward slash, web 20
16· -- is that --
17· · · ·Q· · Yes.
18· · · ·A· · Okay.
19· · · ·Q· · And then it says, https www.TexasDemocrats.org.
20· · · ·A· · Yes.
21· · · ·Q· · Okay.· Do you see on top where it says Work with
22· Us/Texas Democrat Party?
23· · · ·A· · It says Our Part (ph) -- oh, up here.· Yes.
24· · · ·Q· · And --
25· · · · · · · · ·MR. BLEDSOE:· That says Texas Democratic Party.




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·1· BY THE WITNESS (resuming):
·2· · · ·A· · Yes, Democratic Party.
·3· · · · · · · · ·MR. BLEDSOE:· You said Democrat party.
·4· BY MS. HUNKER (resuming):
·5· · · ·Q· · Democratic Party.· And are you familiar with this
·6· portion of the Texas Democratic Party's website?
·7· · · ·A· · No, I don't -- I haven't seen this one.
·8· · · ·Q· · Okay.· And so if we turn to Page 2, it says Current
·9· Job Openings.· Do you see that?
10· · · ·A· · You mean just the next page; correct?
11· · · ·Q· · Yes, the next page over.
12· · · ·A· · All right.· Current Job Openings.· Okay.
13· · · ·Q· · And do you see it has a list of positions?
14· · · ·A· · All right.
15· · · ·Q· · Okay.· And so if we turn the next page, you'll see
16· Voter Protection Organizer.· Do you see that?
17· · · ·A· · I see that on the front page, Voter Protection
18· Organize [sic].
19· · · ·Q· · Okay.· And let's look at the second paragraph:· We
20· seek a talented voter protection organizer to build a strong
21· team of volunteer attorneys, legal professionals and advocates
22· to observe polling places in all corners of the state.· Did I
23· read that correctly?
24· · · ·A· · Yes.· Oh, wait.· (Reviewing) ... and advocates to
25· observe -- yes.




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·1· · · ·Q· · Okay.· And then you see where it says below What
·2· You'll Do?
·3· · · ·A· · I see that word -- that -- that phrase, What You'll
·4· Do.
·5· · · ·Q· · And then the next paragraph reads:· As our voter
·6· protection organizer, you will spearhead the statewide poll
·7· watcher program, which will involve -- and then it lists a
·8· number of things that are involved with spearheading the
·9· statewide poll watcher program.· Is that a fair assessment?
10· · · ·A· · I have never seen this.· I don't even know what this
11· is.· So what -- what you said is exactly what it says.
12· · · ·Q· · Were you aware that the Texas Democratic Party hired
13· an individual to spearhead the statewide poll watcher program?
14· · · ·A· · No, I was not.
15· · · ·Q· · Were you aware the Texas Democratic Party organizes
16· volunteer poll watchers in Texas?
17· · · ·A· · No, I did not --
18· · · ·Q· · Okay.
19· · · ·A· · -- know that.
20· · · ·Q· · And do you know whether the Texas Democratic Party
21· sought to organize poll watchers in any of the elections
22· following SB 1?
23· · · ·A· · I worked with my local Democratic chair.· I don't
24· know if they did, like, if the Texas Democratic Party did, to
25· coordinate anything, but I know that there was -- it was hard




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·1· to find election workers, whether that was a -- you know,
·2· somebody to work at the poll like as a -- is it a clerk or
·3· something?· Everything.· They couldn't find people for any of
·4· that.· But I didn't know about this.· This is new to me.                   I
·5· think that's -- this is new.
·6· · · ·Q· · Were you aware that democratic campaigns will assign
·7· poll watchers to polling locations in Texas?
·8· · · ·A· · I knew that I could and a party could assign
·9· somebody, if you get a volunteer that does all of the stuff,
10· like takes the oath and all of that stuff for the poll watcher
11· stuff --
12· · · ·Q· · And you don't know --
13· · · ·A· · -- and takes a class.
14· · · ·Q· · -- the distribution of poll watchers in terms of the
15· number that would be Republican versus Democrat at any
16· particular polling.
17· · · ·A· · You know what?· So that was another question that we
18· had when we were getting ready for the townhall that I was
19· putting on, because it -- it wasn't very clear as to how many.
20· So say, for instance, all the people that are on the ballot
21· wanted to appoint one person to, you know, be at that
22· particular location and it seemed like you could have 45
23· people, you know, and then if you think about that one small
24· location that I was telling you about in Tarrant County, and it
25· just wouldn't be feasible to have that many people, but when




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·1· the secretary of state notified us that there is a limit on the
·2· number of people that could be appointed at one location as a
·3· poll watcher.
·4· · · ·Q· · And do you know the distribution in the state of
·5· Texas, whether there are more Democrat poll watchers or
·6· Republican poll watchers?
·7· · · ·A· · So that was another question I asked, because if you
·8· reached that limit, who gets to decide if -- like, if -- who's
·9· there, and they said it would be up to the election judge, but,
10· you know, typically it's first-come, so everybody that's -- if
11· democratic is there first, then that could be filled up, but
12· they said it would be left to the election judges is what I
13· recall.· But I don't know the exact number in a particular
14· election.
15· · · ·Q· · And so you had to look statewide to see what -- what
16· the distribution would be between Republican and Democratic
17· poll watchers; is that correct?
18· · · ·A· · Where would I find that?
19· · · ·Q· · I'm just wondering if you've looked.
20· · · ·A· · I would if I could find it.
21· · · ·Q· · And so you haven't found it.
22· · · ·A· · But I don't know where I would look.
23· · · ·Q· · We can put that aside.
24· · · ·A· · Okay.
25· · · ·Q· · And were you aware of any controversies in 2020




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·1· regarding poll watchers being sequestered from polling -- for
·2· voting activities?
·3· · · ·A· · What do you mean by sequestered?
·4· · · ·Q· · Have you heard of poll watchers being put in a
·5· separate room from the polling -- voting activities that are
·6· ongoing?
·7· · · ·A· · The poll watchers --
·8· · · ·Q· · Yes.
·9· · · ·A· · -- being put in a separate room?· I don't know what
10· that means.
11· · · ·Q· · Did you hear of any controversy regarding
12· Dana DeBeauvoir, 5, the Travis County -- County Clerk regarding
13· sequestering of poll watchers?
14· · · ·A· · No, I didn't.· I'm not aware of anything.
15· · · ·Q· · When you were considering HB 6 and Senate Bill 7, did
16· that topic come up for conversation?
17· · · ·A· · I don't recall.
18· · · ·Q· · And have you read any of the election advisories
19· regarding poll watchers that were issued by the secretary of
20· state after the 20 -- after the implementation of Senate
21· Bill 1?
22· · · ·A· · Yes.· I read -- what do you mean by -- they gave out,
23· like, training because, remember, I was asking for it and they
24· did do it.
25· · · ·Q· · Okay.· And so let's actually look at Senate Bill 1




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·1· again --
·2· · · ·A· · Okay.
·3· · · ·Q· · -- and I just want to make sure we're talking about
·4· the same provision --
·5· · · ·A· · Oh, okay.
·6· · · ·Q· · -- before we move on.
·7· · · ·A· · Senate Bill 1?
·8· · · ·Q· · Yes.· I believe it to be 4-something.· Yes.· 4 --
·9· · · · · · · · ·COURT REPORTER:· It's Exhibit 16.
10· · · · · · · · ·THE WITNESS:· 16.· Thank you.
11· BY MS. HUNKER (resuming):
12· · · ·Q· · -- 44 --
13· · · ·A· · Just hang on.· I had put it back in order, so I have
14· to find it.· And what page?
15· · · ·Q· · Page 25, looking at Section 4.04 and then we're going
16· to look at Section 4.5.
17· · · ·A· · 25.· (Reviewing.)· Okay.· I'm at 25, and 4.?
18· · · ·Q· · -- 04.
19· · · ·A· · Okay.
20· · · ·Q· · It starts on Line 15.
21· · · ·A· · Uh-huh.
22· · · ·Q· · And so this amends event Section 33, and it says
23· Training Program.
24· · · ·A· · Yes.
25· · · ·Q· · (Reading.)· The secretary of state shall develop and




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·1· maintain a training -- training program for watchers.· The
·2· training program must:· 1, be available; (A), entirely via the
·3· Internet; and (B), at any time, without a requirement for prior
·4· registration; and 2, provide a watcher who completes the
·5· training with a certificate of completion.· Did I read that
·6· correctly?
·7· · · ·A· · Yes.
·8· · · ·Q· · And so was this the training program you were
·9· referencing?
10· · · · · · · · ·MR. BLEDSOE:· Object to form.
11· BY THE WITNESS (resuming):
12· · · ·A· · No, but that's part of it.
13· · · ·Q· · Okay.
14· · · ·A· · So there's a whole thing about how to implement --
15· like, what does it look like to reject a ballot, what does it
16· look like -- that, you know, how do you actually cure the --
17· you know, what is the process that a local election department
18· uses.· So there is model -- whether there's guidelines and --
19· and instruction, but, yes, this is part of it, too, because
20· this hadn't been done either at that time, but that's not the
21· only thing I was referencing.
22· · · ·Q· · Okay.· So the training program that's referenced by
23· Section 4.04 for poll watchers, that was added by
24· Senate Bill 1 --
25· · · · · · · · ·MR. BLEDSOE:· Objection to form.




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·1· BY MS. HUNKER (resuming):
·2· · · ·Q· · -- correct?
·3· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·4· BY THE WITNESS (resuming):
·5· · · ·A· · I don't -- it could have been in -- well, I mean, the
·6· engrossed version?· I assume that was in this bill.· I don't
·7· know if it was in HB 6.
·8· · · ·Q· · So let's talk specifically about Senate Bill 1.
·9· · · ·A· · Okay.· I see it right here.· This is Senate Bill 1
10· that I'm reading --
11· · · ·Q· · Okay.
12· · · ·A· · -- and it's in here.
13· · · ·Q· · And so the language is underlined; correct?
14· · · ·A· · Yes, that's -- that means it's new.
15· · · ·Q· · Okay.· So training programs are added; is that right?
16· · · ·A· · This part, yes.
17· · · ·Q· · Now, did you get a chance to review the secretary of
18· state's training program -- or training materials?
19· · · ·A· · I didn't, like, take the program -- I didn't take the
20· class, but it was available.· But it was literally up until the
21· deadline.· It wasn't much time in the March primary of 2022 for
22· this information to be out, but they did -- literally, they
23· were working under tight deadlines.· I mean, this bill became
24· effective September of 2021; right?
25· · · ·Q· · Do you think the implementation period was too short




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·1· for the secretary of state's office to fully implement the
·2· regulations to the extent it did implement them?
·3· · · ·A· · Well --
·4· · · · · · · · ·MR. BLEDSOE:· Objection to form, calls for
·5· speculation.
·6· BY THE WITNESS (resuming):
·7· · · ·A· · I would be guessing this -- on this one, but if you
·8· think about the magnitude of Texas and as many departments that
·9· the secretary of state would be responsible for contacting,
10· it's a large task for them, but there's no knock at them for
11· that.· I mean, they tried.
12· · · ·Q· · In your experience with Tarrant County, did you think
13· Tarrant County didn't have enough time to implement
14· Senate Bill 1?
15· · · · · · · · ·MR. BLEDSOE:· Object to the form, calls for
16· speculation.
17· BY THE WITNESS (resuming):
18· · · ·A· · I don't know.
19· · · ·Q· · Okay.· And did you happen to look at any of the
20· training material after the March primary, such as for the
21· primary runoff or in the summer?
22· · · ·A· · I don't think so.
23· · · ·Q· · And did you talk to any poll watcher who went through
24· training?
25· · · ·A· · You can't talk to poll watchers.




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·1· · · ·Q· · I meant after, not during --
·2· · · ·A· · Oh.
·3· · · ·Q· · -- the actual election.
·4· · · ·A· · I don't think so.
·5· · · ·Q· · Did you talk to any election worker or presiding
·6· judge about the training programs' effect on poll watchers?
·7· · · ·A· · I don't think we talked about that specifically.
·8· · · ·Q· · Okay.· And if we look at Section 4.05 --
·9· · · ·A· · Okay.· Yes.
10· · · ·Q· · -- it says Amends Section 33.031 of the Election
11· Code:· In addition to the requirements of Subsection A, to be
12· eligible to serve as a watcher, a person must complete training
13· under Section 33.008.· Did I read that correctly?
14· · · ·A· · Yes, that's what it says.
15· · · ·Q· · Okay.· And were you referencing this provision as
16· well when we were discussing the additional requirement for
17· training?
18· · · · · · · · ·MR. BLEDSOE:· Objection to form, calls for
19· speculation.
20· BY THE WITNESS (resuming):
21· · · ·A· · In addition to -- I don't know.· Would that -- I
22· mean, I guess this is a old -- in order to serve, you have to
23· be trained.· I guess they made sure that that was a
24· requirement.· I think this is what they're doing.
25· · · ·Q· · Okay.· And that language is underlined; correct?




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·1· · · ·A· · Yes.
·2· · · ·Q· · And so the requirement that a poll watcher undergo
·3· training was added under SB 1; correct?
·4· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·5· BY THE WITNESS (resuming):
·6· · · ·A· · It could have been and they just changed it up.                  I
·7· mean, the underline doesn't mean that it's -- it -- it means
·8· that it could be revised.· Maybe they just changed how it was
·9· worded, so...
10· · · ·Q· · Were you aware of any requirement that poll watchers
11· undergo training prior to SB 1?
12· · · ·A· · I was not.
13· · · ·Q· · You mentioned that you were pushing the training
14· program; is that right?
15· · · ·A· · No.· I supported that.· I mean, there should be some
16· training because if you're going to have -- if they have the
17· ability -- I was pushing for training and penalties for them,
18· too.· Because, like, if you go on Page 27, you get more
19· penalties -- this is a new penalty for an election officer, G,
20· Line 12.· They get a Class A misdemeanor.· And so, again,
21· they're creating more penalties here.
22· · · ·Q· · So let's look at Subsection 8 -- sorry -- H:· Before
23· accepting a watcher, the officer presented with a watcher's
24· certificate of appointment shall require the watcher take the
25· following oath, administered by the officer, I swear or affirm




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·1· that I will not disrupt the voting process or harass voters in
·2· the discharge of my duties.· Did I read that correctly?
·3· · · ·A· · That's what it says.
·4· · · ·Q· · And so, if you remember back when you were discussing
·5· Senate Bill 7, there was a conversation between you and
·6· Representative Cain about the oath -- about an oath for poll
·7· watchers.· If you don't recall, we can --
·8· · · ·A· · An oath for poll -- maybe I did.· I don't know.· You
·9· mean in the transcript that you gave me?
10· · · ·Q· · Yes.
11· · · ·A· · In here?· Was it the testimony that we had back and
12· forth on the floor?
13· · · ·Q· · Yes.
14· · · ·A· · Okay.· Yes, I remember seeing -- I remember something
15· like that.
16· · · ·Q· · Okay.
17· · · ·A· · Oh, so we talked about whether poll watchers -- it
18· wasn't an oath, was it?· I -- I felt like it was something else
19· that we talked about on the floor.
20· · · ·Q· · Were you aware if -- that poll watchers -- were you
21· aware if poll watchers had to take an oath prior to SB 1?
22· · · · · · · · ·MR. BLEDSOE:· Objection to form.
23· BY THE WITNESS (resuming):
24· · · ·A· · I'm not sure.· They probably -- I know they had to
25· wear a tag -- a name tag.




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·1· · · ·Q· · So you don't know if they had to take an oath before
·2· SB 1; correct?
·3· · · ·A· · I -- I don't think it had the same intention like it
·4· did with this, if they did.· I don't know.
·5· · · ·Q· · We can put that aside for now.
·6· · · ·A· · Okay.
·7· · · ·Q· · And so I want to take a look at one of the election
·8· advisories that was --
·9· · · ·A· · 23, it looks like.
10· · · · · · · · ·MR. BLEDSOE:· It's 23?
11· · · · · · · · ·MS. HUNKER:· Yes.
12· BY MS. HUNKER (resuming):
13· · · ·Q· · Have you looked at -- have you seen this particular
14· election advisory before?
15· · · ·A· · I don't think so.
16· · · ·Q· · Okay.· And you see on the top where it says Texas
17· Secretary of State; correct?
18· · · ·A· · Yes.
19· · · ·Q· · And you see where it says Election Advisory 2022-09?
20· · · ·A· · Yes.
21· · · ·Q· · Okay.· And the date of this is February 4th, 2022.
22· · · ·A· · Yes, and I think early voting started like
23· February 16th or something like that.
24· · · ·Q· · And so you -- let's look at Purpose and Duty of
25· Poll Watchers.· This states:· Section 33.0015 of the code




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·1· provides:· It is the intent of the legislature that poll
·2· watchers duly accepted for service under Chapter 33 be allowed
·3· to observe and report on irregularities in the conduct of any
·4· election, but may not interfere in the orderly conduct of an
·5· election.· Did I read that sentence correctly?
·6· · · ·A· · That's what it says --
·7· · · ·Q· · Okay.
·8· · · ·A· · -- but I don't know how they could think (ph) -- does
·9· it say that in our bill -- the bill?· It says the intent?
10· · · ·Q· · Let's look at that particular section.· If you go
11· back to Senate Bill 1 --
12· · · ·A· · Well, not our bill.· It's the state bill, not mine.
13· I didn't -- I wouldn't have voted for it.· Where -- where are
14· you going to?
15· · · ·Q· · We're going to look at Page 24 of SB 1.
16· · · ·A· · Okay.· 24.· (Reviewing.)· Okay.
17· · · ·Q· · And we're looking at -- sorry -- Section 4.02.
18· · · ·A· · Okay.
19· · · ·Q· · And so if we read Section 4.02, it says it amends
20· Section 33.0015 of the election code.· Do you see that?
21· · · ·A· · Yes.
22· · · ·Q· · And it says:· The purpose of this chapter is to
23· preserve the integrity of the ballot box in accordance with
24· Section 4, Article 6, of the Texas Constitution by providing
25· for the appointment of watchers.· Did I read that correctly?




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·1· · · ·A· · Yes.
·2· · · ·Q· · (Reading.)· It is the intent of the legislature that
·3· watchers duly accepted for service under this chapter be
·4· allowed to observe and report on irregularities in the conduct
·5· of the election, but may not interfere in the orderly conduct
·6· of the election.· Did I read that correctly?
·7· · · ·A· · Yes, that's what it says.
·8· · · ·Q· · Okay.· And would you agree that that is the section
·9· that the secretary of state is referencing in Election Advisory
10· 2022-09?
11· · · · · · · · ·MR. BLEDSOE:· Objection to form --
12· BY THE WITNESS (resuming):
13· · · ·A· · I don't --
14· · · · · · · · ·MR. BLEDSOE:· -- calls for speculation.
15· BY THE WITNESS (resuming):
16· · · ·A· · I don't know.
17· · · ·Q· · Would you agree with me that at the beginning of that
18· paragraph that we read that said Purpose and Duty of
19· Poll Watcher says Section 33.0015 of the code?
20· · · ·A· · I mean, it's written there.· It says Section 33.0015
21· of the code.· That's what it says, but I don't know if that was
22· the intent.· I don't know.
23· · · ·Q· · And let's look at removal of a poll watcher, which is
24· on the reverse side.
25· · · ·A· · (Complies with request.)




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·1· · · ·Q· · Do you see where it says Removal of the Poll Watcher?
·2· · · ·A· · What -- oh, down here at the bottom.· Okay.
·3· · · ·Q· · Okay.
·4· · · ·A· · I was looking up here because I see a arrow.· Because
·5· up here it says, B, a poll, and then there's a big space, and
·6· it goes down to the next line, so I was like -- that caught me,
·7· like, what happened there.· Why did the sentence -- like,
·8· something's missing at the top.· Like, is there something
·9· missing from that statement?· But okay.· Now I see at the
10· bottom, Removal of a Poll Watcher.
11· · · ·Q· · Okay.· And if we look at the last sentence, it says:
12· A presiding judge may call a law enforcement officer to request
13· that a poll watcher be removed if the poll watcher commits a
14· breach of the peace or a violation of law.· Did I read that
15· correctly?
16· · · ·A· · Yes.· It says, May call a law enforcement officer to
17· request that a poll watcher be removed if the poll watcher
18· commits a breach of the peace.
19· · · ·Q· · And have you at any time looked to see what
20· violations of the law were referenced by the code?
21· · · ·A· · I have not looked at it.
22· · · ·Q· · Okay.· And have you looked to see what the definition
23· of breach of the peace means in -- with respect to the election
24· code?
25· · · ·A· · Not in terms of SB 1.




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·1· · · ·Q· · Okay.· And did you look at any of those referenced
·2· provisions prior to SB 1?
·3· · · ·A· · I feel like we discussed that during the conference
·4· committee about what that was, and I think that gets to what I
·5· was asking Chair Cain on the floor about the -- if -- if a -- I
·6· mean if there is a -- somebody causes physical harm, if they
·7· could be removed.
·8· · · ·Q· · And are you aware of an incident where a presiding
·9· judge wanted to remove a poll watcher but could not because of
10· Senate Bill 1?
11· · · ·A· · I have not looked into that.
12· · · ·Q· · And are you aware of any incidents since the passage
13· of Senate Bill 1 where a poll watcher either harassed or
14· intimidated a voter?
15· · · ·A· · I have not looked into that.
16· · · ·Q· · And we can put that aside.
17· · · ·A· · (Complies with request.)
18· · · · · · · · ·MS. HUNKER:· If you want, Representative
19· Collier, we can take a quick 10-minute break and let me look at
20· my notes, but I think we're pretty close to being finished.                I
21· might only have one small thing.
22· · · · · · · · ·THE WITNESS:· Okay.
23· · · · · · · · ·VIDEOGRAPHER:· Going off the record at 7:47 p.m.
24· · · · · · · · ·(A recess was taken.)
25· · · · · · · · ·VIDEOGRAPHER:· We are back on the record at




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·1· 8:08 p.m.
·2· BY MS. HUNKER (resuming):
·3· · · ·Q· · Representative Collier, I really thank you for your
·4· patience.· I think we're in the final stretch --
·5· · · ·A· · Okay.
·6· · · ·Q· · -- so hopefully we'll be wrapping this up pretty
·7· soon.· So would you agree that the State has a legitimate
·8· interest in preventing voters from being coerced into casting a
·9· vote for or against a particular candidate?
10· · · ·A· · Coerced?
11· · · · · · · · ·MR. BLEDSOE:· Object to the form of the
12· question.
13· BY THE WITNESS (resuming):
14· · · ·A· · I -- I -- I don't understand.· What do you mean
15· coerced?· That the State should -- say that again.
16· · · ·Q· · Do you agree the State has a legitimate interest in
17· preventing voters from being coerced into casting a vote for or
18· against a particular candidate or proposition?
19· · · · · · · · ·MR. BLEDSOE:· Object to the form of the
20· question.
21· BY THE WITNESS (resuming):
22· · · ·A· · I -- I can't -- I -- I don't agree with the -- the
23· statement.
24· · · ·Q· · Okay.· What don't you agree about it?
25· · · ·A· · The way it's -- it's -- the way -- okay.· So we




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·1· should make sure that people can vote -- can elect the
·2· candidate of their choice.
·3· · · ·Q· · Okay.· Would you agree that the State has a
·4· legitimate interest in ensuring that voters can elect their
·5· candidate of their choice?
·6· · · ·A· · Yes.
·7· · · ·Q· · Do you think the State has an interest in protecting
·8· the secrecy of the ballot?
·9· · · ·A· · I don't know what that word means -- that phrase
10· means, secrecy of the ballot.· What -- what do you mean by
11· that?
12· · · ·Q· · I mean that no one would be able to see who or what
13· you voted for.
14· · · ·A· · Well, I mean, I think that some of those provisions
15· may allow for that.
16· · · ·Q· · Would you agree the State has an interest in
17· protecting the secrecy of the ballot, though?
18· · · ·A· · Like, your vote should be your vote.· I think that
19· that is very important, so that should be a priority and it's
20· -- yeah.
21· · · ·Q· · Do you think the State has a legitimate interest in
22· assuring [sic] that the person casting the vote is the person
23· registered to vote?
24· · · ·A· · And -- and when you say legitimate interest, can you
25· explain that to me?




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·1· · · ·Q· · Simply, do you think the State has an interest in
·2· advancing this particular objective?
·3· · · ·A· · Advancing -- well, I mean --
·4· · · ·Q· · So does the State have an interest in ensuring that
·5· the person casting the vote is the person registered to vote?
·6· · · ·A· · I wouldn't say an interest.· Maybe have a role, but
·7· it may not be an interest.
·8· · · ·Q· · Do you think the State has a role in ensuring that
·9· the person casting the vote is the person registering to vote?
10· · · ·A· · In the context of enacting laws, I would think that
11· that has a -- that plays a part into that question.
12· · · ·Q· · And so I want to introduce Exhibit 24.
13· · · ·A· · Okay.
14· · · ·Q· · All right.· Do you see that this says House Journal?
15· · · ·A· · Yes.
16· · · ·Q· · And it says the 80th Legislature Regular Session; is
17· that correct?
18· · · ·A· · Yes, that's what it said.
19· · · ·Q· · And then we see the date of Monday, April 23rd, 2007.
20· · · ·A· · Okay.
21· · · ·Q· · And so I want to go -- turn the page where on the top
22· it has 2224.
23· · · ·A· · (Complies with request.)· All right.
24· · · ·Q· · And then do you see where it says HB 218 remarks?
25· · · ·A· · Yes.




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·1· · · ·Q· · Now, Representatives are allowed to put written
·2· remarks explaining why they did or did not vote toward a bill;
·3· is that correct?
·4· · · ·A· · I don't know if it's -- like, I don't know how they
·5· would put it down as remarks, but there is ability for you to
·6· say, you know, why you voted a certain way on a bill or you can
·7· give a speech, I guess.
·8· · · ·Q· · Okay.· And do you see where it says
·9· Representative Anchia?
10· · · ·A· · Yes.
11· · · ·Q· · Okay.· And so I want to look to the third paragraph
12· where it says, We know that there is no.
13· · · ·A· · Yes.
14· · · ·Q· · Okay.· It says:· We know that there is no evidence of
15· it, but if this body wants to create an opportunity for voter
16· fraud, then vote for HB 218.· In fact, that Section 3, Part A,
17· of HB 218 creates a wonderful opportunity for people at a
18· low-cost to be able to impersonate someone else by saying that
19· this is valid employee ID and no poll worker, election worker,
20· no election judge will be to discern a valid from an invalid
21· ID.· Did I read that correctly?
22· · · ·A· · That's what that says.
23· · · ·Q· · Okay.· And let's look at the next sentence where it
24· says, Furthermore.
25· · · ·A· · Okay.· Yes.· Well, hang on.· (Reviewing.)· Yeah.




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·1· · · ·Q· · (Reading.)· Furthermore, there's another wonderful
·2· loophole in this bill that creates a glaring weakness that
·3· essentially allows vote by mail to continue without voter
·4· identification.· Vote by mail that we know is the greatest
·5· source of voter fraud in this state.· In fact, all of the
·6· prosecutions by the attorney general -- I shouldn't say all,
·7· but a great majority of the prosecutions by the attorney
·8· general occur with respect to vote by mail.· Did I read that
·9· correctly?
10· · · ·A· · Yes.
11· · · ·Q· · Were you aware -- actually, I'm going to take a step
12· back.· Do you agree with Representative Anchia's statement that
13· vote by mail is the greatest source of voter fraud in the
14· state?
15· · · · · · · · ·MR. BLEDSOE:· Objection to form, assumes facts
16· not in evidence.
17· BY THE WITNESS (resuming):
18· · · ·A· · This is what I remember:· Somebody brought this up to
19· Chairman Anchia, and if I recall correctly, there was -- but it
20· didn't take into account the totality of the circumstances, and
21· I don't know if this was taken out of context or what, but I'm
22· not going to speculate on what he said and what he meant by
23· what he said because you can ask him.
24· · · ·Q· · Okay.· Do you think that vote by mail is a source of
25· voter fraud in this state?




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·1· · · ·A· · The secretary of state has not made that statement.
·2· · · ·Q· · Okay.· And are you only basing it off the secretary
·3· of state's represent --
·4· · · ·A· · Well, they're in charge of -- the secretary of state
·5· is in charge of our elections, so we look to the secretary of
·6· state to collect the data and the information.· I don't recall
·7· -- and then I guess the attorney general's office does the
·8· prosecutions, so I -- I don't know.
·9· · · ·Q· · So I'm asking do you think, though, that voter
10· fraud --
11· · · · · · · · ·MR. BLEDSOE:· Object to form.
12· BY MS. HUNKER (resuming):
13· · · ·Q· · -- vote by mail is a source of voter fraud in the
14· state?
15· · · · · · · · ·MR. BLEDSOE:· Object to form.
16· BY THE WITNESS (resuming):
17· · · ·A· · I would need to review the data and -- and the -- the
18· reports to see if -- if that is true.
19· · · ·Q· · Okay.· And you haven't reviewed any data regarding
20· the prevalence of fraud in vote by mail in Texas.
21· · · ·A· · I remember Governor Abbott made a statement before
22· this was done, and he said, Texas does not have widespread
23· voter fraud.
24· · · ·Q· · And so I wasn't asking about widespread voter fraud.
25· I was asking specifically if -- have you looked at any data




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·1· regarding voter fraud in vote-by-mail context in Texas?
·2· · · ·A· · Well, I mean, the Governor didn't qualify it, and I
·3· -- I -- we've got to rely on what he says, and assuming people
·4· are giving him good information, and if he says that we don't
·5· have widespread voter fraud, it -- it seems that includes every
·6· type -- any way to vote.
·7· · · ·Q· · And so does the statement there's no widespread voter
·8· fraud mean that there's no voter fraud in specific areas or
·9· discrete incidents?
10· · · · · · · · ·MR. BLEDSOE:· Objection to form.
11· BY THE WITNESS (resuming):
12· · · ·A· · It means what it said, there's no widespread voter
13· fraud, like, no widespread voter fraud.
14· · · ·Q· · And so are you aware of any voter fraud that occurred
15· that wasn't widespread but isolated to a specific area of the
16· state of Texas or a specific election?
17· · · ·A· · I'm familiar with the investigations that the
18· attorney general said that they had with those people, the 500
19· offenses for the five or six -- seven or eight people they
20· had --
21· · · ·Q· · And did you --
22· · · ·A· · -- but I don't know what happened with that.
23· · · ·Q· · Did you look at any other data regarding voter fraud
24· that occurs in the vote-by-mail context in the state of Texas?
25· · · ·A· · Well, I hope they would have brought it to me at that




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·1· time.· That was their chance to do it.
·2· · · ·Q· · Outside of that, have you independently looked at
·3· whether or not voter fraud exists?
·4· · · · · · · · ·MR. BLEDSOE:· Object to form.
·5· BY THE WITNESS (resuming):
·6· · · ·A· · Are you talking about, like, today, right now?
·7· · · ·Q· · Let's say since 2020 onward --
·8· · · ·A· · Okay.
·9· · · ·Q· · -- have you looked at data on your own initiative
10· about the prevalence of voter fraud in the vote-by-mail context
11· in Texas?
12· · · ·A· · The prevalence, meaning like if there's -- if it's
13· rampant, going --
14· · · ·Q· · Just frequency.
15· · · · · · · · ·MR. BLEDSOE:· Objection to form.
16· BY THE WITNESS (resuming):
17· · · ·A· · I -- I don't recall seeing anything that said it was
18· rampant --
19· · · ·Q· · Well --
20· · · ·A· · -- or widespread.
21· · · ·Q· · -- I didn't say rampant --
22· · · ·A· · Okay.
23· · · ·Q· · -- I said --
24· · · ·A· · Prevalence.
25· · · ·Q· · -- simply do you know what the prevalence was.




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·1· · · ·A· · Prevalence meaning like the -- when you say
·2· prevalence, do you mean the -- often -- how often it happens or
·3· if it happens?
·4· · · ·Q· · Just the rate at which it happens, to the extent it
·5· does happen.
·6· · · ·A· · I --
·7· · · · · · · · ·MR. BLEDSOE:· Objection to the form of the
·8· question.
·9· BY THE WITNESS (resuming):
10· · · ·A· · I wouldn't say that it doesn't happen because I'm
11· sure it does happen, but it's not widespread, it's not rampant.
12· I mean, I don't think you can eradicate anything, a type of
13· crime, like, completely.· Like, for human trafficking, it's
14· going to be very -- nearly impossible just to say, No human
15· trafficking in Texas, but we want that; right?· We want no
16· voter fraud in Texas, but it happens.· So I think that you try
17· to do your best efforts and -- and try to share information and
18· create provisions that will allow people to comply without
19· harming -- you know, without, you know, tricking them or trying
20· to do a gotcha moment.· It's like everybody's doing the same
21· and -- and -- and so to enforce order in our state, we have the
22· rules.· And so I think that, you know, there is always the
23· ideal of eliminating voter fraud, but it happens just like
24· human trafficking.
25· · · ·Q· · And so have you looked to see if there are any




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·1· instances of voter fraud in Tarrant County?
·2· · · ·A· · Have I looked to see?· Well, I don't know.· Did
·3· Crystal Mason live in Tarrant County?· I feel like she was in
·4· Tarrant County at the time.· She was convicted for some type of
·5· voter fraud, and there was an intent to try to correct or
·6· address that because it wasn't intentional, but she still was
·7· arrested for voting.· And Hervis Rogers, if you remember in
·8· Harris County -- I know you talked about Harris County a lot,
·9· it was -- I think he was --
10· · · ·Q· · Well, I was --
11· · · ·A· · -- voting at TSU --
12· · · ·Q· · -- focusing on Tarrant County in this case.
13· · · ·A· · Oh, okay.· Well, I was just going to say that there
14· was -- he was also arrested.· So then that's two that I can
15· think of.
16· · · ·Q· · So I want to introduce Exhibit 25.
17· · · · · · · · ·COURT REPORTER:· 24, is that --
18· · · · · · · · ·THE WITNESS:· Oh, no, it's 25.· She's right.
19· It's sitting right here next to me.· Uh-oh, this came apart.
20· Here, you want to put this back together?· Oh, did you give me
21· two copies of it?
22· · · · · · · · ·MS. HUNKER:· I might have accidentally given you
23· two copies.
24· · · · · · · · ·THE WITNESS:· Okay.· See if that's the same.· Is
25· it just two pages?




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·1· · · · · · · · ·MS. HUNKER:· Yes.
·2· · · · · · · · ·THE WITNESS:· Okay.
·3· BY MS. HUNKER (resuming):
·4· · · ·Q· · Do you see on the top of this page where it says
·5· Office of the Attorney General, Election Frauds, Violations,
·6· Prosecutions Resolved?
·7· · · ·A· · (Reviewing.)· Office of the Attorney General,
·8· Election Fraud Violations, Prosecutions Resolved.· Okay.
·9· · · ·Q· · And do you see the Bates number on the bottom where
10· it says State-087323?
11· · · ·A· · Yes, and it says, Information as of 4/20/2022.
12· · · ·Q· · That's correct.
13· · · ·A· · And so this was not available when I went to discuss
14· HB 6.
15· · · ·Q· · So my question for you is:· Did you see a variation
16· of this chart when you were discussing HB 6, one that would
17· have had information as of that date, that era, that timeframe?
18· · · ·A· · I don't think it looked just like this, but it was
19· something where they said pending.· It wasn't -- these were
20· pending cases, and this says these are resolved.
21· · · ·Q· · Okay.· And so let's turn to Page 17 --
22· · · ·A· · Okay.
23· · · ·Q· · -- and you'll see that -- the state number on the
24· bottom is State-087335.
25· · · ·A· · Yes.




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·1· · · ·Q· · Okay.· ·And that, if you notice, says Prosecutions
·2· Pending.· Do you see that?
·3· · · ·A· · Yeah, pending?
·4· · · ·Q· · Yes.
·5· · · ·A· · Oh, at the top.· Yes, I do see that.
·6· · · ·Q· · Okay.
·7· · · ·A· · Okay.
·8· · · ·Q· · And so did you see a variation of this chart where
·9· it's prosecutions pending when you were considering?
10· · · ·A· · I don't know if this is the same.
11· · · ·Q· · Okay.
12· · · ·A· · But -- you know what?· It looks kind of like this,
13· but I don't know if it was the same.
14· · · ·Q· · And you don't know if the Office of Attorney General
15· gave a variation of this chart, the one that would have been
16· relevant at the time, to members of the legislature during the
17· consideration of SB 7 or HB 6.
18· · · ·A· · I recall that Representative Gonzalez asked for it
19· and it took a while, and then -- because I think that was in
20· the testimony that you provided, and they finally gave it to
21· her, which we -- they shared with us, members of the -- well,
22· the people that were on that committee hearing at that time.
23· · · ·Q· · Okay.· And we can put that aside.
24· · · ·A· · Do you want me to answer any questions about the
25· people?· I don't know them.· It looks like it was all from one




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·1· election.
·2· · · ·Q· · So if you go to Page 9 --
·3· · · ·A· · 9?· Oh, I thought you were talking about Tarrant
·4· County.
·5· · · ·Q· · I am talking about Tarrant County --
·6· · · ·A· · Okay.
·7· · · ·Q· · -- where it says 087331.
·8· · · ·A· · Uh-huh.
·9· · · ·Q· · Do you see where it has Tarrant County?
10· · · ·A· · Yes.· I see one Tarrant County.
11· · · ·Q· · Yes, and the defendant is Charles Jackson.
12· · · ·A· · Yes.· I don't know who that is.
13· · · ·Q· · What?
14· · · ·A· · I said, yes, I don't know who that is.
15· · · ·Q· · Okay.· And it says:· False statement on application,
16· mail-ballot fraud, vote harvesting, forged voter signature.· Do
17· you see that -- the allegation described as I just provided?
18· · · ·A· · Yes, from the 2016 primary, so that probably -- well,
19· I don't know when it was resolved.· When was it resolved?                  I
20· see that.· Oh, that should have been on the list if this is for
21· -- if it was resolved 4/6/2019, because the hearing was in
22· 2021, so this person should have been on that list.· We can
23· compare that and make sure.
24· · · ·Q· · I don't have the list that was provided to
25· Representative Gonzalez.




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·1· · · ·A· · It should -- no, it should be -- like, isn't it -- I
·2· think it was an exhibit in the committee hearing.· We can
·3· compare to see if this person was on there.
·4· · · ·Q· · Were you aware of this particular incident?
·5· · · ·A· · No.· No, this is my first time seeing it.
·6· · · ·Q· · Okay.
·7· · · ·A· · But I have heard about those other ones, Leticia,
·8· those -- I have heard about that.· Are those -- those are
·9· pending still; right?· They haven't been resolved?
10· (Reviewing.)· Yeah, I -- I have heard of these.· Oh, it's the
11· same year, 2016.· Theirs haven't been resolved, but the other
12· one, Charles Jackson, was.· So then they have multiple charges,
13· like Leticia has 17 counts alone that they're looking into.
14· · · ·Q· · And do you know how many ballots -- or let's -- it
15· says, False statement on mail-ballot application.· Correct?
16· · · ·A· · Who are you looking at now?
17· · · ·Q· · You said Leticia --
18· · · ·A· · Okay.· Yes.
19· · · ·Q· · -- so it is --
20· · · ·A· · Number 17.· And there's two Leticia Sanchez, so --
21· · · ·Q· · So looking at the second --
22· · · ·A· · Oh, the second person.
23· · · ·Q· · -- that says, False statement on mail-ballot
24· application; correct?
25· · · ·A· · Oh, because I was looking at the first one, but yes,




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·1· they both --
·2· · · ·Q· · And they have that one, too --
·3· · · ·A· · Yeah.
·4· · · ·Q· · -- just on the bottom.
·5· · · ·A· · Okay.
·6· · · ·Q· · Do you know how many applications to vote by mail
·7· that individual had submitted?
·8· · · ·A· · No, because it doesn't say what -- it just says nine
·9· counts, but they were charged with multiple offenses, so I
10· don't know what that is.
11· · · ·Q· · Okay.· Let's --
12· · · ·A· · And you know what else that concerned me?· So
13· Hervis Rogers -- you -- you -- I had to bring him up because
14· they claim -- you know, there's an assertion that he committed
15· an offense, but they didn't charge him until right before this
16· happened, the election bill.
17· · · · · · · · ·MS. HUNKER:· So I'm going to object to it as
18· nonresponsive only because I don't have that information in
19· front of me.
20· · · · · · · · ·THE WITNESS:· Well, it should be on here.
21· You've got these pending cases.· It should be on here.· Can you
22· give it to me?· I'll find it.· Let's see.
23· · · · · · · · ·MS. HUNKER:· I would like to move on to just
24· talk a little bit about Leticia Sanchez since you raised her.
25· BY MS. HUNKER (resuming):




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·1· · · ·Q· · You said you were aware of that specific incident.
·2· · · ·A· · No, I read about the name --
·3· · · ·Q· · You read about her name.
·4· · · ·A· · -- and I've also read about Hervis Rogers, because
·5· that was a contentious issue at the time of the bill of HB 6
·6· that it was opportune to arrest him or charge him right before
·7· this, even though that the alleged violation happened years ago
·8· or something like that.
·9· · · ·Q· · So I'm going to talk now about --
10· · · · · · · · ·MR. BLEDSOE:· 87338.
11· BY MS. HUNKER (resuming):
12· · · ·Q· · -- Exhibit 26.
13· · · · · · · · ·THE WITNESS:· 87338.
14· · · · · · · · ·MR. BLEDSOE:· At the bottom.
15· · · · · · · · ·THE WITNESS:· Yeah.· Okay.· There he is.
16· · · · · · · · ·MS. HUNKER:· And I'm going to object as
17· nonresponsive.· I asked about a specific individual.
18· · · · · · · · ·THE WITNESS:· I just wanted to see if it was on
19· here.· Sorry.
20· · · · · · · · ·MS. HUNKER:· That's all right.
21· · · · · · · · ·THE WITNESS:· And, see, he was charged in June
22· from a 2018 election.· How do you wait that long?
23· BY THE WITNESS (resuming):
24· · · ·A· · Okay.· So I'm going to go back to 26 -- oh, we're
25· going to go on to 26.· Will I be able to get -- keep this?




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·1· · · ·Q· · I --
·2· · · ·A· · Can I keep -- I mean, if you can give me a copy of
·3· this, I'd like to look at it at a later date.
·4· · · ·Q· · So if we look at Exhibit 26, you'll see where it has
·5· the title Documents Showing More People Connected to
·6· Vote-Harvesting Scheme in Tarrant County --
·7· · · ·A· · Okay.
·8· · · ·Q· · -- and it's dated October 25th, 2018; is that right?
·9· · · ·A· · I see that, yes.
10· · · ·Q· · And do you see on the bottom where it has the website
11· name from CBS News?
12· · · ·A· · Is that the local CBS News or the national CBS News?
13· · · ·Q· · It does have slash, DFW News.
14· · · ·A· · Okay.
15· · · · · · · · ·MR. BLEDSOE:· Is that a new exhibit?
16· · · · · · · · ·MS. HUNKER:· Yes.
17· BY MS. HUNKER (resuming):
18· · · ·Q· · And so if you look at the top where it's -- says
19· CBS -- SDFW.com?
20· · · ·A· · Uh-huh.
21· · · ·Q· · Do you see on top?
22· · · ·A· · (Nonverbal response.)
23· · · ·Q· · (Reading.)· Court documents filed in this week [sic]
24· named more people, the State of Texas says, were connected to a
25· vote-harvesting scheme in Tarrant County.· Did I read that




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·1· correctly?
·2· · · ·A· · It said court documents filed in this week, but it
·3· says -- on your other thing, it says that they were charged on
·4· the 10th -- October 10th, so that wouldn't be right.· Well, I
·5· don't know.· This says -- this date, October 25th, 2018, and it
·6· said court documents filed in this week name more people.· If
·7· you're talking about the Sanchez, your documents says that they
·8· were charged October 10th, 2018, so that's more than the same
·9· week.· But okay.
10· · · ·Q· · I'm simply -- did I read that correctly?
11· · · ·A· · Yeah, that's what it said.
12· · · ·Q· · Yes.· And so let's look at the description of the
13· event.· It says:· The State indicted four women this month who
14· prosecutors said were requesting mail-in ballots and filling
15· them out for the Democratic Party.· Did I read that correctly?
16· · · ·A· · That's what it said.
17· · · ·Q· · Okay.· And then it says:· New documents say
18· Leticia Sanchez was receiving money to pay the other women for
19· votes they collected.· Did I read that correctly?
20· · · ·A· · (Reading.)· New documents say Leticia Sanchez was
21· receiving money to pay the other women for votes they
22· collected.· That's what it says.
23· · · ·Q· · Yes.· And then if you look at the last paragraph, it
24· lists the individuals involved.
25· · · ·A· · Yes.· Oh, and it does say Wednesday, October 10 --




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·1· 10th.
·2· · · ·Q· · Yes.
·3· · · ·A· · It says:· Leticia Sanchez -- Leticia Sanchez
·4· Tepichin, Maria Solis and Laura Parra -- yes, I see that.
·5· · · ·Q· · Okay.· And then if we go to the next page, it says:
·6· Paxton's office said the women harvested votes by filling out
·7· applications for mail-in ballots with forged signatures, then
·8· they would either assist the voter with filling out the ballot
·9· or fill it out themselves and use deception to get the voter to
10· sign the envelope, the ballot would be sent back in.· Did I
11· read that correctly?
12· · · ·A· · That's what it said.
13· · · ·Q· · Now, you had mentioned that you were familiar with
14· this case to some extent.
15· · · ·A· · It was during this.· I didn't know about it -- like,
16· I didn't know in 2018, but I remember seeing it in the time
17· that this bill was coming up.
18· · · ·Q· · Okay.· So you became aware of this incident in
19· Tarrant County during the consideration of HB 6 and SB 7; is
20· that correct?
21· · · ·A· · Yes.
22· · · ·Q· · Okay.· And were you aware of any other -- actually,
23· I'll take that back.· Did you learn any more -- anything more
24· about this case in the ensuing months following your
25· consideration of HB 6 and Senate Bill 7?




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·1· · · ·A· · Well, it's a pending investigation, so there's --
·2· · · ·Q· · I just wondered if you had read more information
·3· about it in the news.
·4· · · ·A· · No, because it's pending.· I haven't seen any, like,
·5· updates on it.
·6· · · ·Q· · Okay.· We can turn (ph) that aside.
·7· · · ·A· · (Complies with request.)
·8· · · ·Q· · And so I want to introduce Exhibit 27.· And just a
·9· quick question regarding the vote harvesting we had just
10· discussed with the four women:· Did you consider that incident
11· when you were reviewing HB 6 and Senate Bill 7?
12· · · ·A· · I don't get these specific incidents to mean
13· widespread voter fraud.· I would agree with the Governor's
14· statement that Texas does not have widespread voter fraud.
15· · · ·Q· · And so I want to turn to Exhibit 27.· Do you have
16· that in front of you?
17· · · ·A· · Yes.
18· · · ·Q· · And it says:· Election Fraud.· Suspicion First Arose
19· with 11 Duplicate Applications.· Did I read the title
20· correctly?
21· · · ·A· · Yes.
22· · · ·Q· · And do you see the date of October 9th, 2020?
23· · · ·A· · Yes.
24· · · ·Q· · Okay.· And do you see where it has the website name,
25· the DentonRC.com?




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·1· · · ·A· · I see that.· I don't know what that is, though.
·2· · · ·Q· · And so let's look to the first paragraph.· It says:
·3· 11 duplicate mail-in ballot requests in the names of voters
·4· whose applications had already been received are what first
·5· piqued the interest of the Denton County Elections
·6· Administration in the election-fraud case announced Thursday,
·7· according to the sheriff's office documents.· Did I read that
·8· correctly?
·9· · · ·A· · Yes.
10· · · ·Q· · The Denton County Sheriff's Office on Tuesday
11· arrested and charged 39-year-old Zul Mirza Mohamed, a
12· Carrollton mayoral candidate with 109 felonies related to voter
13· fraud.· Did I read that correctly?
14· · · ·A· · Yes.
15· · · ·Q· · And so I want to go to the next page to the third
16· paragraph.
17· · · ·A· · (Complies with request.)· Okay.
18· · · ·Q· · (Reading.)· According to an arrest warrant, the
19· election -- sorry -- the county elections office met with the
20· sheriff's office on September 23rd regarding possible
21· fraudulent applications for mail-in ballots.· The warrant says
22· Elections Administrator Frank Phillips said, The signatures on
23· about 70 requests for mail-in ballots had similar handwriting
24· and 11 of them were duplicates for an application that had
25· already been sent in.· Did I read that correctly?




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·1· · · ·A· · Yes.
·2· · · ·Q· · Were you aware of the allegation against the mayoral
·3· candidate in Carrollton for mail-in ballot fraud?
·4· · · ·A· · When?
·5· · · ·Q· · Well, have you -- before today's deposition, had you
·6· heard of this particular incident?
·7· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·8· BY THE WITNESS (resuming):
·9· · · ·A· · Well, let me say it like this:· I don't know what --
10· all of this stuff happened prior to 2021 when the election bill
11· was being considered, so I would think that the leader of our
12· state, the Governor, would have known about this when he said
13· there is no widespread voter fraud in the state of Texas.· So
14· these isolated incidents that you are bringing up do not
15· support that there is widespread voter fraud.· We cannot
16· eliminate this -- these -- this crime, I think, just like human
17· trafficking.· So I'm not sure -- I still stand by what the
18· Governor said, that there's no widespread voter fraud in Texas.
19· · · ·Q· · And do you know when he said that, what you've been
20· stating?
21· · · ·A· · Yes, it was in 2021.· It was actually right before
22· the bill was being brought up.· It was in 2021.
23· · · ·Q· · Now, you mentioned the human-trafficking analogy a
24· couple of times now.· Now --
25· · · ·A· · That's a bad crime, too.· All of it is bad.




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·1· · · ·Q· · Would you agree that the State should continue to
·2· pass legislation trying to eliminate human trafficking?
·3· · · ·A· · I don't know if you can eliminate something.
·4· · · ·Q· · Well, working towards reducing --
·5· · · ·A· · There you go.
·6· · · ·Q· · -- working towards reducing human trafficking even if
·7· they can't fully eliminate it?
·8· · · ·A· · Yeah, you need to work to reduce the -- yeah, the
·9· human trafficking.
10· · · ·Q· · And so legislation could also work to reduce voter
11· fraud even if they can't eliminate it in its entirety; is that
12· correct?
13· · · ·A· · They need --
14· · · · · · · · ·MR. BLEDSOE:· Objection to form.
15· BY THE WITNESS (resuming):
16· · · ·A· · Well, they need to think about the impact.· Without
17· having -- it -- it needs -- it shouldn't be harmful to certain
18· groups.· So if you're going to implement a provision, you need
19· to be thoughtful and -- and then also take the time to study or
20· examine the consequences or the -- the effect that that
21· legislation will have on certain sections or sectors of our
22· population.
23· · · ·Q· · And so would you agree then that the legislature
24· should look towards reducing voter fraud but keeping in mind
25· the impact that that legislation would have on different groups




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·1· in the state?
·2· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·3· BY THE WITNESS (resuming):
·4· · · ·A· · I don't agree with that if that -- and you're asking
·5· me if that's what they did?· I don't --
·6· · · ·Q· · No, I'm --
·7· · · ·A· · -- agree with that.
·8· · · ·Q· · -- asking if you think that's what they should do.
·9· · · · · · · · ·MR. BLEDSOE:· Objection to form.
10· BY THE WITNESS (resuming):
11· · · ·A· · Okay.· So I think that they should take into --
12· there's so many factors that you should take into consideration
13· when you're drafting legislation, and one of them is examining
14· the negative or harmful impact that your provision will have
15· and whether it's constitutional.· I mean, you've got to think
16· about how it's going to impact the people that you represent.
17· · · ·Q· · So would you consider it a balancing task when a
18· legislature looks at reducing voter fraud, but should also look
19· at the negative consequences the proposal could have on voters
20· and the state of elections?
21· · · ·A· · I think everybody does it differently.· I don't know
22· if it's a balancing, but you need to take into totality of the
23· circumstances and look at every -- you know, as much as you
24· can.
25· · · ·Q· · Would you agree that reasonable people can disagree




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·1· about what the best balance is between seeking to reduce voter
·2· fraud and the impact that that -- those provisions may have?
·3· · · ·A· · In what circumstance?· Like, on how it impacts people
·4· of color?
·5· · · ·Q· · No, just generally.
·6· · · ·A· · Well, I think that they -- see, that's another thing.
·7· That's -- I mean, did they even consider how it would impact
·8· people of color.
·9· · · ·Q· · And so you don't know if they considered whether it
10· would impact voters of color.
11· · · ·A· · Well, I don't know that -- that scenario you just
12· gave me, you said do I think that the legislature should
13· consider implementing rules that would preserve voting or
14· something, and then --
15· · · ·Q· · Well, my last question was actually:· Do you think
16· that legislators can reasonably disagree on the balance of
17· interest that goes into reducing voter fraud versus the
18· consequences that those reforms could have on demographic
19· groups in the state?
20· · · ·A· · That's assuming --
21· · · · · · · · ·MR. BLEDSOE:· Objection to form.
22· BY THE WITNESS (resuming):
23· · · ·A· · -- that they took that into consideration in the
24· first place.
25· · · ·Q· · But if they did consider it and take that




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·1· consideration in the first place, do you think that reasonable
·2· people can disagree --
·3· · · · · · · · ·MR. BLEDSOE:· Objection to form.
·4· BY MS. HUNKER (resuming):
·5· · · ·Q· · -- about the impact?
·6· · · · · · · · ·MR. BLEDSOE:· Objection --
·7· BY THE WITNESS (resuming):
·8· · · ·A· · Okay.· So then I would say to what extent, because I
·9· can say I took it, like, I accepted the data, but I didn't
10· actually utilize it in formulating my opinion.
11· · · ·Q· · And so let's look again at that third paragraph.· It
12· says:· 11 of them were duplicates for applications that already
13· had been sent in.· Do you see that?
14· · · ·A· · Are you still on Page 2?
15· · · ·Q· · Yes.
16· · · ·A· · 11 of them.· What paragraph are you on?
17· · · ·Q· · Third paragraph, the last clause.
18· · · ·A· · Okay.· Sorry.
19· · · ·Q· · And 11 of them --
20· · · ·A· · Yes.· Now I see it.
21· · · ·Q· · If a voter submits an application to vote by mail but
22· one had been sent by another individual, that could prevent the
23· voter from being able to vote; correct?
24· · · ·A· · I don't -- I mean, you're just giving me a scenario.
25· I don't know how to answer that.




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·1· · · ·Q· · And then if we look at where it says, In total -- do
·2· you see that?
·3· · · ·A· · Yes.
·4· · · ·Q· · It says:· The warrant says 84 applications for
·5· mail-in ballots were fraudulent.· Did I read that correctly?
·6· · · ·A· · That's what it says.
·7· · · ·Q· · Okay.· And so in this case, you had one person
·8· allegedly submitting 84 fraudulent ballots; correct?
·9· · · ·A· · Allegedly submitting 80 -- I don't know.· Is this
10· about the same person?· (Reviewing.)· This is about the same --
11· it says:· In total, the warrant says 84 application for mail-in
12· ballots were fraudulent.
13· · · ·Q· · And so if you read the article, you'll see it only
14· references the one specific individual.
15· · · ·A· · Okay.· Well, I didn't read the whole article.· You
16· kept me going -- just different paragraphs.
17· · · ·Q· · Do you know how many counties in Texas have a
18· population of under 10,000?
19· · · ·A· · Under 10,000?
20· · · ·Q· · Yes.
21· · · ·A· · No, but I do remember there was a provision that
22· Chair Cain had in HB 6 that differentiated how certain counties
23· would handle elections based on the size.
24· · · ·Q· · And so you don't know how many counties have a
25· population of under 10,000.




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·1· · · ·A· · I feel like we talked about that.· I just don't
·2· remember off the top of my head.
·3· · · ·Q· · Do you know how many counties have a population of
·4· under a thousand in Texas?
·5· · · ·A· · I know that came up, too, I mean, because I think
·6· that there was some -- HB 6, I mean, we worked really hard to
·7· try to come up with something, and there was more discussion
·8· with -- you know, with me being involved, and I felt like we
·9· did flesh out -- as you can see the changes that were made, but
10· not everything made it over to the Senate side.· I know we have
11· 254 counties.
12· · · ·Q· · That's correct.· And do you know if, in your
13· experience, some elections are decided on a very small margin
14· of votes?
15· · · ·A· · Yes.· Donna Howard, I think she won by like one or
16· two or three votes in one of her elections.· It was like --
17· yes, it can come down to that.
18· · · ·Q· · And would you agree that in -- for close elections,
19· voter fraud, even if it only effects a handful of votes, can
20· change the outcome of an election?
21· · · ·A· · Even if it could change the outcome of the election?
22· I don't know.
23· · · ·Q· · Do you think a few votes can decide an election in
24· the case of Donna Howard's election?
25· · · ·A· · It can get critical, yeah, every vote counts.




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·1· · · · · · · · ·MS. HUNKER:· Representative Collier, I wanted to
·2· thank you for coming today.· I think that's all of the
·3· questions I have, and I really appreciate your patience as well
·4· as your willingness to come in what is relatively inclement
·5· weather for a Texas winter.
·6· · · · · · · · ·THE WITNESS:· Thank you.
·7· · · · · · · · ·MR. BLEDSOE:· Are all of the people off online
·8· or --
·9· · · · · · · · ·COURT REPORTER:· No, I'm going to speak to them
10· first.
11· · · · · · · · ·MR. BLEDSOE:· Okay.
12· · · · · · · · ·COURT REPORTER:· Okay.· If you guys can hear me
13· online, I'm going to go ahead and take your transcript requests
14· if you have any.· This is the court reporter.
15· · · · · · · · ·THE WITNESS:· There is a chatroom there.
16· Somebody does have a chat.
17· · · · · · · · ·COURT REPORTER:· Yeah, if you do want to request
18· a transcript, now would be the time to do that.· You can either
19· verbally say it or drop it in the chat.· Actually, you have to
20· do it verbally.· Sorry.· Let me see.· And while I'm waiting for
21· them, Ms. Hunker, your standing order, I assume.
22· · · · · · · · ·MS. HUNKER:· Yes, that's correct.
23· · · · · · · · ·COURT REPORTER:· Okay.· And then did you need a
24· copy of this transcript at all?
25· · · · · · · · ·MR. BLEDSOE:· I think you're going to send it to




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·1· sign -- to her, so I'm not going to.
·2· · · · · · · · ·COURT REPORTER:· Okay.
·3· · · · · · · · ·THE WITNESS:· Can I get a copy of this
·4· Exhibit 25?
·5· · · · · · · · ·MR. BLEDSOE:· E-mail it -- E-mail it to me and
·6· I'll get it to her.
·7· · · · · · · · ·THE WITNESS:· Okay.
·8· · · · · · · · ·MR. BLEDSOE:· Okay.
·9· · · · · · · · ·COURT REPORTER:· Are there any transcript
10· requests at this time?· I'm going to drop my E-mail if you want
11· to think about it.· You can do it later.· We are going to go
12· off the record, though.
13· · · · · · · · ·MR. BLEDSOE:· Any of them still on?
14· · · · · · · · ·COURT REPORTER:· Yeah, they're still here,
15· but --
16· · · · · · · · ·MR. BLEDSOE:· So what's -- what's the protocol?
17· Do they -- do they ask questions or they just --
18· · · · · · · · ·COURT REPORTER:· No, we're concluded.· They
19· typically don't ask questions.
20· · · · · · · · ·MR. BARNES:· Yeah, I -- I haven't seen them ask
21· questions yet.
22· · · · · · · · ·MR. BLEDSOE:· Okay.
23· · · · · · · · ·VIDEOGRAPHER:· This concludes the deposition.
24· We are going off the record at 8:44 p.m.
25· · · · · · (Whereupon, the proceedings were concluded.)
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·1· · · · · · · · · · · CHANGES AND SIGNATURE
·2· WITNESS NAME:· NICOLE COLLIER
·3· DATE OF DEPO:· JANUARY 30, 2023
·4· PAGE· · ·LINE· · ·CHANGE· · · · · · · · · · REASON
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·1· · · · · · · · ·I, NICOLE COLLIER, have read the
·2· foregoing deposition and hereby affix my signature that same is
·3· true and correct, except as noted above.
·4
·5
·6· · · · · · · · · · · · · · · · NICOLE COLLIER, Witness
·7· THE STATE OF __________· · · ·)
·8· COUNTY OF· · · · · · · · · · ·)
·9· · · · · · Before me,· · · · · · · · · · , on this day
10· personally appeared NICOLE COLLIER, known to me (or proved to
11· me under oath of through· · · · · · · · · · ·) (description of
12· identity card or other document) to be the person whose name is
13· subscribed to the foregoing instrument and acknowledged to me
14· that they executed the same for the purposes and consideration
15· therein expressed.
16· · · · · · Given under my hand and seal of office this
17· day of· · · · · · · · · · · · ·,· · · · · · .
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21· · · · · · · · · · · NOTARY PUBLIC IN AND FOR
22· · · · · · · · · · · THE STATE OF
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 · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
 · · · · · · · · · · · ·SAN ANTONIO DIVISION



 LA UNION DEL PUEBLO ENTERO,· · ·)
 et al.,· · · · · · · · · · · · ·)
 · · · · · · · · · · · · · · · · )
 · · · · · Plaintiffs,· · · · · ·)
 · · · · · · · · · · · · · · · · )
 V.· · · · · · · · · · · · · · · ) Case No. 5:21-cv-00844-XR
 · · · · · · · · · · · · · · · · )
 GREGORY W. ABBOTT, et al.,· · · )
 · · · · · · · · · · · · · · · · )
 Defendants.· · · · · · · · · · ·)
 ·---------------------------------------------------------------

 · · · · · · · · · · · REPORTER'S CERTIFICATE
 · · · · · · · ORAL & VIDEO DEPOSITION OF NICOLE COLLIER
 · · · · · · · · · · · · ·JANUARY 30, 2023


 · · ·I, Patrick A. Stephens, Certified National Court Reporter,

 hereby certify to the following:



 · · ·That the witness, NICOLE COLLIER, was duly sworn and that

 the transcript of the deposition is a true record of the

 testimony given by the witness;



 · · ·That pursuant to information given to the deposition

 officer at the time said testimony was taken, the following

 includes all parties of record and the amount of time used by

 each party at the time of the deposition:
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 · · ·Mr. Gary Bledsoe (0 mins)

 · · · · · Attorney for Representative Nicole Collier

 · · ·Ms. Kathleen Hunker (5 hrs 20 mins)

 · · · · · Attorney for State Defendants




 · · ·I further certify that I am neither counsel for, related

 to, nor employed by any of the parties in the action in which

 this proceeding was taken, and further that I am not financially

 or otherwise interested in the outcome of this action.


 · · · · · Certified to by me on this 16th day of February, 2023.

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 · · · · · · · · · · · · · · · · · · · · PATRICK A. STEPHENS
 · · · · · · · · · · · · · · · · · · · · NVRA NO. 5462
 · · · · · · · · · · · · · · · · · · · · Expiration: 06/01/2023
 · · · · · · · · · · · · · · · · · · · · Magna Legal Services
 · · · · · · · · · · · · · · · · · · · · Firm Registration No.633
 · · · · · · · · · · · · · · · · · · · · 16414 San Pedro Ave.,
 · · · · · · · · · · · · · · · · · · · · Ste. 900
 · · · · · · · · · · · · · · · · · · · · San Antonio, TX· 78232
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